              Case 01-01139-AMC                 Doc 775-4         Filed 08/02/01          Page 1 of 188




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
W. R. GRACE & CO., et al.,1                                   )    Case No. 01-01139 (JJF)
                                                              )    (Jointly Administered)
                                                              )
                            Debtors.                          )


     SUMMARY OF THE VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
      COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
         AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
    THE FIRST INTERIM PERIOD FROM APRIL 2, 2001 THROUGH APRIL 30, 2001


 Name of Applicant:                                                Kirkland & Ellis
 Authorized to Provide Professional Services to:                   W. R. Grace & Co., et al., Debtors and
                                                                   Debtors-in-Possession

 Date of Retention:                                                Retention Orders entered May 3, 2001,
                                                                   effective as of April 2, 2001.

 Period for which compensation and reimbursement
 is sought:                                                        April 2, 2001 through April 30, 2001

 Amount of Compensation sought as actual,
 reasonable, and necessary:                                        $658,518.84


1
   The Debtors consist of the following 62 entities: W . R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W . R. Grace
& Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace
Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W . R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch W e s t
Coal Company, H-G Coal Company.
                Case 01-01139-AMC            Doc 775-4        Filed 08/02/01           Page 2 of 188




This is an: X interim __ final application.
The total time expended for the preparation of this application is approximately 75 hours, and the
corresponding estimated compensation that will be requested in a future application is
approximately $15,000.00.

This is the first application for interim compensation of services filed with the Bankruptcy Court in the
Chapter 11 Cases.2

The K&E attorneys who rendered professional services in these cases during the Fee Period are:

         Name of         Position      Number of                             Hourly       Total         Total
       Professional      with the      years as an      Department           billing      billed       compen-
         Person          applicant      attorney                              rate        hours         sation


     Theodore             Partner       29 Years         Bankruptcy          $575.00      17.00       $9,775.00
     Freedman

     Janet Baer           Partner       19 Years         Bankruptcy          $495.00      112.90      $55,885.50

     James                Partner       16 Years         Bankruptcy          $625.00      34.60       $21,625.00
     Sprayregen

     Lena Mandel        Associate       11 Years         Bankruptcy          $395.00      48.00       $18,960.00

     James Kapp III     Associate        7 Years         Bankruptcy          $395.00      189.50      $74,852.50

     Deanna D. Boll     Associate        3 Years         Bankruptcy          $320.00       1.80        $576.00

     Samuel Schwartz    Associate        4 Years         Bankruptcy          $320.00      182.70      $58,464.00

     Roger Higgins      Associate        5 Years         Bankruptcy          $235.00      190.50      $44,767.50

     Martin C. Attea    Associate        2 Years          Corporate          $265.00       6.30       $1,669.50

     L. Mark Wine         Partner       31 Years       Environmental         $505.00       0.60        $303.00

     Timothy Hardy        Partner       29 Years       Environmental         $445.00      42.70       $19,001.50

     Mark Grummer         Partner       25 Years       Environmental         $365.00      80.00       $29,200.00

     David Codevilla    Associate        5 Years       Environmental         $295.00      65.90       $19,440.50

     David M.             Partner       23 Years          Litigation         $655.00      41.60       $27,248.00
     Bernick




 2
    Any capitalized terms not defined herein have the meaning ascribed to them in the Verified Application of Kirkland
& Ellis for Compensation for Services and Reimbursement of Expenses as Bankruptcy Counsel to W. R. Grace & Co., et
al., for the Interim Period from April 2, 2001 through April 30, 2001.


                                                          2
           Case 01-01139-AMC            Doc 775-4        Filed 08/02/01         Page 3 of 188




    Name of         Position      Number of                           Hourly       Total         Total
  Professional      with the      years as an      Department         billing      billed       compen-
    Person          applicant      attorney                            rate        hours         sation


Andrew               Partner       19 Years         Litigation        $470.00       86.30      $40,561.00
Running

Reed Oslan           Partner       14 Years         Litigation        $445.00       57.00      $25,365.00

Peter Bellacosa      Partner       13 Years         Litigation        $460.00       0.50        $230.00

Sarah Marmor         Partner        8 Years         Litigation        $375.00      110.70      $41,512.50

Daryl Joseffer      Associate       6 Years         Litigation        $350.00       7.10       $2,485.00

Christopher         Associate       6 Years         Litigation        $350.00       64.30      $22,505.00
Sullivan

Scott McMillin      Associate      5 Years          Litigation        $330.00       35.70      $11,781.00

Douglas Smith       Associate       5 Years         Litigation        $315.00       4.50       $1,417.50

J. Chad Mitchell    Associate       3 Years         Litigation        $265.00       1.00        $265.00

Grant Cornehls      Associate       2 Years         Litigation        $225.00       29.80      $6,705.00

Kellye Fabian       Associate       1 Year          Litigation        $195.00       59.60      $11,622.00

Donald Rocap         Partner       21 Years             Tax           $625.00       6.80       $4,250.00

Todd Maynes          Partner       14 Years             Tax           $515.00       21.60      $11,124.00

Brian Davis         Associate       3 Years         Real Estate       $265.00       17.00      $4,505.00

Julie Olsen         Associate       1 Year          Real Estate       $265.00       5.10       $1,351.50

Andrew               Partner       27 Years       Transactional       $570.00       0.60        $342.00
Kaufman

Kenneth              Partner       18 Years       Transactional       $510.00       2.00       $1,020.00
Morrison


     The paraprofessionals of K&E who rendered professional services in these cases during the Fee Period are:



    Name of          Position     Number of        Department         Hourly       Total         Total
  Professional       with the      years in                           billing      billed       compen-
    Person          applicant        that                              rate        hours         sation
                                   position

Cheri Johnson        Legal          8 Years        Bankruptcy         $140.00       1.00        $140.00
                    Assistant

Nathanael            Legal          8 Years        Bankruptcy         $150.00       63.10      $9,465.00
Meyers              Assistant




                                                    3
          Case 01-01139-AMC         Doc 775-4      Filed 08/02/01            Page 4 of 188




    Name of         Position   Number of     Department            Hourly       Total     Total
  Professional      with the    years in                           billing      billed   compen-
    Person         applicant      that                              rate        hours     sation
                                position

Brigitte Windley    Legal       4 Years      Bankruptcy            $150.00      93.00    $13,950.00
                   Assistant

Leslie              Project    7 Months      Bankruptcy            $70.00       16.50    $1,155.00
Drinkwater         Assistant

Daniel Baglio        Case      6 Months      Bankruptcy            $60.00       91.90    $5,514.00
                   Assistant

Sabrina Mitchell    Project    2 Months      Bankruptcy            $70.00       99.90    $6,993.00
                   Assistant

Laura Urso          Legal      16 Years       Corporate            $190.00      21.40    $4,066.00
                   Assistant

Christopher         Legal       8 Years       Corporate            $130.00      53.70    $6,981.00
Valeri             Assistant

Tanya Fawcett        Case      9 Months       Corporate            $65.00        2.50     $162.50
                   Assistant

Melissa Piliere      Case      6 Months       Corporate            $65.00       15.50    $1,007.50
                   Assistant

Kathy Sorce         Legal       6 Years       Litigation           $150.00       8.00    $1,200.00
                   Assistant

Michael Rocco      Manager      3 Years       Litigation           $165.00       0.50      $82.50

Raquel Carrillo     Legal      5 Months       Litigation           $100.00      59.50    $5,950.00
                   Assistant

Gayle                Case      12 Years      Intellectual          $65.00        5.20     $338.00
Lodygowski         Assistant                  Property

Biographical                                                       $110.00       2.50     $275.00
Research

Government                                                         $110.00       1.00     $110.00
Agency
Research



                                           Grand Total for Fees:       $626,079.00
                                           Blended Rate:               $304.38




                                              4
         Case 01-01139-AMC            Doc 775-4        Filed 08/02/01     Page 5 of 188




                                      Compensation by Matter


Matter                       Matter                      Total Hours         Total Fees Requested
Number

  16        Asset Analysis and Recovery                 79.20           $26,294.00

  17        Automatic Stay Matters/Relief from Stay     119.70          $38,703.00
            Proceedings

  18        Bankruptcy Filing                           147.10          $51,455.50

  19        Carriers                                    1.50            $592.50

  20        Case Administration                         223.00          $43,245.00

  21        Claim Estimate, Objection and Resolution    35.90           $11,889.50

  22        Contested Matters/Adversary                 540.90          $212,122.50
            Proceedings

  23        Corporate and Securities Matters            13.40           $5,321.50

  24        Creditors/Noteholders Committee             45.80           $21,778.00

  25        Creditors/Shareholders Committee            43.90           $14,935.50

  26        DIP Financing/Cash Collateral               316.60          $57,742.00

  27        Employee Matters                            40.90           $11,019.50

  28        Environmental Issues                        79.30           $29,112.50

  29        File, Docket, Calendar Maintenance          88.50           $7,508.00

  30        Hearings                                    21.90           $10,540.50

  32        K&E Fee Application, Preparation of         0.20            $47.00

  33        Lease Rejection Claims                      44.90           $11,789.50

  36        Reclamation Claims                          11.30           $2,873.00

  38        Retention of Professionals/Fees             60.00           $16,957.00

  39        Schedules/Statement of Financial Affairs    52.10           $18,209.50

  41        Tax Matters                                 35.70           $17,059.00

  42        Travel                                      28.90           $8,364.00

  44        U.S. Trustee                                11.50           $3,900.50



                                                  5
     Case 01-01139-AMC   Doc 775-4   Filed 08/02/01     Page 6 of 188




45      Utilities                     14.70           $4,620.00




                                 6
             Case 01-01139-AMC               Doc 775-4   Filed 08/02/01   Page 7 of 188



                                               Expense Summary


                               Description                                                   Amount

Telephone                                                                                   $1,013.21

Facsimile Charges                                                                            $624.91

Standard Copies                                                                             $1,898.00

Binding                                                                                       $28.00

Outside Copy/binding Service                                                                $3,923.31

Tabs/Indexes/Dividers                                                                           $8.70

Postage                                                                                       $19.52

Local Transportation                                                                            $6.00

Other Travel Expenses                                                                         $23.00

Travel Meals                                                                                 $183.35

Overnight Delivery                                                                           $819.75

Travel Expense                                                                              $6,460.49

Airfare                                                                                    $10,290.54

Computer Database Research                                                                   $207.04

Library Document Procurement                                                                  $60.00

Information Broker Services                                                                  $476.33

Calendar/Court Services                                                                       $30.00

Overtime Meals                                                                                $63.00

Overtime Meals- Attorney                                                                      $51.28

Overtime Transportation                                                                       $50.00

Secretarial Overtime                                                                        $3,509.34

Outside Messenger Service                                                                     $89.07

Trial Exhibits                                                                              $2,605.00

Total                                                                                     $32,439.84




                                                     7
              Case 01-01139-AMC                 Doc 775-4         Filed 08/02/01          Page 8 of 188




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )    Chapter 11
                                                              )
W. R. GRACE & CO., et al.,1                                   )    Case No. 01-01139 (JJF)
                                                              )    (Jointly Administered)
                                                              )
                            Debtors.                          )




             VERIFIED APPLICATION OF KIRKLAND & ELLIS FOR
     COMPENSATION FOR SERVICES AND REIMBURSEMENT OF EXPENSES
         AS BANKRUPTCY COUNSEL TO W. R. GRACE & CO., ET AL., FOR
    THE FIRST INTERIM PERIOD FROM APRIL 2, 2001 THROUGH APRIL 30, 2001

                   Pursuant to sections 327, 330 and 331 of title 11 of the United States Code (as amended,

the “Bankruptcy Code”), Fed. R. Bankr. P. 2016, the Retention Order, as defined below, the

Administrative Order Under 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for Interim

Compensation and Reimbursement of Professionals and Official Committee Members (the “Interim

Compensation Order”) and Del.Bankr.LR 2016-2, the law firm of Kirkland & Ellis (“K&E”), bankruptcy


1
   The Debtors consist of the following 62 entities: W . R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W . R. Grace
& Co.-Conn., A-1 Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc.
(f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ‘N Fun Company, Darex Puerto
Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife
Boston Ltd., G C Limited Partners I, Inc. (f/k/a Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace
Cocoa Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New
Communities Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace
H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn
International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated,
Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W . R.
Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe Land Development Corporation, Hanover Square
Corporation, Homco International, Inc., Kootenai Development Company, L B Realty, Inc., Litigation Management, Inc.
(f/k/a GHSC Holding, Inc., Grace JVH, Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe
Street, Inc., MRA Holdings Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA,
Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (f/k/a Environmental
Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin & Fiberglass, Inc.,
Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/k/a Cross Country Staffing), Hayden-Gulch West
Coal Company, H-G Coal Company.
            Case 01-01139-AMC            Doc 775-4       Filed 08/02/01      Page 9 of 188




counsel for the above-captioned debtors and debtors in possession (collectively, the “Debtors”) in their

chapter 11 cases, hereby applies for an order allowing it (i) compensation in the amount of $626,079.00

for the reasonable and necessary legal services K&E has rendered to the Debtors and (ii) reimbursement

for the actual and necessary expenses that K&E incurred in the amount of $32,439.84 (the “Application”),

in each case for the period from April 2, 2001 through April 30, 2001 (the “Fee Period”). In support of

this Application, K&E respectfully states as follows:

                Retention of and Continuing Disinterestedness of Kirkland & Ellis

                1.      On April 2, 2001 (the “Petition Date”), the Debtors each filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). On April 2,

2001, the Court entered an order procedurally consolidating the Chapter 11 Cases for administrative

purposes only. Since the Petition Date, the Debtors have continued to operate their businesses and manage

their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

On April 12, 2001, the office of the United States Trustee appointed (i) a committee of unsecured creditors

in the Chapter 11 Cases (the “Creditors’ Committee”), (ii) a committee of asbestos personal injury

claimants (the “Asbestos Personal Injury Committee”) and (iii) a committee of asbestos property damage

claimants (the “Asbestos Property Damage Committee,” collectively with the Creditors’ Committee and

the Asbestos Personal Injury Committee, the “Committees”).

                2.      By this Court’s order dated May 3, 2001, the Debtors were authorized to retain

K&E as their counsel, effective as of the Petition Date, with regard to the filing and prosecution of the

Chapter 11 Cases and all related matters (the “Retention Order”). The Retention Order authorizes the

Debtors to compensate K&E at K&E’s hourly rates charged for services of this type and to be reimbursed

                                                   -2-
           Case 01-01139-AMC             Doc 775-4        Filed 08/02/01      Page 10 of 188




for actual and necessary out-of-pocket expenses that it incurred, subject to application to this Court in

accordance with the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, all applicable local

rules and orders of this Court.

                3.       As disclosed in the following affidavits:

                a.       Affidavit of James H.M. Sprayregen in Support of Application for Order Under
                         11 U.S.C. § 327(a) and Fed. R. Bankr. P. 2014(a) Authorizing the Employment
                         and Retention of Kirkland & Ellis as Attorneys for the Debtors and Debtors in
                         Possession (the “Original Affidavit”), filed April 2, 2001;

                b.       First Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “First Supplement”), filed April 17,
                         2001;

                c.       Second Supplemental Affidavit of James H.M. Sprayregen Under 11 U.S.C.
                         § 327(a) and Fed. R. Bankr. P. 2014 (the “Second Supplement,” together with
                         the First Supplement and the Original Affidavit, the “Affidavits”), filed May 2,

                         2001;

K&E does not hold or represent any interest adverse to the estates, and is a disinterested person as that

term is defined in section 101(14) of the Bankruptcy Code as modified by section 1107(b) of the

Bankruptcy Code.

                4.       K&E may have in the past represented, may currently represent, and likely in the

future will represent parties-in-interest in connection with matters unrelated to the Debtors and the Chapter

11 Cases. K&E disclosed in the Affidavits its connections to parties-in-interest that it has been able to

ascertain using its reasonable efforts. K&E will update the Affidavits when necessary and when K&E

becomes aware of material new information.




                                                    -3-
           Case 01-01139-AMC             Doc 775-4        Filed 08/02/01         Page 11 of 188




                 5.      Kirkland & Ellis performed the services for which it is seeking compensation on

behalf of or for the Debtors and their estates, and not on behalf of any committee, creditor or other person.

                 6.      Except to the extent of the advance payment retainers paid to K&E as described

in the Original Affidavit, K&E has received no payment and no promises for payment from any source for

services rendered or to be rendered in any capacity whatsoever in connection with these cases.

                 7.      Pursuant to Fed. R. Bank. P. 2016(b), K&E has not shared, nor has agreed to

share, (a) any compensation it has received or may receive with another party or person other than with

the partners, counsel and associates of K&E, or (b) any compensation another person or party has

received or may receive in connection with the Chapter 11 Cases.

                 8.      This is the first application for interim compensation for services rendered that K&E

has filed with the Bankruptcy Court in connection with the Chapter 11 Cases.

        Reasonable and Necessary Services Rendered by Kirkland & Ellis -- Generally

                 9.      The K&E attorneys who rendered professional services in the Chapter 11 Cases

during the Fee Period are:

        Name of         Position with   Number                         Hourly        Total       Total
      Professional      the applicant   of years     Department        billing       billed     compen-
        Person                           as an                          rate         hours       sation
                                        attorney


   Theodore                  Partner    29 Years      Bankruptcy       $575.00       17.00    $9,775.00
   Freedman

   Janet Baer                Partner    19 Years      Bankruptcy       $495.00       112.90   $55,885.50

   James Sprayregen          Partner    16 Years      Bankruptcy       $625.00       34.60    $21,625.00

   Lena Mandel            Associate     11 Years      Bankruptcy       $395.00       48.00    $18,960.00

   James Kapp III         Associate      7 Years      Bankruptcy       $395.00       189.50   $74,852.50



                                                    -4-
         Case 01-01139-AMC         Doc 775-4        Filed 08/02/01      Page 12 of 188




     Name of       Position with   Number                     Hourly        Total       Total
   Professional    the applicant   of years    Department     billing       billed     compen-
     Person                         as an                      rate         hours       sation
                                   attorney


Deanna D. Boll      Associate      3 Years     Bankruptcy     $320.00        1.80    $576.00

Samuel Schwartz     Associate      4 Years     Bankruptcy     $320.00       182.70   $58,464.00

Roger Higgins       Associate      5 Years     Bankruptcy     $235.00       190.50   $44,767.50

Martin C. Attea     Associate      2 Years      Corporate     $265.00        6.30    $1,669.50

L. Mark Wine         Partner       31 Years   Environmental   $505.00        0.60    $303.00

Timothy Hardy        Partner       29 Years   Environmental   $445.00       42.70    $19,001.50

Mark Grummer         Partner       25 Years   Environmental   $365.00       80.00    $29,200.00

David Codevilla     Associate      5 Years    Environmental   $295.00       65.90    $19,440.50

David M. Bernick     Partner       23 Years     Litigation    $655.00       41.60    $27,248.00

Andrew Running       Partner       19 Years     Litigation    $470.00       86.30    $40,561.00

Reed Oslan           Partner       14 Years     Litigation    $445.00       57.00    $25,365.00

Peter Bellacosa      Partner       13 Years     Litigation    $460.00        0.50    $230.00

Sarah Marmor         Partner       8 Years      Litigation    $375.00       110.70   $41,512.50

Daryl Joseffer      Associate      6 Years      Litigation    $350.00        7.10    $2,485.00

Christopher         Associate      6 Years      Litigation    $350.00       64.30    $22,505.00
Sullivan

Scott McMillin      Associate      5 Years      Litigation    $330.00       35.70    $11,781.00

Douglas Smith       Associate      5 Years      Litigation    $315.00        4.50    $1,417.50

J. Chad Mitchell    Associate      3 Years      Litigation    $265.00        1.00    $265.00

Grant Cornehls      Associate      2 Years      Litigation    $225.00       29.80    $6,705.00

Kellye Fabian       Associate       1 Year      Litigation    $195.00       59.60    $11,622.00

Donald Rocap         Partner       21 Years         Tax       $625.00        6.80    $4,250.00

Todd Maynes          Partner       14 Years         Tax       $515.00       21.60    $11,124.00

Brian Davis         Associate      3 Years     Real Estate    $265.00       17.00    $4,505.00

Julie Olsen         Associate       1 Year     Real Estate    $265.00        5.10    $1,351.50

Andrew Kaufman       Partner       27 Years   Transactional   $570.00        0.60    $342.00




                                              -5-
            Case 01-01139-AMC                  Doc 775-4        Filed 08/02/01      Page 13 of 188




        Name of             Position with      Number                     Hourly        Total        Total
      Professional          the applicant      of years   Department      billing       billed      compen-
        Person                                  as an                      rate         hours        sation
                                               attorney


   Kenneth Morrison            Partner         18 Years   Transactional   $510.00        2.00     $1,020.00




                     10.    The paraprofessionals of K&E who have rendered professional services in these

cases during the Fee Period are:




       Name of              Position     Number of        Department      Hourly       Total        Total
     Professional           with the      years in                        billing      billed      compen-
       Person              applicant        that                           rate        hours        sation
                                          position

   Cheri Johnson            Legal           8 Years       Bankruptcy      $140.00       1.00     $140.00
                           Assistant

   Nathanael                Legal           8 Years       Bankruptcy      $150.00       63.10    $9,465.00
   Meyers                  Assistant

   Brigitte Windley         Legal           4 Years       Bankruptcy      $150.00       93.00    $13,950.00
                           Assistant

   Leslie Drinkwater        Project      7 Months         Bankruptcy       $70.00       16.50    $1,155.00
                           Assistant

   Daniel Baglio             Case        6 Months         Bankruptcy       $60.00       89.90    $5,394.00
                           Assistant

   Sabrina Mitchell         Project      2 Months         Bankruptcy       $70.00       99.90    $6,993.00
                           Assistant

   Laura Urso               Legal           16 Years      Corporate       $190.00       21.40    $4,066.00
                           Assistant

   Christopher Valeri       Legal           8 Years       Corporate       $130.00       53.70    $6,981.00
                           Assistant

   Tanya Fawcett             Case        9 Months         Corporate        $65.00       2.50     $162.50
                           Assistant

   Melissa Piliere           Case        6 Months         Corporate        $65.00       15.50    $1,007.50
                           Assistant



                                                          -6-
            Case 01-01139-AMC           Doc 775-4        Filed 08/02/01        Page 14 of 188




        Name of          Position   Number of      Department        Hourly       Total       Total
      Professional       with the    years in                        billing      billed     compen-
        Person          applicant      that                           rate        hours       sation
                                     position

   Gayle                  Case      12 Years        Intellectual      $65.00       5.20    $338.00
   Lodygowski           Assistant                    Property

   Kathy Sorce           Legal       6 Years        Litigation       $150.00       8.00    $1,200.00
                        Assistant

   Michael Rocco        Manager      3 Years        Litigation       $165.00       0.50    $82.50

   Raquel Carrillo       Legal      5 Months        Litigation       $100.00       59.50   $5,950.00
                        Assistant

   Biographical                                                      $110.00       2.50    $275.00
   Research

   Government                                                        $110.00       1.00    $110.00
   Agency Research




                                                 Grand Total for Fees: $626,079.00
                                                 Blended Rate:         $304.38

                  11.    Kirkland & Ellis has advised and represented the Debtors in connection with the

operation of their businesses and other matters arising in the performance of their duties as a debtors-in-

possession. Furthermore, K&E has prepared various pleadings, motions, and other papers submitted to

this Court for consideration, has appeared before this Court during hearings regarding these cases, and has

performed various other professional services that are described in this Application.

                  12.    The rates described above are K&E’s hourly rates for services of this type.

Attached as Exhibit A is a detailed itemization and description of the services that K&E rendered during

the Fee Period; based on these rates and the services performed by each individual, the reasonable value

of such services is $626,079.00. The K&E attorneys and paraprofessionals expended a total of 2056.90



                                                   -7-
           Case 01-01139-AMC            Doc 775-4        Filed 08/02/01     Page 15 of 188




hours for these cases during the Fee Period. In accordance with the factors enumerated in section 330 of

the Bankruptcy Code, the amount of fees requested is fair and reasonable given: (a) the complexity of these

cases, (b) the time expended, (c) the nature and extent of the services rendered, (d) the value of such

services, and (e) the costs of comparable services other than in a case under the Bankruptcy Code.

                13.     Further, Exhibit A (a) identifies the individuals that rendered services in each

Subject Matter, as defined and described below, (b) describes each activity or service that each individual

performed and (c) states the number of hours (in increments of one-tenth of an hour) spent by each

individual providing the services. Each numbered tab in Exhibit A corresponds to the matter number that

K&E assigned to each Subject Matter. If a Subject Matter does not appear, then K&E did not bill time

or expenses for that Subject Matter during the Fee Period, but may bill time for that Subject Matter in the

future.

               Reasonable and Necessary Services Rendered by Kirkland & Ellis

                                        Categorized by Matter

                14.     The professional services that K&E rendered during the Fee Period are grouped

into the numbered and titled categories of subject matters described in Paragraphs 14-38 herein (the

“Subject Matter(s)”).

                15.     Matter 16 – Asset Analysis and Recovery

                        (Fees: $26,294.00; Hours: 79.20)

                This Subject Matter describes time related to the analysis of estate assets, including

acquisition and divestiture matters. This Subject Matter includes time spent responding to a motion for




                                                   -8-
            Case 01-01139-AMC            Doc 775-4         Filed 08/02/01     Page 16 of 188




reconsideration filed with respect to the Debtor’s motion for payment of essential trade creditors. It also

includes time spent preparing motions for the sale of de minimis assets and for omnibus claims procedures.

                16.      Matter 17 – Automatic Stay Matters/Relief from Stay Proceedings

                         (Fees: $38,703.00; Hours: 119.70)

                This Subject Matter involves time responding to and analyzing efforts by creditors or

litigants to take actions that would potentially violate the automatic stay. Included is time related to (a)

responding to and analyzing efforts by creditors and litigation claimants for relief from the automatic stay;

(b) analyzing actions by creditors and litigation claimants that violate or would likely violate the automatic

stay; (c) legal research on automatic stay and interrelated transfer of venue matters with respect to various

ongoing litigation matters; and (d) implementing strategies to handle extensive ongoing litigation matters in

conjunction with the Chapter 11 Cases.

                17.      Matter 18 – Bankruptcy Filing

                         (Fees: $51,455.50; Hours: 147.10)

                This Subject Matter involves time spent in filing the petitions of the Debtors on April 2,

2001, and all time spent in support thereof.

                18.      Matter 19 Carriers

                         (Fees: $592.50; Hours: 1.5)

                This Subject Matter describes activities spent attending to matters pertaining to common

carrier and shipping issues.




                                                     -9-
           Case 01-01139-AMC            Doc 775-4        Filed 08/02/01     Page 17 of 188




                19.     Matter 20 – Case Administration

                        (Fees: $43,245.00; Hours: 223.00)

                This Subject Matter describes activities not described elsewhere under another matter

related to, among other things, (a) administering, managing and coordinating the Chapter 11 Cases

(specifically, time spent organizing pleadings and omnibus hearings), (b) organizing and maintaining the

voluminous files of the Debtors, (c) complying with the service and notice requirements of the Bankruptcy

Code, the Bankruptcy Rules and the local rules, (d) fulfilling the Debtors’ duties as debtors-in-possession

and (e) complying with the requirements of the Bankruptcy Code, the Bankruptcy Rules, the Court and

any other applicable law.

                20.      Matter 21 – Claims Estimate, Objection and Resolution

                        (Fees: $11,889.50; Hours: 35.90)

                This Subject Matter describes legal services provided to the Debtors (a) to identify and

evaluate claims and potential claims against the Debtors and (b) to develop strategies concerning such

claims.




                                                  -10-
            Case 01-01139-AMC           Doc 775-4         Filed 08/02/01     Page 18 of 188




                21.      Matter 22 – Contested Matters/Adversary Proceedings

                         (Fees: $212,122.50; Hours: 540.90)

                This Subject Matter describes time spent taking and defending depositions, researching and

drafting pleadings, reviewing documents, and preparing for the Debtors participation in various adversary

proceedings. In addition, this Subject Matter includes time spent preparing for and attending contested

hearings held in connection with the Preliminary Injunction and the Temporary Restraining Order. It also

includes time spent preparing for the removal of the fraudulent conveyance action to the District Court in

California and the transfer of venue in that case to the District Court in Delaware and the intervention and

removal proceedings in an asbestos litigation matter in Massachusetts.

                22.      Matter 23 – Corporate and Securities Matters

                         (Fees: $5,321.50; Hours: 13.40)

                This category describes legalservices provided to the Debtors relating to general corporate

or securities issues, including counseling regarding corporate governance issues and meetings with the

Debtors’ Board of Directors. This Subject Matter also includes time spent matters pertaining to the

Debtors’ receivables facility.




                                                   -11-
            Case 01-01139-AMC            Doc 775-4         Filed 08/02/01      Page 19 of 188




                 23.     Matter 24 – Creditors Committees

                         (Fees: $21,778.00; Hours: 45.80)

                 This category describes time spent preparing for and holding discussions and meetings with

the official committee of unsecured creditors following its appointment on April 18, 2001. Included in this

category is time spent (a) responding to information and due diligence requests by the Committee, and (b)

informing the committee about case administration and contested matters.

                 24.     Matter 25 – Creditors/Shareholders Inquiries

                         (Fees: $14,935.50; Hours: 43.90)

                 This Subject Matter describes time spent responding to numerous letters and telephone

inquiries from customers, creditors and their counsel for information regarding the status of the Chapter 11

Cases, including notice sent to potential claimants regarding the section 341 creditors’ meeting scheduled

for May 18, 2001.

                 25.     Matter 26 – DIP Financing/Cash Collateral

                         (Fees: $57,742.00; Hours: 316.60)

                 This Subject Matter describes time spent related to the Debtors’ postpetition financing,

including (a) drafting and revising the amendments to the DIP Orders, (b) negotiating any conditions of the

Debtors’ use of any cash collateral, (c) negotiating other post-petition financing matters with other potential

lenders, and (d) preparing for hearings on the approval of such DIP financing.




                                                    -12-
            Case 01-01139-AMC            Doc 775-4         Filed 08/02/01     Page 20 of 188




                26.      Matter 27 – Employee Matters

                         (Fees: $11,019.50; Hours: 40.90)

                This Subject Matter describes activities related to the Debtors’ employment, compensation,

employee benefits and employee retention issues. Included in this category is time spent (a) answering

document production requests from counsel to the Committees pertaining to employee programs, (b)

answering factual questions of the Committees regarding the Debtors’ various employee programs and (c)

researching and drafting correspondence related to the above-described matters.

                27.      Matter 28 – Environmental Issues

                         (Fees: $29,112.50; Hours: 79.30)

                This Subject Matter describes activities related to the Debtors’ ongoing environmental

issues and efforts to resolve those issues within the context of the Chapter 11 Cases.




                28.      Matter 29 – File, Docket, Calendar Maintenance

                         (Fees: $7,508.00; Hours: 88.50)

                This Subject Matter describes time spent organizing and distributing pleadings, motions and

other court filings, and maintaining the voluminous files of the Debtors. Also included is time spent updating

the Fed. R. Bankr. P. 2002 service list and preparing and updating the Debtors research files.




                                                    -13-
             Case 01-01139-AMC           Doc 775-4         Filed 08/02/01     Page 21 of 188




                29.      Matter 30 – Hearings

                         (Fees: $10,540.50; Hours: 21.90)

                This Subject Matter describes time preparing for and attending the hearing held on April

18, 2001, regarding, in part, (a) the Debtors’ motion for a temporary restraining order and preliminary

injunction staying all asbestos-related and fraudulent transfer claims and (b) reconsideration of the Debtors’

authority to pay essential trade creditors. This Subject Matter also describes time spent preparing for the

hearing scheduled for May 3, 2001, the agenda for which includes, in part, (a) the Debtors’ motion for a

temporary restraining order and preliminary injunction staying all asbestos-related and fraudulent transfer

claims, (b) the Debtors’ emergency motion for debtor in possession financing, (c) procedures for treatment

of reclamation claims and (d) resolution of objections to the Debtors’ authority to pay essential trade

creditors.

                30.      Matter 32 – K&E Fee Application, Preparation of

                         (Fees: $47.00; Hours: 0.20)

                This Subject Matter includes activities in connection with K&E’s preparation of its interim

fee application, all in accordance with the procedures and standards of the Bankruptcy Code, the Federal

Rules of Bankruptcy Procedure, the Orders of this Court, Del.Bankr.LR 2016-2 and the U.S. Trustee for

the District of Delaware. Because many K&E individuals provide services in these cases, reviewing

K&E’s billing statement and preparing monthly Fee Applications to ensure compliance with the Bankruptcy

Code, the amended local rules, and Orders of this Court is a time consuming process.




                                                    -14-
            Case 01-01139-AMC            Doc 775-4         Filed 08/02/01     Page 22 of 188




                 31.     Matter 33 – Lease Rejection Claims

                         (Fees: $11,789.50; Hours: 44.90)

                 This Subject Matter describes time spent evaluating the Debtors’ potential rejection of

unexpired real property leases, including (a) time spent researching applicable statutory or case law, (b)

discussions with various counsel to landlords and other lessors regarding rejection procedures and other

related issues, and (c) drafting a motion for an extension of time to assume or reject unexpired real property

leases pursuant to section 365(d)(4) of the Bankruptcy Code.

                 32.     Matter 36 – Reclamation Claims

                         (Fees: $2,873.00; Hours: 11.30)

                 This Subject Matter includes time spent implementing the procedure to address and pay

reclamation claims and responding to reclamation claims, motions, complaints and inquiries.

                 33.     Matter 38 – Retention of Professionals

                         (Fees: $16,957.00; Hours: 60.00)

                 This Subject Matter includes activities in connection with the retention of professionals

under section 327 of the Bankruptcy Code. Significant activities include (a) securing the Court’s approval

for the employment and compensation of numerous professionals for the Debtors under separate retention

applications and (b) working with the Debtors concerning retention issues for all of the Debtors’

professionals.




                                                    -15-
           Case 01-01139-AMC            Doc 775-4         Filed 08/02/01     Page 23 of 188




                34.     Matter 39 – Schedules/Statement of Financial Affairs

                        (Fees: $18,209.50; Hours: 52.10)

                This Subject Matter describes time spent reviewing and revising the Debtors’ schedules

and statements of financial affairs and meeting with representatives of, and professionals retained by, the

Debtors to assist in the Debtors’ development of schedules and statements of financial affairs.

                35.     Matter 41 – Tax Matters

                        (Fees $17,059.00; Hours: 35.70)

                This Subject Matter includes time spent analyzing various tax issues.

                36.     Matter 42 – Travel

                        (Fees: $8,364.00; Hours: 28.90)

                This Subject Matter involves time spent traveling while representing the Debtors. K&E

bills the Debtors for one-half of the total time that K&E professionals spend for non-working travel.

                37.     Matter 44 - U.S. Trustee

                        (Fees: $3,900.50; Hours: 11.50)

                This Subject Matter includes time responding to inquiries from the United States Trustee.




                38.     Matter 45 - Utilities

                        (Fees: $4,620.00; Hours: 14.70)

                This Subject Matter describes time spent responding to, negotiating with and settling utility

company requests for adequate assurances of future performance.




                                                   -16-
            Case 01-01139-AMC            Doc 775-4         Filed 08/02/01       Page 24 of 188




                                    Actual and Necessary Expenses

                39.      It is K&E’s policy to charge its clients in all areas of practice for identifiable

non-overhead expenses incurred in connection with the client’s case that would not have been incurred

except for representation of that particular client. It is K&E’s policy to charge its clients only the amount

actually incurred by K&E in connection with such items. Examples of such expenses are postage, overnight

mail, courier delivery, transportation, overtime expenses, computer assisted legal research, photocopying,

out-going facsimile transmissions, airfare, meals, and lodging. With respect to airfare expenses, all travel,

by all individuals, is billed at the coach class rate with allowances for class upgrades.

                40.      Kirkland & Ellis charges: (a) $0.10 per page for duplication and (b) $0.75 per

page for outgoing telecopier transmissions (plus related toll charges). Kirkland & Ellis does not charge its

clients for incoming telecopier transmissions. K&E has negotiated a discounted rate for Westlaw computer

assisted legal research, which is approximately $125/hour of online use of the standard Westlaw databases.

Computer assisted legal research is used whenever the researcher determines that using Westlaw is more

cost effective than using traditional (non-computer-based legal research) techniques.

                41.      A summary of expenses by type, as well as a detailed itemization and description

of the disbursements made by K&E on the Debtors’ behalf during the Fee Period is attached hereto as

Exhibit B. All of these disbursements comprise the requested sum for K&E’s out-of-pocket expenses,

totaling $32,439.84. These disbursements are grouped in Exhibit B into the same numbered and titled

categories of Subject Matters as the fees are grouped in Exhibit A. The numbered tabs within Exhibit B

correspond to the numbers assigned to the matters described in Paragraphs 14-38 herein. Any missing

Subject Matters merely indicate that no expenses were attributed to such Subject Matters during the Fee

                                                    -17-
           Case 01-01139-AMC            Doc 775-4         Filed 08/02/01     Page 25 of 188




Period, although expenses may be attributable to such Subject Matters in the future. A summary of

expenses by category for the entire Fee Period is also set forth in Exhibit B.

                                            Representations

                42.     K&E believes that the fee application is in compliance with the requirements of

Del.Bankr.LR 2016-2.

                43.     Although every effort has been made to include all fees and expenses from the

Fee Period in this Application, some fees and expenses from the Fee Period might not be included in this

Application due to accounting and processing delays. Kirkland & Ellis reserves the right to make further

application to the Court for allowance of fees and expenses for the Fee Period not included herein.

                44.     In summary, by this Application, K&E requests compensation for fees and

expenses in the total amount of $658,518.84 consisting of (a) $626,079.00 for reasonable and necessary

professional services rendered and (b) $32,439.84 for actual and necessary costs and expenses.




                                                   -18-
            Case 01-01139-AMC              Doc 775-4       Filed 08/02/01   Page 26 of 188




                 WHEREFORE, K&E respectfully requests (a) that an allowance be made to it, as fully

described above for the (i) 80% of the reasonable and necessary professional services K&E has rendered

to the Debtors during the Fee Period ($626,079.00) and (ii) 100 % of the reimbursement of actual and

necessary costs and expenses incurred by K&E during the Fee Period ($32,439.84); (b) that both fees

and expenses are payable as administrative expenses of the Debtors’ estates; and (c) that this Court grant

such further relief as is equitable and just.


Wilmington, Delaware               Respectfully submitted,
Dated: __________, 2001
                                           KIRKLAND & ELLIS

                                           _____________________________________________
                                           James H.M. Sprayregen
                                           James W. Kapp III
                                           Samuel A. Schwartz
                                           Roger J. Higgins
                                           200 East Randolph Drive
                                           Chicago, Illinois 60601
                                           (312) 861-2000




                                                    -19-
                 Case 01-01139-AMC       Doc 775-4        Filed 08/02/01      Page 27 of 188




                        Matter 16 - Asset Analysis and Recovery - Fees


Date      Name              Hours      Description
4/03/01   Samuel A             5.60    Attention to dissemination of first day orders to various creditors,
          Schwartz                     including banks, creditors and vendors (4.5); telephone
                                       conferences with the client and various parties re same (.8);
                                       review and revision of memo summarizing first day hearing (.3).

4/05/01   Roger J Higgins      1.00    Draft De Minimis Assets Sale Motion.

4/06/01   Roger J Higgins      7.50    Draft De Minimis Assets Sale Motion (5.5); legal research
                                       related thereto (2.0).

4/09/01   Samuel A             2.40    Telephone conferences with in-house counsel and P. Zilly
          Schwartz                     reviewing and discussing acquisitions and divestitures including
                                       domestic and foreign operations and reviewing the structure of
                                       the same.

4/09/01   Roger J Higgins      8.30    Draft De Minimis Assets Sales Motion (3.3); draft Omnibus
                                       Claims Procedures Motion (5.0).

4/10/01   Andrew R             0.50    Telephone conference with S. Case of Davis Polk and T. Maher
          Running                      of Chase Manhattan re their objections to payment of trade debt
                                       (.3 hours); attend to matters re same (.2 hours).
4/10/01   Samuel A             0.30    Telephone conferences with the client re the DIP Facility and the
          Schwartz                     Essential Trade Motion.

4/11/01   James W Kapp         6.60    Attend to inquiries from Bank Group re essential trade payments
                                       and attend to issues re same and telephone conferences with D.
                                       Siegel, M. Shelnitz.

4/11/01   Samuel A             3.20    Multiple telephone conferences with the client and the agent for
          Schwartz                     the postpetition lenders negotiating the essential trade cap and
                                       meetings re same.

4/11/01   Samuel A             0.80    Telephone conferences with the client re strategy and tactics
          Schwartz                     relating to acquisitions.

4/12/01   Samuel A             0.50    Telephone conferences with the client re strategic acquisition
          Schwartz                     alternatives.




                                                    A-1
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01      Page 28 of 188




Date      Name           Hours       Description
4/12/01   Samuel A         1.10      Telephone conference with the client re customer programs,
          Schwartz                   warranties and performance guarantees and review of the motion
                                     re same.

4/16/01   James W Kapp     0.30      Attend to issues re settlement of appeal.

4/16/01   James H          0.60      Attention to essential trade issues.
          Sprayregen

4/18/01   Samuel A         2.20      Telephone conferences of the client re pending asset transactions
          Schwartz                   and business operations in the ordinary course.

4/19/01   James W Kapp     2.40      Review trade payment data requested by creditor committee
                                     (.2); telephone conference with R. Raskin re essential trade
                                     motion and attend to issues re same (2.2).

4/19/01   James H          0.90      Attention to essential trade issues.
          Sprayregen
4/19/01   Samuel A         4.70      Research for and drafting of the response to the motion for
          Schwartz                   reconsideration of the essential trade order (3.7); meetings with
                                     the client re same (1.0).

4/20/01   Timothy S        0.50      Review draft of claims criteria.
          Hardy

4/20/01   James W Kapp     3.30      Telephone conferences with R. Raskin re payment of trade
                                     claims and attend to issues re same.

4/20/01   James H          1.10      Attention to essential trade issues.
          Sprayregen

4/20/01   Samuel A         5.40      Research for and drafting of the response to the Motion for
          Schwartz                   Reconsideration of Chase (3.6); drafting of the affidavit of
                                     Forehand in support (1.8).

4/22/01   James W Kapp     1.40      Review and revise response to Chase's motion for
                                     reconsideration.
4/23/01   James W Kapp     3.20      Address issues re motion for reconsideration and review and
                                     revise response to same.




                                                  A-2
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01     Page 29 of 188




Date      Name           Hours       Description
4/23/01   Samuel A         8.10      Research for and revision of the Response to the Motion for
          Schwartz                   Reconsideration of Chase (7.4) and conferences with the client
                                     re same (.7).

4/24/01   James W Kapp     1.20      Review and revise response to motion for reconsideration and
                                     telephone conference with N. Lazar re same.

4/24/01   Samuel A         4.40      Research for and revision of the Motion for Reconsideration of
          Schwartz                   Chase (2.3) and conferences with the client re same (2.1).

4/25/01   James W Kapp     0.60      Telephone conference with S. Case re Chase's motion for
                                     reconsideration and attend to issues re same and prepare
                                     correspondence re same.

4/25/01   Samuel A         0.80      Telephone conferences with the client re pending asset sales and
          Schwartz                   acquisitions.

4/30/01   James W Kapp     0.30      Address issues re particular asset acquisition.




                                                  A-3
                 Case 01-01139-AMC      Doc 775-4        Filed 08/02/01     Page 30 of 188




           Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Fees
Date      Name             Hours      Description
4/06/01   James W Kapp        1.00    Address issues re automatic stay and effect upon cases where
                                      debtor is a nominal defendant with significant counterclaims and
                                      develop strategy re same.

4/06/01   Janet Baer          0.40    Internal K&E conference re various issues on stay and related
                                      matters.

4/10/01   Mark E              3.10    Attend to matters re Libby cost recovery suit automatic stay
          Grummer                     issues (.3); case law research re automatic stay issues (2.8).

4/10/01   David A             2.00    Legal research re automatic stay research and begin research on
          Codevilla                   whether EPA Libby lawsuit is subject to automatic stay.

4/10/01   Janet Baer          0.20    Conference with C. Marraro re lifting stay on ICO/Honeywell
                                      action.

4/10/01   Janet Baer          0.30    Internal K&E conference re various stay issues.
4/11/01   Mark E              3.40    Legal research re automatic stay (.6); research and analyze
          Grummer                     venue and stay issues re EPA cost recovery claim (.4); legal
                                      research re automatic stay (2.4).

4/11/01   David A             6.00    Legal research on bankruptcy automatic stay availability in
          Codevilla                   environmental cost recovery context.

4/11/01   Janet Baer          0.90    Prepare e-mail to D. Seigel re coordination of counsel re lifting
                                      stay and related matters (.3); review response re same (.2);
                                      confer with various counsel re retention and stay issues (.4).

4/12/01   Mark E              4.10    Legal research re applicability of automatic stay to Libby
          Grummer                     CERCLA cost recovery suit (3.6); begin preparing table of stay
                                      cases (.5).

4/12/01   David A             2.80    Internal K&E conference call re bankruptcy procedures and
          Codevilla                   automatic stays; case research on non-environmental stays and
                                      the pecuniary interest test for exceptions for automatic stays.

4/12/01   Janet Baer          1.30    Review correspondence and attend to issues re stay matters
                                      (1.0); attend to matters re EPA Montana action and stay/strategy
                                      issues (.3).



                                                   A-4
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01      Page 31 of 188




Date      Name              Hours    Description
4/13/01   Mark E              0.10   Internal K&E conferences re automatic stay research.
          Grummer

4/13/01   Mark E              1.50   Research re amendment to police and regulatory exception Code
          Grummer                    provision.

4/13/01   Reed S Oslan        4.00   Calls re impact of stay on pending litigation against related
                                     entities in non-asbestos actions (.5); consider strategy re same
                                     (2.5); internal conference re same (1.0).

4/13/01   David A             2.50   Case research and summaries re bankrutpcy stays of
          Codevilla                  governmental action based on pecuniary interest test (2.0); revise
                                     detail environmental chart (.5).

4/13/01   Janet Baer          0.20   Confer with C. Marraro re questions re stay and professionals
                                     affidavit.

4/14/01   Mark E              1.00   Research re automatic stay and police and regulatory exception
          Grummer                    re Libby cost recovery suit.
4/15/01   Mark E              2.60   Continue automatic stay and police/regulatory research and
          Grummer                    preparation of table of cases re same.

4/16/01   Mark E              3.90   Begin drafting memorandum re Libby EPA suit automatic stay,
          Grummer                    discretionary stay, and venue transfer issues (3.4); internal K&E
                                     conference re research re same (.5).

4/16/01   David A             4.30   Continue research on bankruptcy stay issues, discretionary stays
          Codevilla                  and procedural considerations.

4/16/01   Janet Baer          0.50   Attend to matters re Motor Wheel matter (.2); confer with C.
                                     Marrero re Motor Wheel (.3);

4/16/01   Roger J Higgins     5.00   Legal research on partial lifting of automatic stay including
                                     Westlaw research.

4/17/01   Mark E              1.00   Attend to issues related to Libby automatic stay venue issues.
          Grummer
4/17/01   David A             0.80   Attend to issues related to automatic stay and venue re Libby
          Codevilla                  Montana.




                                                  A-5
                 Case 01-01139-AMC     Doc 775-4         Filed 08/02/01     Page 32 of 188




Date      Name              Hours    Description
4/17/01   Roger J Higgins     3.80   Legal research on motion to lift automatic stay (1.8); draft
                                     stipulation and agreed order for Motor Wheel Disposal Site
                                     (2.0).

4/18/01   Mark E              1.30   Attend to automatic stay and venue issues re Libby Montana.
          Grummer

4/18/01   Reed S Oslan        0.30   Calls re stay, transfer issues.

4/18/01   Janet Baer          1.10   Prepare notes re items to consider re expansion of TRO and lift
                                     stay (.4); internal K&E conference re Merrill Lynch, TRO,
                                     hearing and related matters (.3); attend to issues related to
                                     automatic stay and venue matters (.4).

4/18/01   Roger J Higgins     2.50   Legal research on extent of section 362(b)(4) police powers in
                                     environmental matters.

4/19/01   Reed S Oslan        1.50   Consider status of transfer, stay motions.
4/19/01   David A             3.00   Legal research on change of venue application of automatic stay
          Codevilla                  in Libby.

4/19/01   Janet Baer          2.00   Prepare memo re stay and injunction issues (.5); review memo
                                     and prepare response to D. Siegel e-mail on stay and injunction
                                     issues (.5); internal K&E conference re relief re Merrill Lynch
                                     and First Boston (.5); internal K&E conference re research for
                                     Libby venue matter and draft Stipulation re Minnesota action
                                     (.5).

4/19/01   Roger J Higgins     3.80   Draft stipulation and agreed order and related documents for
                                     Minnesota EPA matter.

4/20/01   Mark E              3.00   Legal research and drafting of memo re Libby suit stay and
          Grummer                    venue issues.

4/20/01   James W Kapp        0.40   Address issues re automatic stay impact on Environmental
                                     Protection Agency matters.

4/20/01   David A             4.30   Draft portion of bankruptcy issues memorandum addressing
          Codevilla                  change of venue and automatic stay issues and prospects.
4/20/01   Janet Baer          0.50   Attend to matters re stay, injunction and related issues.


                                                   A-6
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01      Page 33 of 188




Date      Name              Hours    Description
4/21/01   Mark E              3.70   Draft memorandum evaluating applicability of automatic stay or
          Grummer                    discretionary stay to EPA Libby action and availability of venue
                                     transfer.

4/21/01   Roger J Higgins     4.80   Legal research on various matters pertaining to the automatic
                                     stay and transfer of venue.

4/22/01   Mark E              3.30   Prepare memo re stay and venue issue re EPA Libby suit.
          Grummer

4/23/01   Mark E              7.40   Finish memo re stay and venue issues re EPA Libby suit and
          Grummer                    forward same to team for review.

4/23/01   David A             4.30   Legal research on transfer of venue issues related to EPA cost
          Codevilla                  recovery action at Libby, MT.

4/24/01   Janet Baer          0.50   Review memo on Libby and police power issues and internal
                                     K&E conference re same.
4/24/01   Janet Baer          0.30   Internal K&E conference re status of issues re injunction and
                                     stay.

4/25/01   Kellye L Fabian     6.00   Draft memorandum discussing law governing lifting automatic
                                     stay.

4/25/01   Janet Baer          0.50   Confer with J. Freeman (EPA) re 362(b) language in injunction
                                     order (.2); prepare letter to EPA re 362(b) (.3).

4/26/01   Scott A             3.00   Draft response to motion to lift stay (2.5); internal K&E
          McMillin                   conference and conference with D. Carikoff re same (.5).

4/26/01   Kellye L Fabian     1.00   Draft memorandum discussing law governing lifting automatic
                                     stay.

4/27/01   Andrew R            0.30   Review draft response to motion to expedite briefing of motion to
          Running                    lift stay of Boston MDL proceeding.
4/27/01   Kellye L Fabian     4.00   Research the interaction between class certification and lifting the
                                     automatic stay.

4/30/01   James W Kapp        0.20   Review Debtors' opposition to Paul Price's motion to shorten the
                                     time for hearing on motion to lift stay.



                                                  A-7
              Case 01-01139-AMC     Doc 775-4     Filed 08/02/01   Page 34 of 188




Date   Name           Hours       Description




                                            A-8
                  Case 01-01139-AMC      Doc 775-4       Filed 08/02/01       Page 35 of 188




                             Matter 18 - Bankruptcy Filing - Fees


Date      Name              Hours     Description
4/02/01   David M             9.50    Prepare for first-day hearings (5.0); attend first-day hearings
          Bernick, P.C.               (3.0); post-hearing meeting with client re follow-up work (1.5).

4/02/01   James W Kapp       14.30    Prepare for first day filing and address issues re same (7.3);
                                      attend first day hearings and address issues re same (7.0).

4/02/01   Sarah R             2.50    Review pleadings from first-day filing (.5); draft notes re same
          Marmor                      (2.0).

4/02/01   Reed S Oslan        6.00    Filing issues (3.0); telephone conference re first day
                                      events/rulings (1.0); consider status/strategy (2.0).

4/02/01   James H             5.90    Attention to bankruptcy filing, first day hearing and related issues
          Sprayregen                  in preparation for first day hearing (2.0); attend first day hearing
                                      (3.9).

4/02/01   James H             2.10    Conferences with D. Siegel concerning strategy and tactics
          Sprayregen                  related to filing issues.
4/02/01   Samuel A           12.70    Prepare for the first day hearing and meetings with the client re
          Schwartz                    same (7.5); attendance of the first day hearing and meetings with
                                      the client re same (4.5); prepare for first day filing and delivery of
                                      petitions to clerk's office (.7).

4/02/01   Lesley A           12.00    Prepare for and attend first day hearings.
          Drinkwater

4/02/01   Brigitte F          9.30    Assist attorneys with preparation of documents for bench filing at
          Windley                     first day hearing (6.5); attend first day hearing (2.8).

4/02/01   David A             1.00    Review emails re filing of bankruptcy petition and scheduled
          Codevilla                   conference calls.

4/02/01   Janet Baer          0.30    Attend to matters re status of filing and first day hearings .

4/02/01   Roger J Higgins    14.00    Prepare for First Day Hearing and for filing of bankruptcy
                                      petitions (7.5); attend First Day Hearing (3.5); debrief First Day
                                      Hearing and prepare notice of bankruptcy filing and various First
                                      Day Motions (3.0).



                                                   A-9
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 36 of 188




Date      Name              Hours    Description
4/03/01   James W Kapp       10.50   Attend to issues pertaining to first day pleadings and notice issues
                                     re same; (7.5) various telephone conferences with
                                     representatives of Company re implementation of same (3.0).

4/03/01   Reed S Oslan        2.00   Numerous calls re filing, procedural issues.

4/03/01   James H             0.60   Conferences with D. Siegel concerning strategy and tactics
          Sprayregen                 related to filing issues.

4/03/01   James H             2.30   Attention to post first day hearing issues and related matters.
          Sprayregen

4/03/01   Christopher B       2.00   Internal K&E meeting re status of first day hearing (2.0).
          Sullivan

4/03/01   Roger J Higgins     8.00   Prepare memorandum summarizing the motions and applications
                                     heard at the First Day Hearing (2.5); Assist in preparation of
                                     Notice of First Day Motions and Orders (5.5).
4/04/01   James W Kapp        7.70   Telephone conference with various representatives of the
                                     Company re implementation of first day pleadings and requests
                                     thereto (4.0); telephone conference with T. Delbrugge of Grace
                                     re implementation of first day orders and requirements thereof
                                     (1.4); attend status meeting re commencement of bankruptcy
                                     cases and issues re same (2.0); telephone conference with T.
                                     Marchettare bankruptcy filing (.3).

4/04/01   James H             0.60   Conferences with D. Siegel concerning strategy and tactics
          Sprayregen                 related to filing issues.

4/04/01   Roger J Higgins     4.10   Draft memo summarizing First Day Motions (2.8); telephone
                                     conference with J. Forgach on scope of wage motion (.5);
                                     second telephone conference with J. Forgach (.5); telephone
                                     conference with local counsel on First Day matters (.3).

4/05/01   James W Kapp        4.80   Participate in status conference re outstanding issues (1.1);
                                     review and revise memorandum summarizing relief granted on
                                     first day hearing and attend to issues re same (1.5); address
                                     issues re implementation of first day orders and compliance with
                                     same (1.7); review transcript from first day hearing (.5).



                                                 A-10
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 37 of 188




Date      Name              Hours    Description
4/05/01   James H             0.80   Attention to post first day hearing issues and related matters.
          Sprayregen

4/05/01   James H             0.60   Conferences with D. Siegel concerning strategy and tactics
          Sprayregen                 related to filing issues.

4/05/01   Roger J Higgins     5.00   Telephone conference with T. Delbrugge on the scope of various
                                     First Day Motions (.5); legal research on same (1.0); revise
                                     memorandum summarizing the Court's actions at the April 2,
                                     2001 First Day Hearing (3.5).

4/06/01   James W Kapp        0.20   Review and revise first day hearing memorandum.

4/06/01   James H             1.10   Conferences with D. Siegel concerning strategy and tactics
          Sprayregen                 related to filing issues.

4/06/01   Roger J Higgins     1.00   Revise First Day Hearings Summary Memorandum.
4/08/01   Janet Baer          0.30   Review memo re first day orders for information effecting
                                     contested matters.

4/09/01   James W Kapp        0.50   Review newspaper articles pertaining to bankruptcy filing.

4/10/01   Roger J Higgins     0.20   Telephone conference with T. Delbrugge on scope of First Day
                                     motions.

4/12/01   Reed S Oslan        0.50   Study transcript of hearing.

4/16/01   James W Kapp        0.50   Attend to issues re Company presentation concerning
                                     compliance with bankruptcy code.

4/17/01   James W Kapp        0.40   Attend to issues re scheduling hearing and telephone conferences
                                     with D. Siegel and R. Raskin re same.




                                                 A-11
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 38 of 188




                              Matter 19 - Carriers - Fees


Date      Name           Hours       Description
4/05/01   James W Kapp     0.50      Telephone conference with T. Delbrugge re payment of shippers
                                     and other carriers and implementation of order re same.

4/06/01   James W Kapp     0.50      Attend to issues re carriers transporting toxic waste.

4/24/01   James W Kapp     0.50      Telephone conference with B. McGowan re issues pertaining to
                                     the shippers/carrier motion.




                                                 A-12
                  Case 01-01139-AMC     Doc 775-4        Filed 08/02/01       Page 39 of 188




                          Matter 20 - Case Administration - Fees


Date      Name            Hours       Description
4/02/01   Brigitte F        2.20      Organize pleadings and attorney working documents.
          Windley

4/02/01   Janet Baer        0.60      Place telephone calls to various parties re filing (.3); (.3); review
                                      revised draft Affidavit of P. LeBourdais (.30).

4/03/01   Christopher B     0.50      Draft team strategy/agenda outline.
          Sullivan

4/03/01   Samuel A          1.20      Telephone conferences with the client re case administration and
          Schwartz                    bankruptcy procedure.

4/03/01   Brigitte F        1.50      Search Northern District of California U. S. Bankruptcy Court
          Windley                     Internet web site and download Crown Case Management
                                      Order (.4); attend to corporate charts (.4); office conference
                                      with Reprographics department re combined foreign and
                                      domestic corporate charts (.3); telephone conferences with D.
                                      Carrickoff re status of transmittal of first day pleadings copies
                                      (.1); telephone conferences with T. Mullen re request for copies
                                      of first day pleadings and orders (.2); confer with A. Groesch re
                                      same (.1).

4/03/01   Biographical      2.00      Biographical Research.
          Research
4/04/01   David M           0.90      Team meeting re outstanding projects. Preparation of project list.
          Bernick, P.C.

4/04/01   Sarah R           3.50      Participate in team meeting.
          Marmor

4/04/01   Andrew R          1.90      Participate in team meeting to prioritize and assign litigation and
          Running                     bankruptcy projects for the cases.

4/04/01   Douglas G         1.50      Attend team conference call.
          Smith



                                                   A-13
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01        Page 40 of 188




Date      Name              Hours     Description
4/04/01   Christopher B       1.50    Attend team meeting re status, agenda, strategy
          Sullivan

4/04/01   Brigitte F          9.00    Attend to matters re status of first day documents transmittal (.4);
          Windley                     attend to matters re additional request for first day pleadings (.1);
                                      attend to matters re request for first day pleadings (.1); respond
                                      to requests for copies of informational brief and U.S. Trustee
                                      Operating Guidelines (.5); attend to matters re request for copy
                                      of first day Temporary Restraining Order and process transmittal
                                      of same (.6); attend to matters re copies of first day pleadings
                                      and notebooks (.2); review and download filings from Court's
                                      online docket (2.1); work with project assistant on review and
                                      insertion of signed orders received from local counsel into first
                                      day pleadings and orders notebook (.9); work with project
                                      assistant on organization of first day pleadings and orders
                                      notebooks for duplication by vendor (2.4); telephone
                                      conferences with vendor reduplication of materials (.3); draft
                                      memorandum to vendor re duplicating instructions (.2); draft
                                      correspondence to D. Blechman and prepare enclosures for
                                      transmittal by Fed-Ex (1.2).

4/04/01   Janet Baer          1.80    Attend meeting on status, strategy and matters to address going
                                      forward.

4/04/01   Roger J Higgins     2.00    Prepare for and participate in status meeting.

4/04/01   Sabrina M           3.50    Work on preparing binders with filed pleadings to update central
          Mitchell                    files and master copy for duplicating.

4/04/01   Gov't Agency        1.00    Government Agency Research Address information for various
          Research                    federal and state government agencies.
4/05/01   James W Kapp        0.50    Review and revise critical date list.

4/05/01   Michael F           0.50    Burn 2 Copies of asbestos claimants.
          Rocco

4/05/01   Samuel A            2.90    Drafting of the critical dates list and to-do list and coordination of
          Schwartz                    the same with the litigation and asbestos departments (2.2);
                                      internal meeting re status and pending matters (.7).



                                                   A-14
                  Case 01-01139-AMC     Doc 775-4        Filed 08/02/01         Page 41 of 188




Date      Name              Hours     Description
4/05/01   Raquel Carrillo     4.00    Review and organize case documents into files and enter
                                      information onto database file index (3.0); attend to matters re
                                      case summation of similar bankruptcy cases (1.0).

4/05/01   Brigitte F          5.50    Office conference re status of assignments following filing (.8);
          Windley                     organize additional copies of asbestos claimants CD for
                                      transmittal to local counsel and noticing agent (.5); work with
                                      project assistant on preparing additional sets of first day pleading
                                      binders for distribution to attorneys and parties requesting same
                                      (3.8); review central files for case documents (.4).

4/05/01   Sabrina M           6.50    Identify and insert signed filed pleadings into central file binders
          Mitchell                    (2.0); organize pleading duplicates into binders for distribution to
                                      interested parties (3.5); organize central file materials in file room
                                      and prepare remainder of the binders for shipment (1.0).

4/06/01   David M             1.00    Drafting project list internal K&E conference (.8); conference re
          Bernick, P.C.               same (.2).

4/06/01   James W Kapp        0.20    Review and revise outstanding issue checklist.

4/06/01   Sarah R             1.00    Attend conference re chapter 11 filing and litigation (.5); review
          Marmor                      correspondence and pleadings (.5).
4/06/01   Reed S Oslan        4.00    Attend conferences re chapter 11 filing (1.0); consider strategy,
                                      status (3.0).

4/06/01   Christopher B       0.30    Edit team task list and critical dates list.
          Sullivan

4/06/01   Brigitte F          3.50    Prepare cover letter and Federal Express package of first day
          Windley                     pleadings to requesting parties (.9); telephone conferences with
                                      graphics specialist re revisions to corporate chart (.3); prepare
                                      facsimile of pleading to A. Cress (.3); telephone conferences
                                      with Calendar/Court Service personnel re obtaining dockets to
                                      certain New Jersey bankruptcy filing and adversaries (.2);
                                      prepare cover letter and Federal Express package of CD data to
                                      local counsel and R. R. Donnelly (.3); respond to request for
                                      informational brief (.4); download and prepare distribution of
                                      media articles re chapter 11 filing (1.1).



                                                   A-15
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01        Page 42 of 188




Date      Name              Hours     Description
4/06/01   Sabrina M           3.00    Prepare labels for updated central file binders (.5); prepare press
          Mitchell                    release memorandum for distribution to attorneys (2.0); prepare
                                      carpe diem and overtime sheets (.5).

4/08/01   David M             1.00    Further work on overall project list.
          Bernick, P.C.

4/09/01   James W Kapp        0.30    Review and revise checklist.

4/09/01   James W Kapp        0.60    Review pleadings and correspondence.

4/09/01   James H             1.20    Attention to numerous post first day order issues relating to
          Sprayregen                  implementation of first day orders.

4/09/01   Samuel A            0.60    Revision of the critical dates list and forwarding of the same to
          Schwartz                    the client.
4/09/01   Melissa Piliere     4.50    Enter UCC search results into charts for W.R. Grace &
                                      Company and its various entities.

4/09/01   Raquel Carrillo     0.10    Review recent Chapter 11 filing and update file with same.

4/09/01   Brigitte F          6.60    Work on creating Visio corporate chart combining foreign and
          Windley                     domestic debtor and non-debtor entities (4.6); download and fax
                                      pleadings from Court's website to D. Guerrero per her request
                                      (.7); prepare and transmit contact list to local counsel (.1);
                                      telephone conference with local counsel paralegal re R. 2002 list
                                      status (.1); review R. 2002 list (.9); telephone conference with T.
                                      Behnke and C. Zink re open asbestos claimants disk (.2).

4/09/01   Sabrina M           0.50    Prepare press releases for distribution to attorneys.
          Mitchell

4/10/01   James W Kapp        0.30    Telephone conference with H. Rafatjoo re scheduling of hearings
                                      and related issues.

4/10/01   Raquel Carrillo     2.60    Attend to matters re case documents and update case file
                                      documents (.6); organize case documents and create database
                                      for documents (2.0).




                                                  A-16
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 43 of 188




Date      Name              Hours     Description
4/11/01   Raquel Carrillo     2.30    Review and organize case documents into files and update
                                      database with same (.3); attend to matters re additional case
                                      documents and pleadings to add to case file (.5); pull copies of
                                      case documents to forward to S. Marmor (1.5).

4/11/01   Brigitte F          1.90    Revise and edit Visio corporate chart of combined foreign and
          Windley                     domestic debtor and non-debtor entities.

4/12/01   Kathy E Sorce       1.00    Compilation of documents.

4/13/01   James W Kapp        0.40    Telephone conference with L. Jones and H. Rafatjoo re
                                      scheduling of status hearing (.1); attend to issues re development
                                      of presentation to Company of bankruptcy process (.3).

4/13/01   Douglas G           1.00    Attend team meeting.
          Smith

4/13/01   Christopher B       1.50    Participate in team meeting re status; agenda and strategy.
          Sullivan
4/13/01   Kellye L Fabian     1.30    Team meeting re status of work and assignment of new projects.

4/13/01   Samuel A            1.50    Attendance of status and asbestos strategy conference call.
          Schwartz

4/13/01   Kathy E Sorce       1.00    Compilation of documents.

4/16/01   James W Kapp        0.50    Telephone conferences with D. Carickhoff and L. Jones re
                                      scheduling of status hearing.

4/16/01   Brigitte F          0.30    Respond to request re exhibit to lease rejection order (.1);
          Windley                     organize and transmit pleadings to outside counsel per their
                                      requests (.2).

4/17/01   Christopher B       1.00    Prepare materials for D. Bernick for status hearing.
          Sullivan
4/17/01   Kathy E Sorce       1.00    Compilation of documents.

4/18/01   Raquel Carrillo     0.30    Review recent correspondence and update file with same.




                                                  A-17
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 44 of 188




Date      Name              Hours     Description
4/19/01   Raquel Carrillo    10.30    Review and organize documents, pleadings and work product
                                      pertaining to Chapter 11, Sealed Air Corporation and Barbanti
                                      (7.0); review of recent correspondence and update file with
                                      same (3.3).

4/19/01   Brigitte F          4.00    Review and revise combined foreign and domestic Visio
          Windley                     corporate organizational chart (.3); prepare distribution
                                      memoranda to internal attorneys re organizational chart (.2);
                                      prepare correspondence and process charts for transmittal to
                                      client personnel (.8); review and download docket for objections
                                      (.8); review and categorize various case documents received
                                      from attorneys in preparation for indexing in central file by
                                      project assistant (1.9).

4/19/01   Janet Baer          0.30    Internal K&E conference re status of various matters.

4/19/01   Sabrina M           6.00    Prepare and file a check request to pay copy vendor invoice
          Mitchell                    (.5); index requests for notices (4.5); distribute organizational
                                      chart to interested parties (.8); make corrections to pleading (.2).


4/19/01   Cheri L             0.40    Verify Notice of Commencement.
          Johnson

4/20/01   Raquel Carrillo     2.30    Pull hearing transcript of April 2, 2001 for S. Marmor review
                                      (.1); internal K&E conference re questions regarding file index
                                      (.2); reformat file index (1.0); internal K&E telephone
                                      conference re affidavits of Conventry and Liberman and
                                      follow-up requesting facsimile of same for use in filing of Motion
                                      For Intervention and Transfer of Venue in Woodward v. Sealed
                                      Air matter (1.0).
4/23/01   Deanna D Boll       1.10    Internal K&E telephone conference re notice issues (.3);
                                      telephone conference with T. Hilsee re notice program costs and
                                      notice reach adequacy (.5); telephone conference with T.
                                      Behnke re related bar date costs (.3).

4/23/01   Raquel Carrillo     3.50    Review and organize documents pertaining to Zonolite (1.5);
                                      reformat file index and draft e-mail to case attorneys requesting
                                      review of same (1.0); review recent correspondence and update
                                      file with same (1.0).

                                                  A-18
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01          Page 45 of 188




Date      Name               Hours    Description
4/23/01   Brigitte F           3.50   Internal K&E office conferences re preparation of additional
          Windley                     Visio charts re corporate structure (.3); prepare cover letters and
                                      additional copies of corporate charts for transmittal to outside
                                      professionals (1.1); review and download docket for objections
                                      (.4); internal K&E office conference re same (.1); review and
                                      categorize various employment case documents received from
                                      attorneys in preparation for indexing in central file by project
                                      assistant (1.6).

4/23/01   Cheri L              0.60   Verify and proofread facsimile of notice of commencement (.3);
          Johnson                     verify and proofread facsimile of notice of filing adversary
                                      complaint (.3).

4/24/01   David M              1.00   Revising internal project list (.1); conduct team meeting (.9).
          Bernick, P.C.

4/24/01   Mark E               0.30   Participate in conference call.
          Grummer

4/24/01   Timothy S            0.20   Participate in status conference calls.
          Hardy

4/24/01   Daryl L Joseffer     0.50   Team conference call.
4/24/01   James W Kapp         2.30   Review various pleadings and correspondence (.5); attend status
                                      conference re outstanding issues (1.8).

4/24/01   Sarah R              1.00   Participate in team conference.
          Marmor

4/24/01   Scott A              1.60   Prepare for and participate in strategy meeting.
          McMillin

4/24/01   Douglas G            2.00   Prepare for and attend team meeting.
          Smith

4/24/01   Christopher B        0.30   Team meeting re agenda, status and strategy.
          Sullivan

4/24/01   Kellye L Fabian      2.80   Conference call to discuss projects going forward and status of
                                      current projects.
4/24/01   Deanna D Boll        0.70   Participate in asbestos litigation teleconference.

                                                   A-19
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 46 of 188




Date      Name              Hours     Description
4/24/01   Raquel Carrillo     9.50    Telephone conference with R. Finke re request for complete
                                      copy of Barbanti brief (.3); review recent correspondence and
                                      pleadings and update file with same (1.0); pull Baranti brief and
                                      forward to T. Hardy and K. Fabian (.1); telephone conference
                                      with R. Finke's office re facsimile of brief (.2); review and
                                      organize case pleadings and documents pertaining to Grace
                                      Vermiculite/Asbestos Air Monitoring, general correspondence
                                      matters and Libby common exhibits (7.0); internal K&e
                                      telephone conference re adversary matters and documents to be
                                      forward to litigation case file (.9).

4/24/01   Brigitte F          6.60    Review and compare most recent R. 2002 service list against
          Windley                     requests for service of documents (1.9); review online adversary
                                      docket and download pleadings from same (1.3); identify and
                                      download pleadings from Raytech case (.9); internal K&E
                                      telephone conferences and telephone conferences with D.
                                      Carickhoff re adversary service list (.2); attend to matters re
                                      adversary service list (.6); review and categorize various central
                                      file documents received from attorneys in preparation for central
                                      file updating by project assistant (1.7).

4/24/01   Sabrina M           1.50    Work on updating index for requests for notices.
          Mitchell

4/25/01   David M             0.50    Conference with the Commercial Committee re preliminary
          Bernick, P.C.               injunction proceedings.

4/25/01   David M             0.50    Conference with Mitch Carlin re relief from Merrill Lynch.
          Bernick, P.C.

4/25/01   David M             0.50    Conference with D. Siegel re preliminary injunction scope.
          Bernick, P.C.
4/25/01   Kathy E Sorce       1.00    Compilation of documents and preparation of memorandum.

4/25/01   Raquel Carrillo     7.60    Review and organize case documents pertaining to client's
                                      government reviews from EPA, OSHA, CPSC and NIOSH
                                      (5.0); update file index with same (2.6).




                                                  A-20
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 47 of 188




Date      Name              Hours     Description
4/25/01   Brigitte F          3.00    Office conferences re revisions to graphic work on corporate
          Windley                     charts (.4); download additional pleadings from Raytech case
                                      and prepare same for distribution to attorneys (1.1); office
                                      conference with project assistant re updating central case files
                                      (.2); work on identifying and downloading documents from
                                      adversary matter for inclusion into central files (.8); review and
                                      categorize case documents received from attorneys in
                                      preparation for central file updating by project assistant (.5).

4/26/01   Samuel A            5.00    Research and analysis related to preparation for the May 7
          Schwartz                    presentation to management and meetings re same.

4/26/01   Kathy E Sorce       2.50    Searches and compilation of documents and presentations.

4/26/01   Raquel Carrillo     7.60    Review and organize recent Barbanti pleading and update file
                                      and file index with same (1.0); review and organize case
                                      documents pertaining to past history cases BC/BS, State Farm
                                      Insurance, Finstad, Greenville, State of Dakota and
                                      media/articles/documents related to asbestos (3.0); internal K&E
                                      telephone conference re Partial Objection of Paul Price pleading
                                      in Chakarian matter and telephone conference with Price's
                                      counsel to request Price's Motion for Relief of Stay and
                                      Memorandum filed in Zonolite matter (1.0); pull Zonolite, Price,
                                      Hunter, Linholm and Walsh matters for S. McMillin review (.6);
                                      review recent pleadings re Abner and Chakarian received from
                                      B. Windley (2.0).




                                                   A-21
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 48 of 188




Date      Name            Hours       Description
4/26/01   Brigitte F        7.00      Telephone and office conferences with M. Harris re revisions to
          Windley                     Visio corporate chart for 1998 (.4); review and compare Visio
                                      corporate charts to identify differences re entities and structure
                                      (2.2); telephone conference with M. Sprinkle re availability of
                                      additional chart for period between significant sales (.3); office
                                      conference re same (.2); review and compare current R. 2002
                                      service list with new requests for service of papers (.9); prepare
                                      email to local counsel re same (.4); review online docket to
                                      identify any recent objections (.4); telephone conferences re
                                      adversary dockets (.4); identify and collate adversarial matter
                                      documents for transmittal to R. Carrillo (.8); review and
                                      categorize case documents received from attorneys in
                                      preparation for central file update (1).

4/27/01   Samuel A          3.70      Research for and preparation of the May 7 presentation to
          Schwartz                    management and meetings re same.

4/27/01   Kathy E Sorce     1.00      Compilation of documents.

4/27/01   Brigitte F        5.80      Analyze corporate structure prior to and following Fresenius and
          Windley                     Sealed Air transactions (2.1); work on creation of Visio
                                      corporate charts mapping out same (1.9); respond to telephone
                                      calls from interested parties re receipt of notices of
                                      commencement (.8); telephone conferences re receipt of notice
                                      re lease rejection (.3); telephone conference with client personnel
                                      re same (.1); internal K&E telephone conferences re same (.2);
                                      telephone conference with E. Deboom re request for pleadings
                                      (.1); prepare facsimile of pleadings for transmittal to E. Deboom
                                      (.3).

4/30/01   James W Kapp      0.20      Review various pleadings and correspondence.

4/30/01   Samuel A          4.30      Research and preparation for the May 7 presentation to
          Schwartz                    management.
4/30/01   Kathy E Sorce     0.50      Compilation of slides for attorney review.




                                                  A-22
                  Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 49 of 188




Date      Name              Hours     Description
4/30/01   Raquel Carrillo     6.00    Review correspondence from Riddell Williams re review of
                                      Chakarian matter and information needed regarding their client
                                      (.8); follow-up telephone conference with Riddell Williams to
                                      advise them to contact local counsel (.2); review and organize
                                      recent correspondence, facsimiles and hearing transcript re
                                      Chapter 11 matter (.5); review and organize Abner and
                                      Chakarian documents received from B. Windley (1.0); review
                                      memo from J. Baer and organize certificates of service and
                                      pleadings related to the Chapter 11 attached to same (2.0);
                                      update file inde (1.5).

4/30/01   Brigitte F          2.80    Review and categorize case documents received from attorneys.
          Windley

5/09/01   Roger J Higgins     0.40    Attend Internal K & E meeting re status of case.




                                                  A-23
                 Case 01-01139-AMC       Doc 775-4       Filed 08/02/01        Page 50 of 188




                  Matter 21 - Claim Estimate, Objection and Resolution - Fees


Date      Name              Hours      Description
4/02/01   Andrew R             2.10    Review and analysis of Grace's NIOSH submission re attic fill
          Running                      (.8); review and analysis of Barbanti expert testimony re attic fill
                                       (1.3).

4/09/01   Grant R              2.50    Legal research re asbestos causation issues.
          Cornehls

4/10/01   Andrew R             1.70    Literature review and analysis re potential challenges to
          Running                      adequacy of claimants' evidence of pleural plaque injury.

4/10/01   Samuel A             1.80    Drafting of the pending claims and litigation settlement
          Schwartz                     procedures motion.

4/10/01   Grant R              1.00    Research and draft memorandum re asbestos causation issues.
          Cornehls

4/10/01   Roger J Higgins      1.50    Legal research on whether postpetition interest accrues on
                                       prepetition judgment in state court.
4/11/01   Andrew R             3.50    Analyze expert testimony and background documentation on
          Running                      Grace's asbestos personal injury claims.

4/11/01   Grant R              5.00    Draft memorandum re asbestos causation issues.
          Cornehls

4/12/01   Andrew R             1.20    Review legal research summary re Daubert challenges to
          Running                      asbestos claims.

4/12/01   Grant R              4.00    Draft memorandum re asbestos causation issues.
          Cornehls

4/16/01   Andrew R             4.20    Analyze literature and expert testimony provided by D.
          Running                      Kuchinsky re potential challenges to non-malignant asbestos
                                       personal injury claims.

4/16/01   Grant R              0.80    Research and draft memorandum re unimpaired claimants.
          Cornehls
4/17/01   Grant R              4.50    Research and draft memorandum re unimpaired claims.
          Cornehls


                                                    A-24
                 Case 01-01139-AMC           Doc 775-4      Filed 08/02/01       Page 51 of 188




Date      Name                Hours       Description
4/30/01   Andrew R            2.10     Attend to matters re asbestos bodily injury screening criteria.
          Running
                 Matter 22 - Contested Matters/Adversary Proceedings - Fees


Date      Name                Hours       Description

4/02/01   Mark E                 1.00     Legal research re transfer of venue in Libby matter.
          Grummer

4/02/01   Timothy S              2.50     Review book on Turner and Newall asbestos history.
          Hardy

4/02/01   Sarah R                2.00     Review and annotate Libby, MT history documents.
          Marmor

4/02/01   Grant R                5.80     Legal research re asbestos causation issues.
          Cornehls
4/02/01   Janet Baer             0.50     Attend to matters re injunction matters (.2); attend to matters re
                                          Canadian injunction matters and Sealed Air (.3).

4/03/01   David M                1.80     Internal meeting re preparation of brief on venue (1.5);
          Bernick, P.C.                   conference with Siegel re venue issue (.3).

4/03/01   Timothy S              2.50     Review books with asbestos state of art history.
          Hardy

4/03/01   Sarah R                2.50     Participate in telephone conference re case (.5); conference with
          Marmor                          K&E team members re projects to be completed (1.0); review
                                          pleadings and correspondence (1.0).

4/03/01   Reed S Oslan           3.00     Work on transfer issues (2.0); telephone conferences re same
                                          (1.0).

4/03/01   Andrew R               5.20     Internal K&E meeting to discuss first day hearing and to outline
          Running                         points to be made in venue brief requested by Judge Newsome
                                          (.8); internal K&E conferences re legal research assignments re
                                          same (.3); legal research and analysis re Delaware citizen's right
                                          to Delaware venue and related venue issues (3.4); telephone
                                          conference re Sealed Air's answer deadline (.3); internal
                                          conferences re factual investigation for venue brief (.4).


                                                      A-25
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 52 of 188




Date      Name              Hours    Description
4/03/01   Kellye L Fabian     7.80   Research venue and change of venue in bankruptcy courts (5.0);
                                     research personal injury claims brought in Montana against
                                     Grace (1.5); attend to matters re brief on proper venue (1.3).

4/03/01   Samuel A            1.10   Attention to various venue issues and meetings re same.
          Schwartz

4/03/01   Grant R             3.70   Legal research re asbestos causation issues.
          Cornehls

4/03/01   Raquel Carrillo     2.00   Attend group meeting to discuss factual background of the case
                                     and issues relevant to venue (.5); attend to matters re gathering
                                     all pleadings and correspondence and organize and create
                                     database for same (1.5).

4/03/01   Janet Baer          3.30   Conference with local counsel re results of first day hearings and
                                     TRO (.2); internal K&E conference re same (.2); review and
                                     respond to correspondences from counsel re status of first days,
                                     injunction, litigation suits and related matters (.5); internal K&E
                                     conferences re results of first day hearings, injunction and related
                                     matters (.3); numerous calls with S. Ahem, D. Tay and others re
                                     litigation issues (.5); internal K&E conferences re various
                                     litigation issues and Canadian matters (.3); attend various matters
                                     re Sealed Air Removal action and venue motion (.3);
                                     conferences with various parties re TRO, notice, scope and
                                     status (1.0).

4/04/01   David M             0.30   Internal K&E conference re venue brief.
          Bernick, P.C.
4/04/01   Mark E              1.80   Conference call with D. Bernick to Grace team re organizational
          Grummer                    issues, concurrently continue legal research.

4/04/01   Timothy S           2.50   Telephone conference with K&E team re Grace status (.5);
          Hardy                      review additional historical textbooks re asbestos knowledge
                                     (2.0).

4/04/01   Reed S Oslan        4.00   Attention to bankruptcy/litigation matters (2.0); telephone
                                     conferences re same (2.0).




                                                 A-26
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01       Page 53 of 188




Date      Name              Hours    Description
4/04/01   Andrew R            6.50   Analyze Grace's real property list and top creditor list in
          Running                    preparation for drafting venue brief (.6); internal K&E meeting to
                                     discuss results of venue legal research (.5); analyze additional
                                     cases and articles re venue motion (2.1); draft outline of venue
                                     brief (3.6); internal K&E telephone conference re revisions to the
                                     outline (.3); draft correspondence to D. Siegel forwarding the
                                     venue outline (.3).

4/04/01   Christopher B       2.30   Research facts in support of venue motion (1.0); review/edit
          Sullivan                   outline for venue motion (1.0);telephone conferences with J.
                                     Hughes re information of liquidated claims for U.S. Trustee (.3).

4/04/01   Kellye L Fabian     4.30   Research venue and change of venue.

4/04/01   Kellye L Fabian     0.70   Internal K&E telephone conference to discuss change of venue
                                     research.

4/04/01   Kellye L Fabian     1.80   Write memorandum re legal research on change of venue.

4/04/01   Kellye L Fabian     1.80   Attend to matters re venue motion and strategy going forward.
4/04/01   Samuel A            4.20   Attendance of meeting re venue strategy (.7); review and analysis
          Schwartz                   of various venue decisions, motions and responses in the district
                                     of Delaware (3.2); review of memo re same (.3).

4/04/01   Grant R             2.00   Legal research re asbestos causation issues.
          Cornehls

4/04/01   Janet Baer          2.50   Attend to various matters re TRO, notice and related matters
                                     (.5); conference with R. Bieber re New Jersey property damage
                                     case re Collateral Estoppel issues (.3); review Canadian
                                     injunction order (.2); internal K&E conference re R. Bieber NJ
                                     suit issues (.2); internal K&E conference (1.3).

4/05/01   Timothy S           2.50   Edit state of art memoranda with textbook information (1.5);
          Hardy                      draft to do list for D. Roarke (APRC) (1.0).

4/05/01   Sarah R             3.50   Review correspondence and pleadings (1.5); participate in
          Marmor                     telephone conference re various issues and projects (1.0);
                                     conference with team members re same (1.0).




                                                 A-27
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 54 of 188




Date      Name            Hours      Description
4/05/01   Reed S Oslan      4.00     Telephone conference re status, strategy (.5); work on California
                                     issues (2.0); meetings re case strategy, status (1.5).

4/05/01   Andrew R          8.30     Continue legal research re venue issues (2.0); continue factual
          Running                    investigation re venue issues (1.2); draft venue brief (5.1).

4/05/01   Christopher B     2.60     Factual research in support of venue motion (1.6); draft first
          Sullivan                   weekly task outline (1.0).

4/05/01   Janet Baer        2.20     Attend to matters re TRO notice issues (1.5); confer with A.
                                     Aisley (Sealed Air) re notice of entry on TRO (.5); conference
                                     with Fresenias re notice matters (.2).

4/06/01   David M           0.50     Conference with Siegel re strategic issues.
          Bernick, P.C.

4/06/01   Timothy S         2.10     Review additional state of art and Grace documents.
          Hardy
4/06/01   James W Kapp      0.50     Address issues re preliminary injunction.

4/06/01   Sarah R           2.20     Organize materials re Libby (.2); review project list and internal
          Marmor                     K&E conference re same (2.0).

4/06/01   Andrew R          4.90     Complete first draft of venue brief (3.2); review and respond to
          Running                    correspondence from D. Siegel and W. Sparks re same (1.1);
                                     internal K&E telephone conference re status of venue brief (.1);
                                     telephone conference with S. Case, counsel for Chase, and T.
                                     Maher of Chase re venue issues (.4); telephone conference with
                                     L. Davis Jones re Judge Farnan's acceptance of the case (.1).

4/06/01   Christopher B     2.00     Research and internal K&E conference in support of selection of
          Sullivan                   venue motion (2.0).

4/06/01   L Mark Wine,      0.20     Review asbestos history.
          P.C.

4/06/01   Janet Baer        1.60     Internal K&E conference re TRO notice, venue transfer and
                                     related matters (.3); conference with T. Behnke re service issues
                                     (.5); conference with D. Tay re outcome of Canadian hearing
                                     and ongoing issues (.3); review and organize case files re
                                     litigation matters (.5).


                                                 A-28
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 55 of 188




Date      Name            Hours      Description
4/07/01   Timothy S         1.50     Edit State of Art outlines (.5); review historical review of
          Hardy                      asbestos risks (.7); internal K&E telephone conference re same
                                     (.3).

4/08/01   David M           0.50     Revisions to venue brief.
          Bernick, P.C.

4/09/01   Theodore L        2.00     Research and review of cases on putative damages.
          Freedman

4/09/01   Timothy S         0.80     Edit state of art memoranda.
          Hardy

4/09/01   Sarah R           8.50     Internal K&E conference re drafting motion to intervene and
          Marmor                     transfer Massachusetts case (.3); review and compare
                                     complaints in Massachusetts and California cases (3.2);
                                     conference with legal assistant and local counsel re gathering
                                     additional materials for same (1.0); begin basic research re issues
                                     for brief (4.0).

4/09/01   Reed S Oslan      2.00     Work on litigation issues.
4/09/01   Andrew R          1.20     Begin revising venue brief to incorporate comments of J.
          Running                    Sprayregen and D. Bernick (1.1); telephone conversation with L.
                                     Davis Jones re decision to withdraw order requiring filing of a
                                     venue brief (.1).

4/09/01   Andrew R          0.60     Telephone conference with S. Jordan, counsel for Garlock
          Running                    Industries, re his proposal for transfer of asbestos claims against
                                     both Garlock and Grace to the Delaware court (.5); internal
                                     K&E telephone conference re same (.1).

4/09/01   Christopher B     1.80     Research medical criteria for establishment of impairment.
          Sullivan

4/09/01   Janet Baer        0.60     Internal K&E conference re various TRO issues (.2); conference
                                     with T. Behnke re TRO and related matters (.2); conference with
                                     Sealed Air counsel (A. Aisley) re TRO and hearing on injunction
                                     (.2).

4/10/01   Theodore L        1.00     Research and review of cases on putative damages.
          Freedman

                                                 A-29
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 56 of 188




Date      Name            Hours      Description
4/10/01   Timothy S         2.90     Compile and summarize documents re Grace vermiculite (a)
          Hardy                      exposure data and (b) government reviews.

4/10/01   Sarah R           7.50     Review prior motion to transfer (.5); legal research motion to
          Marmor                     intervene law (2.0); research re First Circuit precedent on
                                     various issues (3.0); review memorandum re asbestos state of
                                     the art; review Libby new articles re same (2.0)

4/10/01   Scott A           1.80     Review pleadings and correspondence (1.0); internal
          McMillin                   conferences and conference with co-counsel re motion to
                                     transfer and litigation strategy (.8).

4/10/01   Reed S Oslan      2.00     Work on litigation issues.

4/10/01   Christopher B     3.00     Legal research in support of motion to intervene (2.0); review
          Sullivan                   and summarize Lindblom transcript (1.0).

4/10/01   Janet Baer        3.80     Conference with R. Beiber re N.Y. State Interest issues (.3);
                                     internal K&E conference re research on State Interest Stay
                                     issues (.3); conference with S. Ahern re status of various
                                     contested matters (.2); review dockets and materials re
                                     injunction action re Building Materials Corp. (.5); conference
                                     with L. Jones re TRO extension (.2); review first day hearing
                                     transcript re trade creditors and TRO (.5); internal K&E
                                     conferences re research on interest issue (.5); internal K&E
                                     conference re TRO (.2); conference with C. Marraro re New
                                     Jersey matter and stay issues and retention issues (.6); prepare
                                     motion to extend TRO (.5).
4/11/01   Theodore L        1.50     Research and review of cases on putative damages.
          Freedman

4/11/01   Timothy S         1.30     Review newly collected old articles and add to outline (.9);
          Hardy                      internal telephone conference re NIOSH (.4).

4/11/01   Sarah R           9.50     Research intervention portion of motion (5.0); review additional
          Marmor                     background materials re same (3.5); internal K&E conference re
                                     same (.5); review legal research on cases re same (.5).




                                                 A-30
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 57 of 188




Date      Name              Hours    Description
4/11/01   Reed S Oslan        2.00   Study memo re status (.3); calls re litigation issues (.2); work on
                                     strategy re dealing with non-debtor, non-asbestos litigation (1.5).


4/11/01   James H             1.40   Attend to matters concerning strategy and tactics related to non
          Sprayregen                 asbestos litigation issues.

4/11/01   Janet Baer          2.00   Conference with A. Aisley re TRO Motion and Preliminary
                                     Injunction hearing (.2); revise draft TRO extension motion (.3);
                                     prepare draft order of extension re TRO (.5); prepare transmittal
                                     re TRO motion and confer with local counsel re same (.5);
                                     attend to matters re TRO (.2); numerous conferences with
                                     Sealed Air counsel re TRO (.3).

4/11/01   Roger J Higgins     0.50   Review litigation memorandum.

4/12/01   Theodore L          1.00   Research and review of cases on putative damages.
          Freedman

4/12/01   Theodore L          1.00   Conference on various litigation-related issues.
          Freedman
4/12/01   Timothy S           1.20   Review newly collected historical asbestos documents.
          Hardy

4/12/01   Sarah R             6.50   Review memorandum re Daubert (.5); participate in telephone
          Marmor                     conference (.5); continue working on brief re motion to intervene
                                     and transfer (5.0); conference with team members re same (.5).

4/12/01   Reed S Oslan        2.00   Consider impact of first day motions on various litigation matters.


4/12/01   Kellye L Fabian     1.00   Read Seattle Intelligencer series of reports on Libby litigation.

4/12/01   Raquel Carrillo     0.30   Forward case documents to S. Marmor re W.R. Grace
                                     Vermiculite/Asbestos Air Monitoring.

4/12/01   Janet Baer          2.30   Attend to matters re TIG v. Smolker case (1.6); conference with
                                     A. Isley re Sealed Air Canada and TRO issues (.3); confer with
                                     Freseneus counsel re TRO (.2); confer with local counsel re
                                     TRO (.2).



                                                  A-31
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01        Page 58 of 188




Date      Name              Hours    Description
4/13/01   David M             0.60   Preparation for and leading internal litigation team meeting.
          Bernick, P.C.

4/13/01   Theodore L          0.50   Conference on various litigation-related issues.
          Freedman

4/13/01   Theodore L          2.00   Research and review of cases on putative damages.
          Freedman

4/13/01   Mark E              1.40   Participate in conference call with asbestos teams while
          Grummer                    reviewing cases (1.4).

4/13/01   Timothy S           1.30   Conference call re projects.
          Hardy

4/13/01   Sarah R             6.50   Work on brief (1.0); review affidavits (1.0); continue research re
          Marmor                     intervention (2.0); fraudulent transfer and transfer of venue (2.5).
4/13/01   Scott A             0.30   Attend to matters re adversary proceeding.
          McMillin

4/13/01   Andrew R            1.60   Attend to matters re status status of litigation matters.
          Running

4/13/01   Raquel Carrillo     0.30   Review of recent correspondence and update file with same.

4/13/01   Janet Baer          2.20   Review correspondence re patent case in Florida for Grace
                                     Chemicals (.2); attend to matters re status of litigation matters
                                     and strategy (2.0).

4/15/01   Timothy S           1.20   Review more historical documents and add to state of art outline.
          Hardy

4/16/01   Theodore L          1.00   Research and review of cases on punitive damages.
          Freedman
4/16/01   Timothy S           0.80   Edit state of art outlines (.7); internal K&E telephone conference
          Hardy                      re same (.1).

4/16/01   Sarah R             7.50   Complete first draft of brief; revise same; conference with team
          Marmor                     members re same.




                                                  A-32
                 Case 01-01139-AMC      Doc 775-4       Filed 08/02/01       Page 59 of 188




Date      Name               Hours    Description
4/16/01   Scott A              0.80   Internal K&E conferences re adversary complaint and
          McMillin                    application for preliminary injunction (.5); review pleadings (.3).

4/16/01   Reed S Oslan         3.00   Study issues re pending Libby litigation matters(2.0); consider
                                      issues re Western Minerals (1.0).

4/16/01   Christopher B        1.00   Telephone calls with J. Hughes re shared insurance and
          Sullivan                    indemnity of asbestos liability issues (.5); review draft preliminary
                                      injunction affidavit from Sealed Air (.5).

4/16/01   L Mark Wine,         0.40   Review T. Hardy draft memorandum (.2); internal K&E
          P.C.                        conference with T. Hardy (.2).

4/16/01   Raquel Carrillo      0.50   Pull M. Baranti briefs and forward to T. Hardy at Washington
                                      office (.2); draft correspondence to T. Hardy re same (.3).

4/16/01   Janet Baer           2.90   Review draft agreement re Motor Wheel and draft Consent
                                      Decree (1.0); internal K&E conference re Motor Wheel (.3);
                                      confer with A. Aisley re injunction hearing (.3); confer with C.
                                      Sullivan re injunction hearing, insurance and indemnity (.2);
                                      confer with D. Rosenbloom re injunction hearing and related
                                      matters (.3); internal K&E conference re intervention action in
                                      Mass. case re Sealed Air (.3); prepare e-mail to D. Cleary and
                                      D. Siegel re same (.2); confer with various parties re stay and
                                      TRO (.3).
4/17/01   Theodore L           1.00   Research and review of cases on punitive damages.
          Freedman

4/17/01   Timothy S            2.50   Draft cover memorandum for state of art outlines and circulate
          Hardy                       both (2.0); review Barbanti briefs and additional state of art
                                      reviews (.5).

4/17/01   Daryl L Joseffer     0.20   Attend to matters re Daubert issue.

4/17/01   Sarah R              9.00   Internal K&E conference re changes to brief (.5); revisions re
          Marmor                      same (3.0); perform additional research re same (2.0); revise
                                      Siegel affidavit (1.5); review memoranda re fraudulent transfer
                                      (1.5); participate in internal K&E team conference re same (.5).




                                                   A-33
                 Case 01-01139-AMC      Doc 775-4        Filed 08/02/01           Page 60 of 188




Date      Name               Hours    Description
4/17/01   Reed S Oslan         3.00   Calls re environmental matters (.5); work on strategy re transfer
                                      of environmental matters (1.5); review draft of Boston brief
                                      (1.0).

4/17/01   Andrew R             0.50   Review draft motion to intervene in and transfer Massachusetts
          Running                     fraudulent conveyance action (.4); internal K&E conference re
                                      revisions to same (.1).

4/17/01   Andrew R             5.10   Continue review and analysis of literature and expert testimony
          Running                     on non-malignant asbestos personal injury claims.

4/17/01   Christopher B        1.00   Internal K&E meeting re excerpt of TRO order (.5); review
          Sullivan                    Barbanti pleadings for T. Hardy (.5).

4/17/01   Janet Baer           6.80   Attend to matters re service issues on Preliminary Injunction and
                                      Adversary Complaint (1.5); confer with K. Garsin (Sealed Air
                                      shareholder) re status of injunction and related issues (.4); attend
                                      meeting re Western Minerals case and attend to matters re same
                                      (1.5); prepare letter to C. Zink and service packages and confer
                                      with C. Zink re same (.7); confer with D. Carickhoff re service
                                      status hearing and litigation procedure and status (.5); review
                                      correspondence re Locke v. Bettacchi and confer with counsel
                                      re same (.7); review correspondence from Canadian counsel and
                                      prepare response re same (.3); review draft Sealed Air affidavit
                                      in support of injunction (.7); attend to issues re police power
                                      matters, stay and venue transfer re Montana action (.5).

4/18/01   Timothy S            2.30   Draft merits outline re attic insulation.
          Hardy
4/18/01   Daryl L Joseffer     0.40   Attend to matters re Daubert issue.

4/18/01   Sarah R              4.50   Work on brief for motion to intervene and transfer.
          Marmor

4/18/01   Scott A              0.80   Internal K&E conferences re notice issues and scope of
          McMillin                    preliminary injunction.

4/18/01   Reed S Oslan         1.70   Calls re Libby issues (.2); internal K&E conference re status
                                      (1.5).



                                                   A-34
                 Case 01-01139-AMC     Doc 775-4         Filed 08/02/01    Page 61 of 188




Date      Name            Hours      Description
4/18/01   Andrew R          4.30     Analyze expert testimony and literature with respect to potential
          Running                    screening criteria for non-malignant asbestos personal injury
                                     claims.

4/18/01   Christopher B     1.20     Review Louisiana case materials from J. Hughes re indemnity of
          Sullivan                   liability insurance (1.0); telephone call with J. Hughes re
                                     documents pertaining to indemnity issues (.2).

4/18/01   David A           2.00     Meet with M. Grummer re change of venue research and begin
          Codevilla                  research on possible change of venue approaches to transferring
                                     EPA Libby action to Delaware.

4/18/01   Janet Baer        6.00     Conference with C. Zink of R.R.Donnelley re service for
                                     injunction hearing (.8); confer with T. Behnke re same (.5);
                                     confer with local counsel re same (.4); confer with P. Sommers
                                     and J. Wilson re Bettacchi matter (.4); prepare memo re same
                                     (.5); confer with counsel for Merrill Lynch and First Boston re
                                     injunction and extending such injunction to those parties (.5);
                                     internal K&E conference re notice issues on injunction (1.5);
                                     confer with A. Aisley re hearing on Injunction and related issues
                                     (.3); confer with B. Porter re Smolker matter and Bankruptcy
                                     matters (.3); confer with T. Behnke re publication notice and full
                                     party notice (.5); prepare Notice of Hearing for mass creditor
                                     mailing (.3).

4/19/01   Timothy S         1.50     Review more historical state of art documents; edit merits outline.
          Hardy

4/19/01   Sarah R           7.00     Work on brief for motion to intervene and transfer (3.5); draft
          Marmor                     affidavit for same (2.5); search for support materials re same
                                     (1.0).
4/19/01   Reed S Oslan      0.50     Calls re litigation issues.

4/19/01   Andrew R          5.60     Continue review of expert testimony and case law on screening
          Running                    criteria for non-malignant asbestos personal injury claims (2.6);
                                     prepare preliminary outline re screening criteria for malignant and
                                     non-malignant claims (3.0).




                                                   A-35
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 62 of 188




Date      Name              Hours    Description
4/19/01   Janet Baer          3.30   Confer with A. Aisley re injunction hearing and related matters
                                     (.3); revise notice of hearing on injunction (.4); confer with local
                                     counsel re same and related creditor notice (.8); confer with C.
                                     Zink at R.R. Donnelley re service of complaint,hearing notice and
                                     related matters (.3); confer with W. Corcoran of Grace re
                                     publication of notice of hearing (.2); internal K&E conference re
                                     injunction issues for Merrill Lynch (.8); confer with T. Behnke to
                                     coordinate various notice matters (.5).

4/19/01   Roger J Higgins     5.30   Legal research on issues surrounding a potential change of venue
                                     in the Libby Montana case (4.8); internal K&E conference re
                                     same (.5).

4/20/01   Sarah R             5.00   Attend to matters re brief (3.0); review additional affidavits for
          Marmor                     possible use (2.0).

4/20/01   Reed S Oslan        3.00   Review intervention and transfer brief (.4); work on Libby issues
                                     (2.0); calls re same (.3); internal K&E conferences re venue
                                     issues (.3).

4/20/01   Christopher B       2.30   Telephone calls with J. Hughes (Grace) re indemnity and shared
          Sullivan                   insurance issues (.2); review draft file index (.1); internal K&E
                                     conference re draft file index (1.0); review outline of potential
                                     screening criteria for asbestos bodily injury claims (1.0).

4/20/01   Kellye L Fabian     5.00   Research class proofs of claim and class actions in bankruptcy
                                     context.
4/20/01   Janet Baer          4.10   Confer with C. Zink of R.R. Donnelley re mailing to counsel (.5);
                                     review amended notice re hearing (.2); attend to matters re
                                     Zhagrus document and status on litigation meeting (.3); review
                                     Zhagrus agreement (.8); confer with W. Corcoran (Grace) re
                                     publication notice on Injunction hearing (.3); review materials on
                                     Bettacchi matter (.8); attend to matters re Libby venue issues
                                     and Western Minerals motion (.3); attend to matters re
                                     publication notice re injunction hearing (.3); attend to matters re
                                     Libby and litigation strategy issues (.3); review intervention
                                     papers (.6).

4/20/01   Roger J Higgins     6.20   Legal research on potential transfer of venue in Libby, Montana
                                     case (5.9); internal K&E conference on matter (.3).

                                                  A-36
                 Case 01-01139-AMC      Doc 775-4       Filed 08/02/01        Page 63 of 188




Date      Name               Hours    Description
4/21/01   Timothy S            0.90   Review Libby History and Exposure Information (.3); add to
          Hardy                       Merits Outline (.6).

4/22/01   Scott A              0.50   Analyze issues re broadening scope of injunctive relief sought on
          McMillin                    behalf of third parties.

4/23/01   Timothy S            1.50   Edit merits outline.
          Hardy

4/23/01   Daryl L Joseffer     2.50   Attend to matters re substantial causal factor law.

4/23/01   James W Kapp         0.30   Attend to issues re preliminary injunction motion and telephone
                                      conference with outside counsel re same.

4/23/01   Gayle M              5.20   Cite check brief re Motion for Intervention and Transfer of
          Lodygowski                  Venue.
4/23/01   Sarah R             10.00   Attend to matters re brief and affidavit.
          Marmor

4/23/01   Scott A              3.00   Review motion to transfer (1.0); research and draft motion to
          McMillin                    add Merrill Lynch and Credit Suisse to adversary complaint
                                      (1.8); internal K&E conferences re same (.2).

4/23/01   Reed S Oslan         2.00   Conference call with client concerning Libby ongoing litigation
                                      matters.

4/23/01   Christopher B        2.20   Review claims filtering criteria outline (.3); calls with J. Hughes of
          Sullivan                    Grace re shared insurance/indemnity issues (.3); review
                                      Fresenius and Sealed Air indemnity provision (1.6).

4/23/01   Kellye L Fabian      5.00   Research claim forms and notice issues.

4/23/01   Grant R              0.50   Attend to matters re asbestos causation issues.
          Cornehls




                                                   A-37
                 Case 01-01139-AMC      Doc 775-4        Filed 08/02/01       Page 64 of 188




Date      Name               Hours    Description
4/23/01   Janet Baer           6.00   Review draft notice re Injunction (.3); confer with W. Corcoran
                                      several times re same (.4); internal K&E conferences re Libby
                                      matters (.3); confer with T. Behnke re service of injunction
                                      counsel (.5); confer with M. Karlin re injunction matters (.2);
                                      confer with D. Elkind re status of Abner case and related issues
                                      (.3); confer with P. Sommers re Betacchi matter (.3); prepare
                                      transmittal re injunction service (.3); revise Libby pleadings in
                                      preparation for meeting on transfer issues (.3); review Fresenius
                                      draft affidavit re injunction (.3); confer with J. Wisler (Maryland
                                      Casualty) re Louisiana actions (.3); conference with W.
                                      Corcoran re Libby action and stay issues (.5); confer with B.
                                      Porter re TIG v. Smolker removal matter (.3); internal K&E
                                      conference re Merrill Lynch motion (.3); internal conferences re
                                      notice issues (.3); review draft Western Minerals agreement (.4);
                                      review draft stipulation re Western Minerals agreement (.2);
                                      review M. Grummer's Libby memo (.4); internal conferences re
                                      notice to transfer (.1).

4/24/01   David M              1.50   Follow-up on preliminary injunction issues.
          Bernick, P.C.

4/24/01   Timothy S            3.90   Review Grace information brief (.4); edit and circulate merits
          Hardy                       outline (2.5); office conference with R. Bates re his asbestos
                                      consulting (1.0).

4/24/01   Daryl L Joseffer     3.50   Research burden-shifting issues re causation.

4/24/01   James W Kapp         0.40   Address issues re strategy pertaining to certain agreements.

4/24/01   Sarah R              4.00   Conference with local counsel re brief, filing (1.0); attend to
          Marmor                      matters re status (1.0); internal K&E conference re case projects
                                      (1.0); conference with Fresenius counsel for project re fraudulent
                                      conveyance strategy (1.0).
4/24/01   Scott A              0.60   Analyze issues re scope of injunctive relief and internal K&E
          McMillin                    conferences re same.

4/24/01   Reed S Oslan         1.50   Attention to various restructuring litigation issues.

4/24/01   Andrew R             4.80   Continue review and analysis of literature and expert testimony re
          Running                     asbestos bodily injury screening criteria.


                                                   A-38
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01        Page 65 of 188




Date      Name              Hours    Description
4/24/01   Andrew R            1.70   Attend to matters re status of litigation projects.
          Running

4/24/01   Christopher B       3.00   Telephone conferences with J. Hughes re insurance/indemnity
          Sullivan                   (.5); review merits analysis outline of personal and property
                                     injury claims (2.5).

4/24/01   Kellye L Fabian     5.60   Research bar date and notice issues (4.0); draft memorandum
                                     (1.6).

4/24/01   Janet Baer          0.50   Several discussions with Department of Justice on injunction and
                                     environmental actions.

4/24/01   Janet Baer          2.50   Confer with various counsel re stay issues, injunction hearing,
                                     strategy and status (.5); prepare letter to committees on other
                                     injunctive relief and review additional materials re same (1.5);
                                     internal K&E conference re extension of TRO, letter to creditors
                                     and objections to injunction request (.5).

4/24/01   Janet Baer          4.10   Review draft Motion re Merrill Lynch and First Boston (.3);
                                     internal K&E conference re status, and strategy on Bettacchi
                                     matter (.3); internal K&E conference re various outstanding
                                     matters including Western Minerals, Libby and Smolker (.5);
                                     internal K&E conference re Motorwheel consent decree (.2);
                                     further review same (.5); internal K&E conference re Western
                                     Minerals markup (.2); confer with A. Aisley re Washington
                                     action, removal issues and injunction hearing (.3); review
                                     Bankruptcy Code re removal (.3); attend litigation team meeting
                                     to discuss preliminary injunction and related matters (1.5).
4/25/01   Mark E              0.40   Attend to issues related to potential transfer of venue in Libby
          Grummer                    matter.

4/25/01   Timothy S           2.80   Edit State of Art Outlines (1.8); attend to matters re History and
          Hardy                      Estimate Models (1.0).

4/25/01   James W Kapp        0.80   Address issues pertaining to settlement agreements.

4/25/01   Sarah R             1.50   Attend to matters re preparation for TRO hearing (1.0); arrange
          Marmor                     telephone conference re same (.2); review documents re same
                                     (.3).


                                                  A-39
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 66 of 188




Date      Name            Hours      Description
4/25/01   Scott A           2.30     Research re motion to transfer venue (.5); internal K&E
          McMillin                   conferences re same (.5); analyze potential objections to
                                     injunctive relief (.3); analyze need to expand scope of injunctive
                                     relief, revise letter re same, and internal K&E conferences re
                                     same (1.0).

4/25/01   Reed S Oslan      3.00     Conference call with client re ongoing bankruptcy litigation
                                     matters.

4/25/01   Andrew R          2.90     Continue analysis of literature re asbestos bodily injury screening
          Running                    criteria.

4/25/01   Andrew R          2.50     Revise litigation project list (.7); internal K&E conferences re
          Running                    preliminary injunction briefing (.7); internal K&E conferences re
                                     allegedly settled claims (.3); review precedent files re protocol
                                     for disputing allegedly settled claims (.8).

4/25/01   Christopher B     1.70     Internal K&E conference re reply in support of preliminary
          Sullivan                   injunction (.3); calls with J. Hughes and G. Posner re shared
                                     insurance and indemnity issues (.4); internal K&E conferences re
                                     indemnity provision (.3); review revised project list (.7).

4/25/01   Janet Baer        4.70     Internal K&E conferences re letter to creditors on injunction (.5);
                                     internal K&E conference re Libby and TIG v. Smolker (.2);
                                     confer with clients re TIG/Smolker (.8); attend to matters re
                                     Western Minerals matter (.2); internal K&E conferences re letter
                                     to committees on injunction (.3); revise EPA letter (.2); revise
                                     and supplement committee letter on injunction (1.5); confer with
                                     R. Fink re pending indemnity and distributor actions (.2); internal
                                     K&E conferences re TIG/Smolker status and strategy for May 3
                                     hearing (.3); internal K&E conferences re injunction, Merrill
                                     Lynch concerns and strategy on client's affidavit (.2).
4/26/01   Timothy S         0.90     Draft memorandum re Next Steps; review historical articles.
          Hardy

4/26/01   Sarah R           3.00     Participate in telephone conference re reply to briefs opposing
          Marmor                     TRO (1.5); review documents to answer questions raised re
                                     fraudulent conveyance claims in same (1.0); draft memorandum
                                     re same (.5).


                                                 A-40
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 67 of 188




Date      Name              Hours    Description
4/26/01   Scott A             3.20   Review objections to preliminary injunction (2.0); prepare for
          McMillin                   and participate in internal K&E conference re strategy to
                                     respond to objections (1.2).

4/26/01   Andrew R            1.60   Review memoranda filed in opposition to Grace's preliminary
          Running                    injunction motion (1.3); internal K&E telephone conference re
                                     same (.3).

4/26/01   Christopher B       6.00   Conference call with G. Posner and J. Hughes re indemnity
          Sullivan                   obligations (.2); review of property committees opposition brief
                                     to entry of preliminary injunction (.3); internal K&E telephone
                                     conference re reply in support of preliminary injunction (.5); draft
                                     notice and motion for removal of California smaller case to
                                     Federal Court and legal research in support of same (5.0).

4/26/01   Kellye L Fabian     1.50   Conference call to discuss reply to preliminary injunction
                                     responses.

4/26/01   Kellye L Fabian     0.50   Attend to matters re reply to preliminary injunction responses.

4/26/01   Janet Baer          1.90   Internal K&E conference re removal and transfer on TIG v.
                                     Smolker matter (.3); review correspondence re letter to creditors
                                     re additional injunctive relief (.2); prepare transmittals to M.
                                     Karlin re requested information on injunction materials (.3);
                                     attend inernal K&E conference re responses to injunction
                                     request and strategy to proceed on matter (.8); review
                                     correspondence re objections on injunction (.3).
4/27/01   David M             2.00   Conferences with D. Siegel and E. Inselbuch re scope of
          Bernick, P.C.              preliminary injunction order (.5); meeting re preliminary injunction
                                     strategy (1.5).

4/27/01   Mark E              3.20   Attend to matters re Libby venue research.
          Grummer

4/27/01   Timothy S           0.80   Edit State of Art memorandum.
          Hardy

4/27/01   Sarah R             1.00   Review and annotate briefs opposing TRO.
          Marmor



                                                 A-41
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 68 of 188




Date      Name              Hours    Description
4/27/01   Scott A             4.70   Review and analyze objections to preliminary injunction (1.5);
          McMillin                   prepare for and participate in conference re reply brief in support
                                     of preliminary injunction (1.5); draft and revise opposition to
                                     Price's motion to shorten time and telephone conferences with
                                     local counsel re same (1.2); outline reply in support of
                                     preliminary injunction (.5).

4/27/01   Andrew R            5.80   Review additional objections to Grace's preliminary injunction
          Running                    motion (1.3); participate in internal K&E meeting to analyze
                                     preliminary injunction issues (1.0); internal K&E telephone
                                     conference re same (.8); draft outline of preliminary injunction
                                     reply brief (2.3); telephone conversations with local counsel re
                                     filing of objection to motion for expedited briefing (.4).

4/27/01   Christopher B       8.00   Review of Fresenius and Sealed Air Indemnity provision (1.5);
          Sullivan                   review complaints against Grace's primary insurers and the
                                     settlement agreements between insurers and Grace (.5); attend to
                                     matters re indemnity provisions (.3); calls with
                                     PriceWaterhouseCoopers and M. Shelnitz of Grace re same
                                     (.2); review list of divestures and insurance policies(.3); attend to
                                     matters re reply in support of motion for preliminary injunction
                                     (.7); edit and removal call with local California counsel re same
                                     (.3); edit removal papers for TIG case and prepare for filing of
                                     same (4.2).

4/27/01   Kellye L Fabian     7.50   Attend to matters re response to preliminary injunction
                                     objections (1.5); research standing for avoidance actions re
                                     fraudulent conveyance actions (3.0); research and write
                                     memorandum re avoidance actions (3.0).

4/27/01   Janet Baer          7.20   Confer with W. Sparks re Office Warehouse issues (1.0); confer
                                     with M. Karlin re injunction matters (.3); several internal K&E
                                     conferences re objections on injunction matters (.6); review draft
                                     removal papers re Smolker and confer with B. Porter re same
                                     and related issues (.6); review various objections to injunction
                                     matter (.2); confer with K&E litigation team re same, status and
                                     strategy (2.); review notes re same (.5); confer with client re
                                     proof of claim data base (.2).



                                                  A-42
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 69 of 188




Date      Name              Hours    Description
4/28/01   Timothy S           1.80   Review 1970 WHO asbestos book.
          Hardy

4/28/01   Kellye L Fabian     2.00   Draft memorandum re avoidance actions.

4/29/01   David M             0.50   Drafting reply brief on injunction issues.
          Bernick, P.C.

4/29/01   Scott A             6.50   Research and draft reply brief in support of preliminary injunction
          McMillin                   (5.6); internal K&E conferences re same (.9).

4/29/01   Andrew R            0.70   Internal K&E conference re drafting of preliminary injunction
          Running                    reply brief (.2); review same (.5).

4/29/01   Christopher B       4.00   Prepare exhibits for Siegel supplemental declaration in support of
          Sullivan                   preliminary injunction (2.0); draft Siegal declaration (2.0).
4/29/01   David A             1.00   Draft factual portion of Libby transfer of venue motion.
          Codevilla

4/29/01   Janet Baer          3.90   Prepare amended preliminary injunction order and revise same
                                     (1.1); prepare memo re service on injunction and organize
                                     documents re same (1.5); review draft omnibus reply on
                                     injunction (.5); review memo on standing re avoidance actions
                                     (.2); review property damage committee objection (.3); review
                                     memo on stay (.3).

4/30/01   David M             1.50   Revisions to preliminary injunction papers.
          Bernick, P.C.

4/30/01   Mark E              1.30   Research re venue transfer provisions in 28 U.S.C. (.5); further
          Grummer                    venue research and internal K&E office conference re facts
                                     related to venue at Libby Montana site (.8).

4/30/01   James W Kapp        0.90   Review materials in preparation for litigation strategy meeting
                                     (.2); attend to issues re objections to preliminary injunction
                                     motion (.3); Review preliminary informational brief of Zonolite
                                     class action plaintiffs (.4).

4/30/01   Sarah R             1.50   Attend to matters re TRO and fraudulent conveyance issues.
          Marmor



                                                  A-43
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 70 of 188




Date      Name            Hours      Description
4/30/01   Scott A           6.60     Revise reply brief in support of preliminary injunction and internal
          McMillin                   K&E conferences re same (3.5); revise draft order granting
                                     injunctive relief (.7); revise supplemental Siegel declaration (.6);
                                     review opposition to motion to transfer Abner case (.6); review
                                     and revise agenda letter (.4); draft Siegel direct examination
                                     outline (.8).

4/30/01   Reed S Oslan      2.00     Conference call with client concerning ongoing litigation mattes.

4/30/01   Andrew R          1.60     Review draft reply brief in support of preliminary injunction (.4);
          Running                    internal K&E conference re same (.5); review and comment on
                                     revised preliminary injunction order, Siegel affidavit and Siegel
                                     direct examination outline (.7).

4/30/01   Christopher B     9.00     Draft/edit Siegel supplemental affidavit in support of preliminary
          Sullivan                   injunction (2.0); calls with counsel for CNA re consent to
                                     disclose settlement agreement (.5); prepare exhibits to Siegel
                                     declaration (1.0); review/edit proposed outline of Siegel
                                     testimony (1.0); review/edit reply brief (1.5); review/edit
                                     proposed amended order (.5); internal K&E conferences re
                                     indemnity obligations with respect to licensees, officers and
                                     directors, primary insurers and investment banks (2.5).

4/30/01   David A           2.50     Factual research on Libby venue motion (2.5).
          Codevilla

4/30/01   Janet Baer        0.40     Confer with D. Tripp re Motor Wheel Consent Decree and
                                     related issues.




                                                 A-44
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 71 of 188




Date      Name           Hours       Description
4/30/01   Janet Baer       6.20      Review correspondence re litigation issues and respond to same
                                     (.4); internal K&E conferences re Omnibus Reply on injunction
                                     (.5); review draft supplemental affidavit re indemnities (.5);
                                     internal K&E conferences re Merrill Lynch and CSFB indemnity
                                     (.3); review revised draft omnibus reply (.5); internal K&E
                                     conferences re indemnity issues (.5); internal K&E conferences
                                     re injunction, reply, affidavit, agenda letter and related matters
                                     (1.0); confer with W. Sparks (Grace) re Sealed Air Canada and
                                     related issues (.2); attention to all aspects of preparation of
                                     Omnibus Reply, Affidavit and draft Order re injunction (1.7);
                                     prepare letter to J. Wisler re Maryland confidentiality, review his
                                     letter and confer re same (.6).




                                                 A-45
                 Case 01-01139-AMC        Doc 775-4       Filed 08/02/01      Page 72 of 188




                       Matter 23 - Corporate and Securities Matters - Fees


Date      Name               Hours      Description
4/02/01   David M               0.50    Participation in Board Meeting.
          Bernick, P.C.

4/02/01   James H               1.50    Prepare for and participate in board meeting.
          Sprayregen

4/03/01   Andrew R              1.10    Telephone conversations with G. Walpin re his client's claim for
          Running                       defense costs for SEC investigation (.3); telephone conversation
                                        with R. Burrick re same (.4); write e-mail message to D. Siegel
                                        re same (.3); internal K&E conference re procedure necessary
                                        to obtain court approval for post-petition SEC defense costs
                                        (.1).

4/03/01   Martin C Attea        1.00    Draft memorandum regarding changes to the receivables facility
                                        due to bankruptcy.

4/04/01   Martin C Attea        2.00    Draft and revise memorandum regarding effect of bankruptcy
                                        filing on receivables facility.

4/05/01   Andrew R              1.10    Review correspondence from D. Siegel re the client's decision
          Running                       with respect to SEC defense costs incurred by former directors
                                        and officers (.1); telephone conversation with L. Zwerfach,
                                        counsel for R. Sukenik, re same (.2); telephone conversation
                                        with R. Josin, counsel for P. Ryan, re same (.3); telephone
                                        conversation with G. Walpin, counsel for J. Baldus, re same (.3);
                                        write e-mail to D. Siegel reporting on conversations with defense
                                        counsel (.2).
4/05/01   Martin C Attea        1.00    Draft, revise and distribute memorandum re bankruptcy issues
                                        and receivables facility.

4/06/01   Kenneth P             0.50    Attend to matters concerning receivables facility.
          Morrison

4/06/01   Andrew R              0.30    Telephone conversation with R. Burrick, counsel for P. Ryan, re
          Running                       SEC defense cost issue.

4/17/01   Samuel A              0.60    Review of the Grace 10-K for the year 2000.
          Schwartz


                                                    A-46
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 73 of 188




Date      Name             Hours     Description
4/24/01   Martin C Attea     0.80    Review Wachovia spreadsheet regarding payoff of the
                                     receivables facility.

4/25/01   Martin C Attea     1.50    Review Wachovia spreadsheet regarding payoff of the
                                     receivables facility.

4/26/01   Kenneth P          1.50    Attend to matters concerning receivables facility.
          Morrison




                                                 A-47
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 74 of 188




                          Matter 24 - Creditors Committee - Fees


Date      Name            Hours      Description
4/03/01   David M            0.50    Conference with Siegel re committee formation.
          Bernick, P.C.

4/06/01   James W Kapp       0.50    Prepare correspondence to D. Siegel of Grace re issues
                                     pertaining to formation of creditors' committee.

4/10/01   James W Kapp       0.80    Telephone conference with L. Kruger re first day filing (.2);
                                     prepare materials for Committee formation meeting (.6).

4/10/01   James H            1.60    Preparation for 20 largest creditors committee formation meeting
          Sprayregen                 (.6); strategy and tactics related to same (1.0).

4/11/01   James W Kapp       1.10    Telephone conferences with creditors counsel re formation of
                                     creditors' committees (.1); telephone conference with D. Siegel
                                     re committee formation issues (1.0).

4/11/01   James H            1.00    Preparation for 20 largest creditors committee formation meeting
          Sprayregen                 (.5); strategy and tactics related to same (.5).
4/12/01   David M            6.00    Attending meetings in Delaware concerning committee formation.
          Bernick, P.C.

4/12/01   James W Kapp       7.60    Attend creditors' committee formation meeting and attend to
                                     issues re same and prepare for same.

4/12/01   James H            1.20    Conference with D. Siegel (.6); consideration of strategy and
          Sprayregen                 tactics related to 20 largest creditor formation issues (.6).

4/12/01   James H            5.30    Prepare for and attend 20 largest creditors formation meeting.
          Sprayregen

4/13/01   James W Kapp       3.60    Address issues re creditors formation meeting and prepare
                                     memorandum re same (1.0); address issues with Creditors'
                                     committee and telephone conferences with L. Kruger re same
                                     and D. Siegel re same (2.6).

4/13/01   James H            1.10    Attention to strategy and tactics related to results of committee
          Sprayregen                 formation issues.
4/13/01   Samuel A           0.60    Conferences with the client re the creditors' committee.
          Schwartz

                                                 A-48
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 75 of 188




Date      Name              Hours    Description
4/16/01   James W Kapp        3.10   Telephone conferences with R. Raskin and L. Kruger re first day
                                     pleadings and attend to issues re same and telephone conference
                                     with D. Siegel re same (2.0); telephone conference with creditors
                                     re bankruptcy cases and other issues (1.1).

4/16/01   Roger J Higgins     0.40   Telephone conference with Jay Hughes concerning members of
                                     various committees (.3); e-mail to Jay Hughes concerning same
                                     (.1).

4/17/01   James W Kapp        0.50   Telephone conference with A. Krieger re creditors' committee's
                                     comments to certain first day pleadings.

4/18/01   James W Kapp        0.60   Telephone conference with A. Krieger re comments to certain
                                     first day orders.

4/18/01   Roger J Higgins     1.00   Attend to legal representation for members of various
                                     committees appointed by the U.S. Trustee (.8); telephone
                                     conference with Jay Hughes of Grace re same (.2).

4/20/01   James W Kapp        2.30   Telephone conference with R. Raskin and A. Krieger re
                                     comments to first day pleadings and address issues re same and
                                     telephone conference with P. Zilly re same.
4/23/01   James W Kapp        4.10   Review and revise first day orders to incorporate Committee
                                     comments and telephone conference with D. Siegel and R.
                                     Raskin re same and attend to issues re first day orders (3.8);
                                     telephone conference with M. Zaleski of personal injury
                                     committee (.3).

4/24/01   James W Kapp        0.40   Telephone conference with R. Raskin re preliminary injunction
                                     presentation and address issues re same.

4/25/01   James W Kapp        1.30   Telephone conference with T. Delbrugge re payment of foreign
                                     creditors (.3); telephone conference with Creditors Committee
                                     revarious issues pertaining to first day motions (1.0).

4/25/01   Roger J Higgins     0.50   Attend to representatives of official creditors' committees.

4/28/01   James W Kapp        0.20   Review and revise memorandum re composition of various
                                     committees.




                                                 A-49
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01     Page 76 of 188




Date      Name           Hours       Description
4/30/01   James W Kapp     0.50      Review correspondence from U.S. Trustee re appointment of
                                     creditors' committee and telephone conference with D. Siegel re
                                     same.




                                                 A-50
                 Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 77 of 188




                     Matter 25 - Creditors/Shareholders Inquiries - Fees


Date      Name             Hours      Description
4/04/01   James W Kapp        0.70    Telephone conference with K. McCarthy of Bank America re
                                      issues pertaining to first day filings and TRO.

4/04/01   Samuel A            2.10    Telephone conferences with various creditors and their attorneys
          Schwartz                    re the wage, and cash management orders, informational brief
                                      and injunction.

4/05/01   James W Kapp        1.20    Telephone conferences with various creditors re bankruptcy filing
                                      and attend to issues re same (.6); telephone conference with M.
                                      Shelnitz and S. Ahern re issues pertaining to customer programs
                                      and continuation of same (.6).

4/05/01   Samuel A            1.30    Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases, the wages order, the cash management
                                      order and the essential trade order.

4/06/01   James W Kapp        2.50    Telephone conference with creditors re various questions
                                      pertaining to bankruptcy filing and address issues re same and
                                      telephone conference with M. Shelnitz re same.

4/06/01   Samuel A            1.80    Telephone conferences with various creditors and professionals
          Schwartz                    re the filing of the cases and the status of the bankruptcy.
4/09/01   James W Kapp        4.00    Telephone conference with creditors re status of bankruptcy
                                      cases and payment of prepetition claims and attend to issues re
                                      same.

4/09/01   Samuel A            0.90    Telephone conferences with various creditors re the status of the
          Schwartz                    cases.

4/10/01   James W Kapp        2.20    Attend to issues re claim of particular creditor and telephone
                                      conference with B. McGowan re same and telephone conference
                                      with J. Thompson re same (1.1); telephone conferences with
                                      creditors re status of bankruptcy filing (1.1).

4/12/01   James W Kapp        4.00    Telephone conferences with various creditors re status of
                                      bankruptcy cases and individual claims and attend to issues re
                                      same.



                                                  A-51
                  Case 01-01139-AMC     Doc 775-4      Filed 08/02/01       Page 78 of 188




Date      Name            Hours       Description
4/12/01   Samuel A          1.30      Telephone conferences with various creditors re the status of the
          Schwartz                    cases.

4/12/01   Brigitte F        1.30      Respond to telephone inquiries re bankruptcy filing.
          Windley

4/12/01   Janet Baer        0.20      Attend to matters re Zhagrus.

4/13/01   James W Kapp      1.40      Telephone conference with various creditors re status of
                                      bankruptcy cases.

4/13/01   Samuel A          1.00      Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases and the first day motions.

4/16/01   Samuel A          1.10      Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases.
4/17/01   James W Kapp      0.80      Telephone conferences with various creditors re bankruptcy
                                      filing.

4/17/01   Samuel A          1.80      Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases.

4/18/01   James W Kapp      0.60      Telephone conferences with various creditors re bankruptcy
                                      filing, particular motions and general status.

4/18/01   Samuel A          2.10      Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases and the first day motions.

4/19/01   James W Kapp      1.30      Telephone conferences with various creditors re status of
                                      bankruptcy cases.

4/19/01   Samuel A          1.10      Telephone conferences with various creditors and attorneys re
          Schwartz                    the status of the cases and the first day motions.
4/20/01   James W Kapp      0.40      Telephone conference with M. Shelnitz re creditor inquiries and
                                      attend to issues re same.

4/23/01   Samuel A          1.70      Telephone conferences with various creditors, attorneys and the
          Schwartz                    department of justice re the first day motions (1.3); and
                                      telephone conferences with the client re same (.4).

4/27/01   James W Kapp      0.20      Attend to issues re PQ Corporation.


                                                  A-52
                  Case 01-01139-AMC     Doc 775-4      Filed 08/02/01       Page 79 of 188




Date      Name              Hours     Description
4/27/01   Samuel A            1.40    Telephone conferences with various creditors and the client re
          Schwartz                    the status of the cases and the notice of commencement of the
                                      cases.

4/30/01   Samuel A            2.30    Conferences with the client and various attorneys and creditors
          Schwartz                    re the first day motions and orders, the notice of commencement
                                      of the cases and the status of the cases.

4/30/01   Brigitte F          1.20    Respond to telephone calls from interested parties re receipt of
          Windley                     notices of commencement.

4/30/01   Roger J Higgins     2.00    Answer telephone queries from recipients of notice of
                                      commencement of chapter 11 bankruptcy cases.




                                                  A-53
                 Case 01-01139-AMC        Doc 775-4       Filed 08/02/01      Page 80 of 188




                        Matter 26 - DIP Financing/Cash Collateral - Fees


Date      Name              Hours       Description
4/02/01   Theodore L           4.50     Various matters related to DIP financing.
          Freedman

4/02/01   Lena Mandel          3.50     Telephone conferences with various parties re closing items for
                                        the DIP Agreement (3.0); telephone conferences with M.
                                        Hunter, Northern Trusts's counsel and T. Freedman re
                                        assignment of the bank's interest (.5).

4/02/01   Nathanael F          2.00     Prepare various UCC charts and related DIP financing reports.
          Meyers

4/03/01   Andrew M             0.30     Attend to matters re DIP loan.
          Kaufman

4/03/01   Lena Mandel          2.00     Attend to matters re hearing and preparation to closing (1.0);
                                        telephone conferences with Latham re same (.5); conferences
                                        with N. Meyers re UCC searches (.5).

4/03/01   Nathanael F          8.80     Prepare, review and organize various UCC searches and Good
          Meyers                        Standing certificates.
4/03/01   Daniel B Baglio      9.50     Review, organize and prepare Good Standing certificates (4.5);
                                        review, prepare and organize UCC and Lien search results (5.0).


4/04/01   James W Kapp         0.30     Address issues re drafting of final DIP order.

4/04/01   Andrew M             0.30     Attend to matters re DIP orders and pre-petition lenders.
          Kaufman

4/04/01   Lena Mandel          2.30     Telephone conferences with various parties re closing items
                                        (1.0); telephone conference with D. Bacon re Final Order (.3);
                                        conference with N. Meyers re setting up procedures for
                                        professional fee submissions (.3); attend to matters re
                                        pre-petition lenders (.4); attend to matters re ordinary course
                                        payments (.3).

4/04/01   Nathanael F          9.30     Draft Notice list of UCCs (2.0); prepare and send same to R.
          Meyers                        Higgins and Pachulski (.5); review and revise UCC search tables
                                        (6.8).

                                                    A-54
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 81 of 188




Date      Name              Hours    Description
4/04/01   Laura-Jayne         3.30   Meeting with N. Meyers re UCC/lien project (.3); review of
          Urso                       UCCs and input into master logs (3.0).

4/04/01   Daniel B Baglio    13.70   Review, prepare and organize Good Standing certificates (5.5);
                                     review prepare and organize UCC and Lien search reports
                                     (8.2).

4/05/01   James W Kapp        0.30   Attend to issues re final DIP order.

4/05/01   Lena Mandel         2.00   Telephone conferences with D. Bacon, J. Sprayragen and T.
                                     Freedman regarding final order procedures (.8); review
                                     proposed draft of same and telephone conference with D. Bacon
                                     regarding same (.4); telephone conferences with local counsel
                                     regarding certified copy of interim order (.3); telephone
                                     conferences with J. Moran and client regarding closing checklist
                                     (.5).

4/05/01   Nathanael F         1.50   Review and revise UCC logs.
          Meyers

4/05/01   Laura-Jayne         5.00   Meeting with N. Meyers (1.0); input UCC search results to
          Urso                       master logs (2.5); fix logs (1.5).
4/05/01   Christopher J       2.80   Organize and assemble multiple documents (.2); multiple copies,
          Valeri                     copycheck for accuracy (.2); in-house distribution of documents
                                     (.3); review placement of documents in multiple folders; review
                                     multiple UCC financing statements (1.1); input results into
                                     existing log report (1.0).

4/05/01   Daniel B Baglio     7.00   Review, prepare and organize Good Standing certificates (1.5);
                                     review, prepare, and organize UCC and Lien search reports
                                     (5.5).

4/06/01   Theodore L          1.50   Various issues related to DIP financing.
          Freedman

4/06/01   James W Kapp        0.60   Attend to issues re Final DIP order and notice issues re same.

4/06/01   Lena Mandel         2.00   Telephone conferences with various parties re closing.

4/06/01   Nathanael F         4.50   Review and revise Lien Holder Service List (1.5); review and
          Meyers                     revise UCC logs (3.0).


                                                 A-55
                  Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 82 of 188




Date      Name              Hours     Description
4/06/01   Laura-Jayne         5.50    Enter in UCC/lien reports (3.0); proof and correct UCC logs
          Urso                        previously entered (2.0); internal K&E meeting re same (.5).

4/06/01   Christopher J       3.00    Organize and assemble multiple documents (.2); multiple copies,
          Valeri                      copycheck for accuracy (.3); in-house distribution of documents
                                      (.5); review placement of documents in multiple folders (.1);
                                      review multiple UCC financing statements (.4); input results into
                                      existing log report (1.5).

4/06/01   Daniel B Baglio     7.50    Review, prepare and organize UCC and Lien search reports.

4/09/01   James W Kapp        0.30    Attend to issues re Final DIP Order.

4/09/01   Nathanael F         1.00    Review and revise service list of Lien Holders (.8); distribute
          Meyers                      same to R. Higgins and Pachulski Stang (.2).

4/09/01   Christopher J       3.00    Organize and assemble multiple documents (.2); multiple copies,
          Valeri                      copycheck for accuracy (.3); in-house distribution of documents
                                      (.5); review placement of documents in multiple folders (.1);
                                      review multiple UCC financing statements (.4); input and update
                                      data into report log (1.5).
4/09/01   Daniel B Baglio     1.00    Review, prepare and organize UCC and Lien search reports.

4/10/01   Nathanael F         2.00    Review and revise UCC logs.
          Meyers

4/10/01   Christopher J       2.50    Organize and assemble multiple documents (.2); multiple copies,
          Valeri                      copycheck for accuracy (.3); in-house distribution of documents
                                      (.5); review placement of documents in multiple folders (.1);
                                      review multiple UCC financing statements (1.4).

4/10/01   Melissa Piliere     7.00    Incorporate UCC search results into charts for W.R. Grace &
                                      Company and entities.

4/10/01   Daniel B Baglio     4.30    Review and edit list of states for which UCC and lien searches
                                      have been conducted (1.0); review, and organize UCC searches
                                      (1.0); input UCC and lien searches into charts (2.3).

4/11/01   Nathanael F         0.50    Review and revise UCC logs and participate internal K&E
          Meyers                      meetings concerning same.



                                                  A-56
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 83 of 188




Date      Name              Hours    Description
4/11/01   Laura-Jayne         7.60   Internal K&E meeting re UCC and lien reports (.3); input UCC
          Urso                       and lien reports to master logs (1.3); revise logs (2.0);
                                     coordinate case assistants to assist inputting reports and
                                     participate in internal K&E meetings concerning same (2.5); file
                                     reports (1.5).

4/11/01   Tanya R             2.50   Prepare UCC charts (2.2); insert documents into folders (.3).
          Fawcett

4/11/01   Daniel B Baglio     4.50   Review, prepare and organize UCC and lien search results.

4/12/01   Lena Mandel         0.60   Telephone conferences with various parties re closing items.

4/12/01   Nathanael F         3.50   Review and revise Lien Holder Service List (1.5); review and
          Meyers                     revise UCC logs (2.0).

4/12/01   Christopher J       2.80   Organize and assemble multiple documents (.2); multiple copies,
          Valeri                     copycheck for accuracy (.3); in-house distribution of documents
                                     (.5); review placement of documents in multiple folders (.1);
                                     update UCC log report; review multiple UFF financing
                                     statements (1.7).
4/12/01   Daniel B Baglio     5.20   Review and prepare and organize UCC and lien searches (4.2);
                                     review and organize good standing certificates (1.0).

4/13/01   Lena Mandel         0.50   Telephone conferences with various parties re closing issues.

4/13/01   Nathanael F         2.00   Review and revise UCC charts.
          Meyers

4/13/01   Christopher J       3.30   Organize and assemble multiple documents (.3); multiple copies,
          Valeri                     copycheck for accuracy (.2); in-house distribution of documents
                                     (.5); review placement of documents in multiple folders (.3);
                                     review multiple UCC financing statements (1.0); update UCC
                                     log report (1.0).

4/13/01   Daniel B Baglio     6.50   Review, prepare and organize UCC and lien search results (4.0);
                                     review and organize good standing certificates (2.5).

4/16/01   James W Kapp        2.70   Attend to issues re extension of Interim DIP Order and
                                     telephone conferences with D. Bacon re same (2.5); telephone
                                     conference with N. Lazar re Final DIP Order (.2).


                                                 A-57
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01       Page 84 of 188




Date      Name              Hours    Description
4/16/01   Lena Mandel         1.30   Attend to matters re extending the interim order (.9); telephone
                                     conference with M. Hunter re closing items (.4).

4/16/01   Nathanael F         1.40   Review and revise UCC charts.
          Meyers

4/16/01   Christopher J       4.50   Organize and assemble multiple documents; multiple copies,
          Valeri                     copycheck for accuracy (2.0); in-house distribution of
                                     documents (1.5); review placement of documents in multiple
                                     folders (.2); update UCC report log (.3); review multiple UCC
                                     financing statements (.5).

4/16/01   Daniel B Baglio     2.50   Review and organize UCC and lien search results.

4/17/01   James W Kapp        0.30   Attend to issues re second interim DIP Order.

4/17/01   Lena Mandel         1.80   Attention to extension of interim order (1.0); telephone
                                     conferences with various parties and attend to matters re closing
                                     items (.8).
4/17/01   Nathanael F         7.70   Review and revise lien holder service list (2.0); review and revise
          Meyers                     UCC Charts (5.7).

4/17/01   Christopher J       5.00   Organize and assemble multiple documents (.3); multiple copies,
          Valeri                     copycheck for accuracy (.2); in-house distribution of documents
                                     (.5); review placement of documents in multiple folders (.5);
                                     internal K&E office conference re: assignment (.5); review
                                     multiple UCC financing statements (2.0); update UCC report log
                                     (1.0).

4/17/01   Daniel B Baglio     0.50   Review and edit list of states in which client's subsidiaries are in
                                     good standing.

4/18/01   Nathanael F         3.30   Review and revise UCC charts.
          Meyers

4/18/01   Christopher J       5.50   Organize and assemble multiple documents (.5); multiple copies,
          Valeri                     copycheck for accuracy (.3); in-house distribution of documents
                                     (.5); review placement of documents in multiple folders (.2);
                                     review multiple UCC financing statements (2.0); update UCC
                                     log report (2.0).



                                                  A-58
                  Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 85 of 188




Date      Name              Hours     Description
4/18/01   Daniel B Baglio     1.80    Review, prepare and organize UCC and lien search results.

4/19/01   James W Kapp        0.30    Attend to issues re DIP order.

4/19/01   Lena Mandel         0.80    Telephone conference with R. Raskin re DIP and Financing
                                      Orders.

4/19/01   Nathanael F         1.10    Internal K&E meetings re status of UCCs (.3); review and revise
          Meyers                      logs of same (.8).

4/19/01   Christopher J       6.50    Organize and assemble multiple documents (3.5); multiple
          Valeri                      copies, copycheck for accuracy (1.0); in-house distribution of
                                      documents (1.5); review placement of documents in multiple
                                      folders (.5).

4/19/01   Daniel B Baglio     2.00    Review and organize UCC and lien search results and internal
                                      K&E meetings on same (1.6); review and organize good
                                      standing certificates (.4)
4/20/01   Lena Mandel         0.40    Telephone conference with M. Hunter re permissibility of certain
                                      guarantees under the DIP agreement.

4/20/01   Nathanael F         2.80    Review and revise UCC lists.
          Meyers

4/20/01   Christopher J       8.00    Organize and assemble multiple documents (3.0); multiple
          Valeri                      copies, copycheck for accuracy(.2); in-house distribution of
                                      documents (1.0); review placement of documents in multiple
                                      folders (.3); update UCC log report (2.5); review multiple UCC
                                      financing statements (1.0).

4/20/01   Melissa Piliere     4.00    File reports of Good Standing into correct folders for W.R.
                                      Grace & Co. entities.

4/20/01   Daniel B Baglio     2.00    Review and organize UCC and lien search results.

4/23/01   Lena Mandel         2.10    Conference call with client and Bank of America re UCC chart
                                      and other closing items (1.1); telephone conferences with Latham
                                      and committee counsel re Final Order (.5); review Dept. of
                                      Justice letter re same and telephone conference with D. Bacon re
                                      same (.5).



                                                  A-59
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 86 of 188




Date      Name              Hours    Description
4/23/01   Nathanael F         2.80   Prepare and send out UCC logs (1.0); conference call re same
          Meyers                     (.8); review and revise logs (1.0).

4/23/01   Daniel B Baglio     3.00   Review and prepare UCC reports.

4/24/01   Lena Mandel         2.20   Attend to matters re Final Order (1.0); telephone conference
                                     with various parties re closing items (.9); telephone conference
                                     with A. Tanenbaum from Dept. of Justice re Final Order (.3).

4/24/01   Nathanael F         4.00   Review and revise UCC logs.
          Meyers

4/24/01   Daniel B Baglio     3.20   Review and prepare UCC reports.

4/25/01   James W Kapp        0.50   Address issues pertaining to Final DIP Order and Property
                                     Committee's objection to same.
4/25/01   Lena Mandel         1.00   Review objection to Final Order by asbestos committee (.5);
                                     telephone conferences with D. Bacon and asbestos committee
                                     counsel re same and other Final Order issues (.5).

4/25/01   Nathanael F         1.70   Review and revise UCC charts.
          Meyers

4/25/01   Daniel B Baglio     4.70   Review and prepare UCC reports.

4/26/01   James W Kapp        3.00   Review objections to Final DIP Order and attend to issues re
                                     same.

4/26/01   Lena Mandel         6.00   Review objections to DIP Motion (1.0); telephone conferences
                                     with client, Blackstone and objectors' counsel re same (1.5);
                                     telephone conferences with M. More and D. Bacon re final
                                     order (.5); review new draft of same (.5); legal research re
                                     response to Credit Lyonnais' objection (2.5).

4/26/01   Nathanael F         2.70   Review and revise list of lien holders (1.0); review and revise
          Meyers                     UCC logs (1.7).
4/26/01   Daniel B Baglio     7.00   Review and prepare UCC reports.

4/26/01   Roger J Higgins     0.50   Telephone conference with M. Bleiweiss concerning various
                                     DIP-related documents (.3); obtain DIP documents requested
                                     by M. Bleiweiss (.3).


                                                 A-60
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01      Page 87 of 188




Date      Name              Hours    Description
4/27/01   James W Kapp        4.20   Address objections to DIP Order and attend to issues re same
                                     and review and revise response to objections.

4/27/01   Lena Mandel         8.00   Telephone conferences M. Hunter re Credit Lyonnais (1.0);
                                     e-mails to and from various parties re same (.6); legal research re
                                     same (2.0); draft response to same (4.0); telephone conference
                                     with D. Bacon re final order (.4).

4/27/01   Nathanael F         0.20   Distribute lien holder list.
          Meyers

4/27/01   Christopher J       3.80   Organize and assemble multiple documents (.5); multiple copies,
          Valeri                     copycheck for accuracy (.1); in-house distribution of documents
                                     (1.0); review placement of documents in multiple folders (.2);
                                     review multiple UCC financing statements (1.0); update UCC
                                     report log (1.0).

4/27/01   Daniel B Baglio     4.00   Review and prepare UCC reports.

4/28/01   James W Kapp        2.20   Telephone conference with representatives of Company and P.
                                     Zilly to develop response to objections to Final DIP and review
                                     materials re same and review and revise response re same and
                                     telephone conference with R. Raskin re same (2.0); review First
                                     Union correspondence re cash management and DIP and
                                     telephone conference with M. Hunter re same (.2).
4/28/01   Lena Mandel         3.00   Review financial information prepared by client (.5); conference
                                     call with client and other K&E lawyers re response to Credit
                                     Lyonnais (.9); revise and distribute same (1.6).

4/30/01   James W Kapp        3.60   Address issues re response to Credit Lyonnais objection and
                                     review and revise same and telephone conference with M.
                                     Shelnitz re same.

4/30/01   Lena Mandel         8.50   Draft response to Credit Lyonnais' objection (4.5); telephone
                                     conferences with client re each version (2.5); draft affidavit of B.
                                     Tarola in support of response (1.5).

4/30/01   Nathanael F         0.30   Attend to matters re status of UCCs.
          Meyers



                                                  A-61
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 88 of 188




Date      Name            Hours      Description
4/30/01   Andrew R          0.90     Review Credit Lyonnais objection to the DIP motion (.3); review
          Running                    first draft of Grace's response memorandum and affidavit (.6).

4/30/01   James H           0.70     Attention to resolution of the DIP objection and preparation for
          Sprayregen                 hearing re same.

4/30/01   Christopher J     3.00     Organize and assemble multiple documents (.5); multiple copies,
          Valeri                     copycheck for accuracy (.2); in-house distribution of documents
                                     (.3); review placement of documents in multiple folders (.1);
                                     review multiple UCC financing statements (1.0); update UCC
                                     report log (.9).




                                                 A-62
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 89 of 188




                            Matter 27 - Employee Matters - Fees


Date      Name              Hours    Description
4/13/01   James W Kapp        0.30   Attend to issue re particular employee's agreement and
                                     constructive discharge clauses (.2); telephone conference with F.
                                     Zaremby re employee programs (.1).

4/13/01   Roger J Higgins     2.00   Legal research on terms of various executive employment
                                     contracts (1.5); draft memorandum on same (.5).

4/20/01   James W Kapp        1.60   Review Committee's correspondence re benefit programs and
                                     attend to issues re same and telephone conference with D. Siegel
                                     and J. Forgach re same.

4/20/01   Roger J Higgins     2.00   Legal research on matters pertaining to A. Krieger letter of April
                                     19, 2001 (1.3); draft letter to A. Krieger (.1); coordinate
                                     compilation of materials with J. Forgach (.6).

4/23/01   James W Kapp        1.40   Telephone conference with J. Forgach and B. McGowan re
                                     Creditor Committee's request to suspend payments under certain
                                     employee programs and address issues re same.

4/23/01   Roger J Higgins     2.50   Participate in telephone conference with B. McGowan, J.
                                     Forgach re employee-related documentation (1.0); telephone
                                     conference with M. Zaleski, attorney for the committee of
                                     asbestos personal injury plaintiffs (.8); gather materials for M.
                                     Zaleski (.7).
4/24/01   James W Kapp        3.50   Review and revise letter to A. Krieger re employee programs
                                     and attend to issues re same (2.9); review correspondence for
                                     A. Krieger and respond to issues re same (.6).




                                                  A-63
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 90 of 188




Date      Name              Hours    Description
4/24/01   Roger J Higgins     5.50   Discuss with J. Forgach issues relating to the Rabbi Trust
                                     program (.8); legal research on same (.7); organize telephone
                                     conference between attorneys for the Unsecured Creditors'
                                     Committee and company representatives (1.0); legal research on
                                     information requested by Asbestos Personal Injury Committee
                                     (1.0); telephone conference with M. Zaleski of Ashby Geddes re
                                     same (.3); telephone conference with J. Forgach re same (.6);
                                     telephone conference with D. Carickhoff on procedures
                                     concerning extension of timeframe for motion to reconsider the
                                     Order related to certain employee wages and benefits (.3); legal
                                     research on same (.8).

4/25/01   James W Kapp        0.80   Review correspondence to Wachovia Bank as administrator of
                                     certain employee plans (.2); telephone conference with R. Raskin
                                     and A. Krieger re employee benefit plans and attend to issues re
                                     same (.6).

4/25/01   Roger J Higgins    10.00   Draft letter to A. Krieger, Creditors' Committee, on various
                                     issues relating to the motion and order relating to employee
                                     wages and salaries and attend to matters re same (7.5); legal
                                     research on issues pertaining to letter to A. Krieger (1.0);
                                     telephone conferences with J. Forgach on matters relating to the
                                     letter (1.5).

4/26/01   James W Kapp        1.20   Attend to issues re Creditors Committee's requests as to benefit
                                     programs and Injury Committee's requests re same.

4/26/01   Roger J Higgins     5.80   Legal research on motion to reconsider Wages and Benefits
                                     Order (4.0); telephone conference with D. Carickhoff on same
                                     (.2); telephone conference with A. Krieger and company
                                     representatives re wage and benefits programs (1.3); telephone
                                     conference with J. Forgach on follow-up to conference call (.3).




                                                 A-64
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01     Page 91 of 188




Date      Name              Hours    Description
4/27/01   Roger J Higgins     4.30   Telephone conference with A. Krieger and company
                                     representative re issues related to wages and benefits programs
                                     (1.3); telephone conferences with J. Forgach, B. McGowan and
                                     D. Siegel on obtaining documentation in support of the Key
                                     Employee Retention Programs (1.2); legal research on motion to
                                     reconsider Wages and Benefits Order (.5); review and comment
                                     on documentation supporting Key Employee Retention Programs
                                     (1.3).




                                                A-65
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 92 of 188




                         Matter 28 - Environmental Issues - Fees


Date      Name           Hours       Description
4/02/01   Mark E            2.70     Attend to matters concerning environmental matters re Western
          Grummer                    Minerals.

4/02/01   David A           3.00     Attend to matters re environmental obligations at non-owned
          Codevilla                  facilities.

4/03/01   Mark E            0.30     Legal research re ability of government to issue environmental
          Grummer                    cleanup order to debtor.

4/03/01   Mark E            6.60     Legal research re status and dischargability of various types of
          Grummer                    environmental claims (1.8); T/C team members re Libby and
                                     Western Minerals claims status in light of bankruptcy filing (.8);
                                     prepare email to team re handling of various superfund sites (.2);
                                     exchange various emails with team (.1); review and edit
                                     non-owned sites table (.8); draft summary of Hatco site status
                                     (.8); review M. Obradovic draft agenda for 4/4 conference call
                                     on environmental matters and prepare for same (.4); internal
                                     K&E conference call to go over agenda and prepare for 4/4
                                     conference call with Grace environmental representatives (1.0);
                                     internal K&E conference re new project to prepare summaries
                                     of non-owned sites and begin drafting summaries (.7).

4/03/01   David A           4.50     Review correspondence re filing of bankruptcy petition,
          Codevilla                  Remedium, and W. Corcoran expectations (1.0); revise detail
                                     chart of environmental obligations at non-owned sites and add
                                     information re additional Remedium sites (3.0); participate in
                                     K&E internal telephone conference re same (.5).

4/03/01   Janet Baer        2.50     Internal K&E conference re environmental issues and potential
                                     client call re same (.2); internal K&E conference regarding client
                                     agenda on environmental issues and review agenda and court
                                     motions that may affect same (1.0); internal K&E conference re
                                     preparation for meeting on environmental issues (1.3).
4/04/01   Mark E            0.60     Research re whether Chapter 11 petition triggers requirements
          Grummer                    under various environmental regulations re underground tanks
                                     and RCRA facilities.



                                                 A-66
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 93 of 188




Date      Name           Hours       Description
4/04/01   Mark E           2.60      Legal research on case law re ability of agency to issue
          Grummer                    environmental cleanup orders to debtor and other legal research
                                     (.8); conference calls with various K&E attorneys re ongoing
                                     environmental issues (.2); review correspondence containing
                                     revised agenda for conference call (.2); prepare for and
                                     participate in conference call with Remedium and other Grace
                                     environmental representatives and K&E attorneys re various
                                     environmental issues raised by filing of Chapter 11 petition (1.2);
                                     attend to matters re research re whether Chapter 11 petition
                                     triggers New Jersey ISRA requirements (.2).

4/04/01   David A          4.30      Participate in conference call with W. Corcoran and Remedium
          Codevilla                  re actions to be taken at Remedium sites with vendors and
                                     general post-petition approach to environmental obligations (.3);
                                     participate in general asbestos bankruptcies conference call (.5);
                                     continue preparation of detailed Remedium and other Grace
                                     legacy sites chart (1.5); research on application of New Jersey
                                     Industrial Site Recovery Act to Grace properties (2.0).

4/04/01   Janet Baer       2.80      Review order to pay trade creditors and confer with K&E
                                     attorneys and company representatives, B. Forehand and T.
                                     Delbrugge re same and impact on environmental issues (.7);
                                     prepare internal K&E correspondence re essential trade orders
                                     and impact (.3); attend to matters re environmental issues (1.8).

4/05/01   Mark E           0.20      Review correspondence from L. Duff re assignments resulting
          Grummer                    from 4/4 conference call.

4/05/01   Janet Baer       1.80      Participate in two teleconferences with various Grace employees
                                     re Libby site, NJ case and professional related issues.

4/06/01   Mark E           0.20      Exchange voice messages with team re various environmental
          Grummer                    issues (.1); internal K&E telephone conference re treatment of
                                     contribution claim by Grace against co-liable party at superfund
                                     site (.1).
4/06/01   Janet Baer       0.50      Attend to issues re Chattanooga waste disposal matter and other
                                     ongoing environmental issues.

4/09/01   James W Kapp     0.40      Attend to issues re particular contracts pertaining to waste
                                     storage.

                                                 A-67
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01      Page 94 of 188




Date      Name              Hours    Description
4/09/01   Janet Baer          2.50   Attend to matters and review materials re professional retentions
                                     in environmental matters (.4); prepare correspondence to S.
                                     Ahern re same (.2); review Zhagrus Environmental contracts and
                                     attend to issues pertaining thereto (1.4); confer with D. Tripp and
                                     W. Ito re Goodyear Consent Decree and appeal (.5).

4/10/01   David A             2.80   Continue preparation of detailed environmental chart for Grace
          Codevilla                  non-owned sites.

4/10/01   Janet Baer          1.50   Draft correspondence to W. Corcoran re Zhagrus (.3); review
                                     Zhagrus invoices and summarize same (.5); conference with C.
                                     Marraro re lifting stay on ICO/Honeywell action (.2); confer with
                                     W. Corcoran re Zhagrus matter (.3); preparation for and
                                     conference with with Zhagrus counsel (.4).

4/11/01   Mark E              2.50   Review collection of news stories (.2); read Libby EPA cost
          Grummer                    recovery complaint (.3); review Western Minerals proposed
                                     Settlement Agreement with EPA and prepare email to team re
                                     concerns with same (2.0).

4/11/01   Janet Baer          1.40   Attend to various issues re Zhagrus matter (1.1);confer with
                                     Zhagrus counsel re same (.3).

4/12/01   Mark E              1.10   Exchange emails with team re various environmental issues (.3);
          Grummer                    internal K&E telephone conference re Western Minerals and
                                     Libby (.3); telephone conference with D. Cleary re Western
                                     Minerals settlement agreement issues (.5).
4/13/01   Mark E              0.10   Exchange emails with team re various environmental issues.
          Grummer

4/13/01   Janet Baer          0.80   Review memo re Western Minerals matters and draft agreement.


4/16/01   Janet Baer          0.20   Confer with R. Seigel re Zhagrus matters.

4/17/01   Mark E              1.30   Attend to issues related to Western Minerals draft settlement
          Grummer                    agreement with EPA.

4/17/01   J Chad Mitchell     0.80   Discussions with client and Wallace King re outstanding invoices;
                                     draft letter to Goodyear re payment.



                                                 A-68
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01       Page 95 of 188




Date      Name              Hours    Description
4/18/01   J Chad Mitchell     0.20   Demand letter to Goodyear.

4/18/01   Janet Baer          0.30   Attend to issues of research and strategy for Western Minerals
                                     matter.

4/19/01   Mark E              0.30   Email from and telephone conference with D. Cleary re Western
          Grummer                    Minerals (.2); collect research materials (.1).

4/24/01   Mark E              0.30   Internal K&E telephone conference re Western Minerals (.1);
          Grummer                    review Western Mineral draft agreement (.2).

4/24/01   David A             2.00   Continue drafting/revision of Grace detail chart of environmental
          Codevilla                  obligations at non-owned sites.

4/25/01   Mark E              4.40   Revise Western Minerals draft settlement agreement (3.8);
          Grummer                    attend to re Zhagrus contract claim and settlement proposal (.3);
                                     receive and review materials re same (.2); review emails from
                                     team (.1).
4/25/01   David A             0.90   Internal K&E conference re Libby motions,
          Codevilla                  Chattanooga/Zhagrus settlement (.5); review draft Zhagrus
                                     settlement and correspondence (.4).

4/25/01   Janet Baer          1.30   Attend to issues related to Zhagrus matter (.8). attend to issues
                                     re Western Minerals and correspond with Department of Justice
                                     re same (.5).

4/26/01   Mark E              3.90   Review Zhagrus draft settlement agreement, contract, and related
          Grummer                    materials (.9); various emails (.1); internal K&E telephone
                                     conference re Libby motions (.2); internal K&E telephone
                                     conference re Zhagrus (.2); review briefs and research materials
                                     re Libby motion issues (.5); internal K&E conference re Zhagrus
                                     and Libby issues (.6); research re venue issues (.8); further
                                     review of Zhagrus materials (.2); internal K&E conference re
                                     Zhagrus settlement agreement issues and Libby venue research
                                     (.4).

4/26/01   David A             5.80   Internal K&E conferences and legal research re Zhagrus
          Codevilla                  settlement agreement and Libby venue motion draft (3.8); legal
                                     research on 28 USC 1412 cases cited in California transfer of
                                     venue brief (2.0).


                                                 A-69
                 Case 01-01139-AMC     Doc 775-4      Filed 08/02/01      Page 96 of 188




Date      Name           Hours       Description
4/26/01   Janet Baer       0.40      Internal K&E conferences re Libby matters and Zhagrus
                                     agreement.

4/27/01   Mark E           2.40      Research re 28 USC §1412 venue change authority (1.9); attend
          Grummer                    to issues concerning Tarkowski decision re EPA's administrative
                                     order authority (.5).

4/27/01   David A          3.30      Redraft Zhagrus settlement agreement (3.0); internal K&E
          Codevilla                  conference re same (.3).

4/27/01   Janet Baer       0.90      Review memo on Western Minerals (.2); review draft revisions
                                     to EPA Agreement for neighborhood cleanup (.4); make further
                                     revisions to same and internal K&E conference re same (.3).

4/29/01   David A          0.80      Review Libby access case file and EPA memoranda.
          Codevilla

4/30/01   Mark E           1.20      Internal K&E office conferences and attend to matters re
          Grummer                    Zhagrus settlement agreement status (.6); review Western
                                     Minerals site cleanup plan description (.6).
4/30/01   David A          2.00      Revise Zhagrus settlement agreement.
          Codevilla

4/30/01   Janet Baer       0.90      Review revised Western Minerals Agreement (.5); prepare
                                     transmittal re same (.2); prepare transmittal re same (.2).




                                                 A-70
                  Case 01-01139-AMC        Doc 775-4        Filed 08/02/01        Page 97 of 188




                       Matter 29 - File, Docket, Calendar Maintenance - Fees


Date      Name                Hours      Description
4/02/01   Christopher B          1.00    Organize client materials received re due diligence.
          Sullivan

4/02/01   Raquel Carrillo        0.30    Attend to matters re organization of case documents and creation
                                         of database.

4/09/01   Brigitte F             0.40    Telephone conferences with Calendar Court Services re request
          Windley                        to obtain dockets from certain bankruptcy and adversary filings
                                         (.2); download and print docket and cross-reference materials
                                         received from client and local counsel (.2).

4/09/01   Sabrina M              8.00    Download and print documents from the court's website for
          Mitchell                       inclusion in the docket binder.

4/10/01   Sabrina M              4.70    Prepare and file new documents into binders after updating
          Mitchell                       central file index.

4/11/01   Brigitte F             2.60    Cross-reference materials received from client and local counsel
          Windley                        with on-line docket (2.1); teleconferences with Calendar/Court
                                         Services re request for dockets (.2); respond to request for
                                         central file documents (.3).
4/12/01   Brigitte F             3.50    Review central case files for lease document and subsidiary
          Windley                        information (.7); internal K&E telephone conference re same
                                         (.2); instruct project assistant re central file updating (.2); prepare
                                         facsimile to D. Guerrero of voluntary petition (.2); review and
                                         categorize case documents received from attorneys in
                                         preparation for file updating by project assistant (2.2).

4/12/01   Sabrina M              8.00    Prepare new documents for inclusion into the docket binders
          Mitchell                       (3.5); update central file index with new documents (4.0);
                                         organize and label folders for inclusion into the central file (.5).

4/13/01   Brigitte F             6.30    Cross-reference materials received from client and local counsel
          Windley                        with online docket (2.9); instruct project assistant re preparing
                                         central files of same (.3); review and categorize additional case
                                         materials received from attorneys for inclusion in central files
                                         (3.1).



                                                      A-71
                 Case 01-01139-AMC     Doc 775-4        Filed 08/02/01       Page 98 of 188




Date      Name           Hours       Description
4/13/01   Sabrina M        6.50      Update case file index with new documents (4.5); organize and
          Mitchell                   label folders for inclusion into the central file (2.0).

4/16/01   Sabrina M        8.00      Prepare new documents for inclusion into the central file (3.0);
          Mitchell                   update case file index with new documents (4.0); organize and
                                     label folders for inclusion into the central file (1.0).

4/17/01   Sabrina M        4.50      Download and print new documents from the court's website for
          Mitchell                   inclusion into the docket binders.

4/18/01   Sabrina M        3.70      Download and print new documents on the court's website for
          Mitchell                   inclusion into the docket binders.

4/19/01   Sabrina M        2.00      Update central file docket binders with new documents from the
          Mitchell                   court's website.

4/20/01   Sabrina M        4.00      Download and print new documents from the court's website for
          Mitchell                   inclusion in the central file docket binders.
4/23/01   Sabrina M        8.50      Download and print new documents from the court's website for
          Mitchell                   inclusion into the central file docket binders (2.0); work on
                                     updating request for notice list and inserting documents into
                                     binders (3.0); Update case file index with new documents (2.5);
                                     prepare labels and folders for new documents for inclusion in the
                                     central file (1.0).

4/24/01   Sabrina M        7.50      Identify new documents using the court's website (4.5); Prepare
          Mitchell                   and organize new documents into the central file docket binders
                                     (3.0).

4/25/01   Sabrina M        2.00      Organize and label folders for inclusion in the central file (1.0);
          Mitchell                   identify and prepare pleadings for inclusion in the central file
                                     docket binders (1.0).

4/26/01   Sabrina M        2.00      Update case file index with new documents (1.7); prepare labels
          Mitchell                   and folders for new documents for inclusion in the central file
                                     (.3).

4/27/01   Sabrina M        3.00      Prepare and organize new documents into the central file docket
          Mitchell                   binders (2.0); update case file index with new documents (1.0).




                                                  A-72
                 Case 01-01139-AMC     Doc 775-4     Filed 08/02/01      Page 99 of 188




Date      Name           Hours       Description
4/30/01   Sabrina M        2.00      Identify and download new documents using the court's website.
          Mitchell




                                                A-73
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01       Page 100 of 188




                              Matter 30 - Hearings - Fees


Date      Name            Hours      Description
4/18/01   David M           6.00     Preparation for status hearing in front of Judge (2.5); attend
          Bernick, P.C.              hearing and follow-up meetings with client (3.5).

4/18/01   James W Kapp      6.80     Attend status/scheduling hearing and attend to issues re same and
                                     prepare for same.

4/18/01   Samuel A          3.60     Preparation for the status hearing in front of Judge Farnan and
          Schwartz                   attendance of the same.

4/19/01   James W Kapp      1.00     Attend to issues arising from April 18, 2001 hearing.

4/21/01   James H           0.70     Preparation for hearing concerning numerous revisions to first
          Sprayregen                 day motions and orders.

4/23/01   James H           1.50     Prepare for omnibus hearing concerning numerous first day order
          Sprayregen                 and DIP objection issues.
4/26/01   James H           0.80     Prepare for omnibus hearing concerning numerous first day order
          Sprayregen                 and DIP objection issues.

4/30/01   James W Kapp      0.30     Review agenda letter for May 3, 2001 hearing.

4/30/01   Samuel A          1.20     Review and revise the May 3 Agenda letter (1.0); conferences
          Schwartz                   with local counsel re same (.2).




                                                 A-74
                 Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 101 of 188




                    Matter 32 - K&E Fee Application, Preparation of - Fees


Date      Name              Hours      Description
4/30/01   Roger J Higgins     0.20     Attend to issues re Kirkland & Ellis Fee Application.




                                                   A-75
                 Case 01-01139-AMC        Doc 775-4      Filed 08/02/01       Page 102 of 188




                            Matter 33 - Lease Rejection Claims - Fees


Date      Name               Hours      Description
4/04/01   Roger J Higgins       0.20    Telephone conference with V. Finkelstein and A. Nagy (Grace)
                                        on notice procedures for lease rejection procedures.

4/05/01   Julie C Olsen         4.00    Summarize leases rejected on first day as preliminary work for
                                        damage computation.

4/06/01   Brian E Davis         3.00    Conference with client re rejection issues (.5); review lease
                                        summaries (2.0); conference with client re pass through
                                        calculations (.5).

4/10/01   Julie C Olsen         1.10    Review lease documents from first day rejection.

4/10/01   Samuel A              1.40    Telephone conferences with various attorneys and the client re
          Schwartz                      the rejection motion and the rejection procedures.

4/10/01   Roger J Higgins       0.90    Telephone conference with J. Laufer on lease rejection matters
                                        (.1); legal research re same (.8).
4/11/01   Samuel A              0.60    Telephone conferences with the client and various lessors
          Schwartz                      explaining the lease rejection motion.

4/11/01   Brian E Davis         2.00    Review and summarize lease rejection claims.

4/11/01   Roger J Higgins       1.00    Legal research on Grace Restaurant Company.

4/12/01   Samuel A              2.20    Telephone conferences with the client and various lessors re the
          Schwartz                      lease rejection motion (.8); drafting of correspondence to various
                                        lessors re same (1.4).

4/12/01   Brian E Davis         4.00    Calculate and schedule lease rejection claims (2.0); research
                                        Bankruptcy Code and cases re various issues in making
                                        calculations (2.0).

4/12/01   Roger J Higgins       0.50    Legal research on Grace Restaurant Company (.4); telephone
                                        conference with V. Finkelstein (Grace) on same (.1).
4/13/01   Samuel A              0.80    Telephone conferences with the client and drafting of
          Schwartz                      correspondence re the rejection motion.

4/13/01   Brian E Davis         3.00    Review leases and calculate lease rejection claims.



                                                    A-76
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01      Page 103 of 188




Date      Name              Hours    Description
4/16/01   Samuel A            1.20   Telephone conferences with various attorneys re the lease
          Schwartz                   rejection motion and the lease rejection procedures.

4/16/01   Roger J Higgins     0.30   Telephone conference with J. Brody concerning lease rejection
                                     procedures and Orien Levy Woolf lease.

4/19/01   Brian E Davis       2.00   Review leases and calculate landlord damage claims.

4/20/01   Brian E Davis       3.00   Review leases and calculate damage claims; research federal
                                     bankruptcy law re various issues in estimating claims.

4/24/01   Roger J Higgins     1.40   Legal research on executory contracts and leases and the time to
                                     reject.

4/26/01   Roger J Higgins     2.50   Legal research on motion to extend time to assume or reject
                                     leases.
4/27/01   Roger J Higgins     4.90   Draft motion to extend or reject nonresidential real property
                                     leases (3.2); legal research on same (1.7).

4/28/01   James W Kapp        0.30   Review Heilig-Meyers pleadings re rejection of certain leases.

4/30/01   Roger J Higgins     4.60   Draft motion and order to extend time to assume or reject leases.




                                                 A-77
                 Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 104 of 188




                            Matter 36 - Reclamation Claims - Fees


Date      Name              Hours     Description
4/04/01   James W Kapp        0.60    Review reclamation claims and attend to issues re same and
                                      telephone conferences with B. Forehand of Company re same.

4/04/01   Roger J Higgins     0.50    Legal research on reclamation issues pertaining to Climax
                                      Molybdenum reclamation demand dated 4/3/01.

4/09/01   James W Kapp        0.20    Review reclamation letters and attend to issues re same.

4/16/01   Roger J Higgins     0.30    Telephone conference with T. Dorr concerning H.M. Royal, Inc.
                                      reclamation claims.

4/19/01   James W Kapp        0.30    Review objection re reclamation motion and attend to issues re
                                      same.

4/20/01   James W Kapp        0.70    Review reclamation motion and applicable Code provisions re
                                      same and telephone conference with M. Shelnitz re same.
4/24/01   James W Kapp        0.20    Telephone conference with B. Forehand re reclamation claims.

4/25/01   James W Kapp        0.50    Address objection to reclamation motion and attend to issues re
                                      same.

4/25/01   Sabrina M           4.50    Update case file index with new reclamation claim documents.
          Mitchell

4/26/01   James W Kapp        0.80    Telephone conference with B. Sullivan re objection to
                                      reclamation motion and attend to issues re same (.4); telephone
                                      conference with B. Forehand re same (.4).

4/27/01   James W Kapp        2.30    Address issues re objection to reclamation motion and telephone
                                      conference with B. Forehand re same and prepare
                                      correspondence re same and telephone conferences with B.
                                      Sullivan re same.

4/28/01   James W Kapp        0.20    Review reclamation claims.
4/30/01   James W Kapp        0.20    Address issues pertaining to objection to reclamation motion filed
                                      by Soprena, Inc. and attend to issues re same and telephone
                                      conference with B. Sullivan re same.




                                                  A-78
                 Case 01-01139-AMC       Doc 775-4       Filed 08/02/01       Page 105 of 188




                       Matter 38 - Retention of Professionals/Fees - Fees


Date      Name              Hours       Description
4/02/01   Peter A              0.50     Attend to matters re Simon II inserts to Sprayregen affidavit.
          Bellacosa

4/05/01   James W Kapp         0.30     Attend to issues re retention of ordinary course professionals.

4/05/01   Samuel A             0.80     Telephone conferences with the client re ordinary course
          Schwartz                      professionals, the pending motions, the professional's affidavits.

4/05/01   Roger J Higgins      2.50     Attend to matters re fee applications for professionals (.5); legal
                                        research on fee applications (1.0); legal research on potential
                                        conflicts of interest (1.0).

4/06/01   Samuel A             1.30     Telephone conferences with the client and various professionals
          Schwartz                      re affidavits of disinterestedness.

4/06/01   Janet Baer           0.30     Review S. Ahern memo re ordinary course professionals.
4/08/01   Janet Baer           0.20     Review memo re professionals and memo re first day orders for
                                        impact on environmental professionals.

4/09/01   Mark E               0.50     Telephone conversation with J. Lejaun, Grace attorney for Hatco
          Grummer                       site, re OCP filing and email to team re same.

4/09/01   James W Kapp         0.40     Review memorandum from S. Ahern re ordinary course
                                        professionals.

4/09/01   Samuel A             1.20     Telephone conferences with various professionals re the ordinary
          Schwartz                      course professionals and their retention under the motion.

4/10/01   Samuel A             1.40     Telephone conferences with various professionals re the OCP
          Schwartz                      Motion and their retention under 327(e) (.8); and conferences
                                        with the client re same (.6).

4/10/01   Roger J Higgins      2.50     Draft Supplemental List of Potential Conflicts of Interest (.8);
                                        e-mail same to Professionals (.2); telephone conference with T.
                                        Daly concerning supplemental list (.2); draft Daly Supplemental
                                        Affidavit (1.3).
4/11/01   Samuel A             0.90     Telephone conferences with the client and various professionals
          Schwartz                      re the OCP Motion and affidavit.


                                                    A-79
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01       Page 106 of 188




Date      Name              Hours    Description
4/11/01   Janet Baer          0.20   Confer with S. Ahern at Grace re employment of professionals
                                     re various contested matters.

4/11/01   Roger J Higgins     5.00   Draft revisions to Daly Supplemental Affidavit (1.5); conflict of
                                     interest research on top twenty creditors' list (1.5); draft
                                     Sprayregen Supplemental Affidavit (2.0).

4/12/01   Samuel A            2.20   Telephone conferences with various professionals re their
          Schwartz                   retention (1.3) and forwarding copies of the appropriate
                                     retention documents for the same (.3); conferences with the client
                                     re same (.6).

4/12/01   Roger J Higgins     3.00   Legal research on conflicts of interest (1.5); revisions to Daly and
                                     Sprayregen affidavits (.5); telephone conference with D. Bryan
                                     on conflicts of interest (.3); telephone conference with P. Zilly on
                                     conflicts of interest (.2); telephone conference with P. Seamon re
                                     PWC application (.3); telephone conference with P. Hansen on
                                     conflicts (.2).

4/13/01   James W Kapp        0.40   Review supplemental Kekst affidavit.

4/13/01   Samuel A            3.60   Telephone conferences and correspondence with the client and
          Schwartz                   various professionals re retention issues.
4/13/01   Roger J Higgins     4.40   Legal research on conflicts of interest (4.0); internal K&E
                                     conference on various conflicts of interest matters (.2); telephone
                                     conference with D. Bryan (.2).

4/16/01   James W Kapp        1.80   Review and revise supplemental affidavits of Wachtell, Kekst
                                     and Kirkland & Ellis and attend to issues re same.

4/16/01   Roger J Higgins     4.00   Legal research on conflicts of interest (2.8); revise Sprayregen
                                     and Daly affidavits (1.2).

4/17/01   Roger J Higgins     3.00   Coordinate filing of Bryan affidavit with D. Carickhoff (.3);
                                     coordinate execution of Daly Affidavit (.8); telephone conference
                                     with D. Carickhoff on filing of affidavits (.3); coordinate
                                     execution of Sprayregen affidavit (1.6).

4/19/01   James W Kapp        0.30   Attend to issues re retention of PricewaterhouseCoopers.




                                                 A-80
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01        Page 107 of 188




Date      Name              Hours    Description
4/19/01   Janet Baer          0.20   Internal K&E conference re employment of professionals in
                                     litigation.

4/19/01   Roger J Higgins     1.20   Legal research on conflicts of interest (.7); draft second
                                     supplement to Sprayregen affidavit (.5).

4/20/01   Roger J Higgins     0.30   Telephone conference with S. Zuber of Pitney Hardin discussing
                                     retention of that firm as section 327(e) counsel.

4/23/01   James W Kapp        0.60   Telephone conference with P. Zilly re objections to Blackstone
                                     retention and address issues re same.

4/23/01   Roger J Higgins     1.40   Revise orders to First Day Motions sent out on notice (1.2);
                                     telephone conference with A. Krieger (.2).

4/23/01   Roger J Higgins     2.00   Review and comment on Pitney Hardin application and affidavit
                                     and order.
4/24/01   Janet Baer          0.30   Review D. Cleary application re retention.

4/24/01   Roger J Higgins     1.70   Telephone conference with S. Tetro discussing scope of ordinary
                                     course professionals order and need for drafting application (.6);
                                     legal research re same (.6); telephone conference with J.
                                     Forgach (Grace) re same (.5).

4/25/01   James W Kapp        2.50   Telephone conference with P. Zilly re Blackstone application and
                                     attend to issues re same (.6); review and revise supplemental
                                     affidavit for Kirkland & Ellis (.3); review and revise application
                                     to retain Pitney Harden (1.6).

4/25/01   Samuel A            2.10   Telephone conferences with the client and
          Schwartz                   PricewaterhouseCoopers re retention issues (1.5); review of
                                     various professionals' retention applications and affidavits (.6).

4/26/01   Roger J Higgins     1.00   Draft changes to Second Supplement to Sprayregen Affidavit.

4/27/01   James W Kapp        0.70   Review and revise application to retain Pitney Harden and
                                     address issues re same.
4/27/01   Janet Baer          0.20   Review C. Marraro re affidavit.




                                                  A-81
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01      Page 108 of 188




Date      Name              Hours    Description
4/27/01   Roger J Higgins     2.40   Revise application for retention of Pitney Hardin (1.1); telephone
                                     conference with D. Siegel re same (.1); draft letters to counsel
                                     for committees for their review of the application (1.2).

4/28/01   James W Kapp        0.20   Review and revise second supplemental affidavit for retention of
                                     Kirkland & Ellis.

4/30/01   James W Kapp        0.10   Telephone conference with P. Zilly re Blackstone retention.

4/30/01   Roger J Higgins     2.40   Review and prepare Interim Compensation Order for submission
                                     to the Bankruptcy Court (.2); review and prepare Ordinary
                                     Course Professionals Order for submission to the Bankruptcy
                                     Court (.2); telephone conference with J. Forgach concerning
                                     retention of Ernst & Young (.2); telephone conference with J.
                                     Forgach concerning document request from asbestos personal
                                     injury committee (.5); legal research on documents (1.3).




                                                 A-82
                 Case 01-01139-AMC      Doc 775-4       Filed 08/02/01        Page 109 of 188




                  Matter 39 - Schedules/Statement of Financial Affairs - Fees


Date      Name              Hours      Description
4/04/01   James W Kapp        0.60     Participate in telephone conference re preparation of bankruptcy
                                       schedules and telephone conference with S. Ahern re same.

4/04/01   Samuel A            1.20     Telephone conferences with the client reviewing and organizing
          Schwartz                     the schedules of assets and liabilities and statements of financial
                                       affairs.

4/05/01   James W Kapp        2.70     Participate in telephone conference with representatives of the
                                       Company re preparation of schedules and statement of financial
                                       affairs and attend to issues re same.

4/05/01   Samuel A            1.10     Telephone conferences with the client reviewing the schedules
          Schwartz                     and statements and the information re same.

4/06/01   James W Kapp        0.20     Attend to issues re preparation of schedules and statements.

4/09/01   James W Kapp        0.60     Attend to issues re preparation of schedules and statements.
4/10/01   James W Kapp        0.50     Telephone conference with T. Behnke re preparation of
                                       schedules and statements of financial affairs.

4/10/01   James W Kapp        0.70     Attend to issues re preparation of schedules and statements.

4/11/01   Samuel A            2.70     Telephone conferences with the client reviewing and analyzing
          Schwartz                     tax issues and the reporting of the same on the Debtors'
                                       statements of financial affairs and schedules of assets and
                                       liabilities.

4/16/01   James W Kapp        5.10     Attend to issues re preparation of schedules and statutes.

4/16/01   Samuel A            3.60     Various telephone conferences with the client reviewing and
          Schwartz                     preparing the schedules and statements.

4/17/01   James W Kapp        9.70     Attend conference with J. Hughes, T. Behnke, L. Kuhn and
                                       representatives of Company in Boca Raton re preparation of
                                       schedules and statements and attend to issues re same.


                                                    A-83
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01      Page 110 of 188




Date      Name            Hours      Description
4/17/01   Samuel A          6.30     Meeting with company representatives and PWC representatives
          Schwartz                   in Boca Raton and Florida reviewing and preparing the schedules
                                     and statements, and preparation for the same.

4/19/01   Samuel A          1.60     Telephone conferences with the client re the drafting of the
          Schwartz                   schedules and statements.

4/23/01   Samuel A          2.10     Telephone conferences with company representatives and review
          Schwartz                   of drafts of the Debtors' Schedules and Statements.

4/24/01   James W Kapp      0.40     Attend to issues re preparation of schedules and statements.

4/24/01   Samuel A          1.80     Telephone conferences with company representatives and
          Schwartz                   PricewaterhouseCoopers representatives re the preparation of
                                     the schedules and statements.

4/25/01   Samuel A          2.80     Telephone conferences with company representatives re the
          Schwartz                   preparation of the schedules and statements.
4/26/01   Samuel A          2.10     Conferences with PricewaterhouseCoopers representatives and
          Schwartz                   company representatives re schedules and statements and review
                                     of the pleadings re same.

4/27/01   Samuel A          2.40     Telephone conferences with company representatives and
          Schwartz                   PricewaterhouseCoopers representatives re the preparation of
                                     the schedules and statements and review of the pleadings re
                                     same.

4/30/01   Samuel A          3.90     Telephone conferences with PricewaterhouseCoopers
          Schwartz                   representatives and company representatives re the schedules
                                     and statements and review of pleadings re same.




                                                 A-84
                 Case 01-01139-AMC     Doc 775-4       Filed 08/02/01       Page 111 of 188




                               Matter 41 - Tax Matters - Fees


Date      Name              Hours     Description
4/02/01   Donald E            0.50    Review tax litigation procedural issues.
          Rocap

4/04/01   Donald E            1.00    Conference call with E. Filon and others re tax litigation and
          Rocap                       audits.

4/05/01   James W Kapp        0.20    Address Company inquiries re COLI issues.

4/09/01   Todd F Maynes       1.50    Legal research re tax matters.

4/09/01   Donald E            0.30    Review correspondence re tax and bankruptcy questions.
          Rocap

4/09/01   Roger J Higgins     0.80    Internal K&E telephone conference re tax matters (.3); legal
                                      research on various questions posed in 4/9/01 E. Filon e-mail
                                      (.5).
4/10/01   Todd F Maynes       2.50    Research re interaction between bankruptcy and tax issues (2.3);
                                      telephone calls re e-mail questions submitted by Grace (.2).

4/10/01   Roger J Higgins     0.50    Legal research on questions raised by E. Filon in her e-mail of
                                      4/9/01.

4/10/01   Biographical        0.50    Biographical Research re tax decisions.
          Research

4/11/01   Todd F Maynes       3.50    Conference calls re proposed tax interaction with bankruptcy
                                      rules (.3); research re same (3.2).

4/11/01   Donald E            2.50    Conference call re tax and bankruptcy issues with E. Filon and
          Rocap                       others (.5); prepare for same (2.0).

4/12/01   Roger J Higgins     1.50    Legal research on property tax issues vis a vis the automatic stay.


4/13/01   Roger J Higgins     1.30    Telephone conference with T. Del Brugge on issues relating to
                                      the scope of the Sales and Use Tax Motion (.5); legal research
                                      on whether interest is a tax (.8).

4/16/01   Todd F Maynes       1.00    Review of C. Finke questions (.1); research re potential answers
                                      (.9).


                                                  A-85
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01      Page 112 of 188




Date      Name              Hours    Description
4/16/01   Donald E            0.20   Review correspondence re tax and bankruptcy questions.
          Rocap

4/17/01   Todd F Maynes       3.00   Research re interest calculated on employment taxes (1.5);
                                     preparation of memorandum re response to C. Finke questions
                                     (1.5).

4/18/01   Todd F Maynes       3.00   Conference call with Grace tax representatives re various tax
                                     issues; research re CCHP issue (1.5); review of memoranda re
                                     same (1.5).

4/18/01   Donald E            1.30   Conference call with E. Filon (Grace) and others re bankruptcy
          Rocap                      and tax issues (.3); prepare for same (1.0).

4/18/01   Roger J Higgins     2.50   Participate in status call with Grace tax representatives on
                                     ongoing tax-related bankruptcy issues (1.5); legal research on
                                     priority of various claims (1.0).

4/19/01   Todd F Maynes       1.00   Research re bankruptcy priorities for taxes and penalties.
4/23/01   Todd F Maynes       2.00   Review of file re CCHP case; review of briefs filed.

4/24/01   Todd F Maynes       1.30   Review of briefs and memoranda re CCHP case (.3); legal
                                     research re priorities (1.0).

4/25/01   Todd F Maynes       1.00   Review of file memoranda re CCHP nursing case.

4/25/01   Donald E            1.00   Conference call re tax and bankruptcy issues (.3); review same
          Rocap                      (.7).

4/26/01   Todd F Maynes       0.80   Review of memoranda re CCHP case.

4/30/01   Todd F Maynes       1.00   Telephone calls with C. Finke (Grace) re CCHP case (.4);
                                     review of deposition (.6).




                                                 A-86
                 Case 01-01139-AMC        Doc 775-4     Filed 08/02/01      Page 113 of 188




                                    Matter 42 - Travel - Fees


Date      Name              Hours       Description
4/03/01   David M             1.50      Travel back to Chicago.
          Bernick, P.C.

4/03/01   Brigitte F          5.20      Travel from Wilmington, Delaware to Chicago office.
          Windley

4/03/01   Roger J Higgins     4.50      Travel from Wilmington, Delaware to Chicago, Illinois.

4/08/01   Lesley A            4.50      Travel from Delaware to Chicago.
          Drinkwater

4/16/01   Samuel A            4.00      Travel from Chicago to Boca Raton, Florida for meeting re
          Schwartz                      schedules preparation.

4/17/01   Samuel A            3.00      Travel from Boca Raton, Florida to Philadelphia for Delaware
          Schwartz                      status hearing.
4/18/01   David M             3.00      Travel from Wilmington, Delaware to Chicago.
          Bernick, P.C.

4/18/01   Samuel A            3.20      Travel from Wilmington, Delaware to Chicago.
          Schwartz




                                                    A-87
                 Case 01-01139-AMC    Doc 775-4        Filed 08/02/01        Page 114 of 188




                             Matter 44 - U.S. Trustee - Fees


Date      Name            Hours      Description
4/03/01   Christopher B     2.00     Research facts for U.S. Trustee inquiry.
          Sullivan

4/05/01   Christopher B     3.10     Investigate and collect claim information requested by U.S.
          Sullivan                   Trustee (3.0); telephone conferences with R. Finke re same (.1).

4/05/01   Samuel A          1.20     Review and compilation of the lists of creditors and their
          Schwartz                   attorneys for the Trustee (.8) and telephone conferences with the
                                     client re same (.4).

4/06/01   Samuel A          1.50     Preparation of the lists of significant creditors for the creditors'
          Schwartz                   committee formation meeting.

4/10/01   Samuel A          0.60     Telephone conferences with local counsel and company
          Schwartz                   representatives re the monthly operating reports and compliance
                                     with the U.S. Trustee's operating guidelines.

4/19/01   James W Kapp      0.40     Attend to issues re Trustee's inquiries re ordinary course
                                     professionals motion.
4/25/01   James W Kapp      0.50     Address Trustee inquiries re first day orders and telephone
                                     conference with D. Carickhoff re same.

4/25/01   Samuel A          1.40     Telephone conference with J. Heck of the U.S. Trustee's office
          Schwartz                   and the client re compliance with the Trustee's operating
                                     guidelines.

4/27/01   Samuel A          0.80     Conferences with the U.S. Trustee and the client re the U.S.
          Schwartz                   Trustee's operating guidelines and monthly operating reports.




                                                  A-88
                 Case 01-01139-AMC         Doc 775-4      Filed 08/02/01       Page 115 of 188




                                    Matter 45 - Utilities - Fees


Date      Name              Hours        Description
4/17/01   James W Kapp        0.50       Telephone conferences with utilities re adequate assurance
                                         requests and utility motion and attend to issues re same.

4/17/01   Roger J Higgins     1.00       Telephone conference with M. Conway of Metropolitan Water
                                         Reclamation District of Greater Chicago re utilities motion and
                                         order (.5); attend to matters re utilites motion and order (.5).

4/18/01   James W Kapp        0.60       Telephone conference with utilities re adequate assurances
                                         requests.

4/18/01   Roger J Higgins     2.00       Revise Utilities order to accommodate objections (1.7); legal
                                         research on letter from M. Conway concerning the pending
                                         Utilities motion (.3).

4/19/01   James W Kapp        0.10       Telephone conference with M. Conway re utilities motion.

4/20/01   James W Kapp        1.00       Telephone conference with M. Shelnitz re payments to utilities
                                         and adequate assurance requests and address issues re same and
                                         review case law re same.
4/20/01   Samuel A            1.90       Telephone conferences with the client and various creditors and
          Schwartz                       attorneys re utility company demands, lessor demands and the
                                         status of the cases.

4/20/01   Roger J Higgins     0.70       Telephone conference with T. Banks at Troutman Saunders
                                         concerning the utility motion (.2); legal research on notice of
                                         same (.3); legal research on adequate assurances (.2).

4/24/01   James W Kapp        0.50       Telephone conference with B. McGowan re issues pertaining to
                                         particular utilities (.2); telephone conference with M. Conway re
                                         utilities order and attend to issues re same (.3).

4/24/01   Samuel A            3.30       Research of the case law governing section 366 of the
          Schwartz                       Bankruptcy Code (2.1), drafting of utilities letter re same (.9)
                                         and conferences with the client re same (.3).

4/25/01   James W Kapp        0.50       Review and revise letters to utilities re adequate assurance
                                         requests.




                                                     A-89
                 Case 01-01139-AMC    Doc 775-4       Filed 08/02/01       Page 116 of 188




Date      Name              Hours    Description
4/25/01   Samuel A            2.30   Research for and revision of the form letter for utility companies
          Schwartz                   and conferences with the client re same.

4/26/01   James W Kapp        0.10   Review letter re adequate assurance requests by the utilities.

4/30/01   Roger J Higgins     0.20   Prepare and review Utilities Order for submission to the
                                     Bankruptcy Court.




                                                 A-90
Case 01-01139-AMC       Doc 775-4   Filed 08/02/01   Page 117 of 188




         Matter 16 –Asset Analysis and Recovery - Expenses



                 Description                         Amount
  Telephone                                              $196.13

  Standard Copies                                         $70.30

  Overnight Delivery                                      $60.74

  Outside Copy                                         $1,118.00

  Computer Database Research                              $25.86

  Overtime Meals - Attorney                               $37.77
  TOTAL                                                $1,508.80




                                B-1
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01      Page 118 of 188




                     Matter 16 –Asset Analysis and Recovery - Expenses


Date        Amount     Description
4/03/01        0.62    Telephone call to: Columbia,MD 410-531-4213

4/03/01        1.04    Telephone call to: Wilmington,DE 302-652-4100

4/04/01        2.70    Telephone call to: Washington,DC 202-564-2584

4/04/01       70.30    Standard Copies

4/05/01        1.25    Telephone call to: Columbia,MD 410-531-4212

4/09/01        1.04    Telephone call to: Wilmington,DE 302-652-4100
4/10/01        1.25    Telephone call to: Washington, DC 202-429-2992

4/10/01        1.25    Telephone call to: Columbia,MD 410-531-4284

4/10/01        1.45    Telephone call to: Wilmington,DE 302-655-4200

4/10/01        1.45    Telephone call to: State of,DE 302-778-6464

4/10/01        3.95    Telephone call to: Columbia,MD 410-531-4213

4/13/01        0.62    Telephone call to: Columbia,MD 410-531-4795
4/16/01        0.62    Telephone call to: Columbia,MD 410-531-4284

4/16/01        0.83    Telephone call to: State of,DE 302-778-6411

4/16/01        1.25    Telephone call to: New York City,NY 212-294-2620

4/16/01        1.66    Telephone call to: State of,DE 302-778-6464

4/16/01        1.87    Telephone call to: Columbia,MD 410-531-4222

4/16/01        4.57    Telephone call to: Eastern,MI 810-341-9800
4/19/01        0.83    Telephone call to: State of,DE 302-778-6464

4/19/01        2.08    Telephone call to: Columbia,MD 410-531-4284

4/19/01        2.91    Telephone call to: Central,FL 561-362-1535

4/19/01       10.82    Fed Exp to: Dallas,TX from:Mailroom

4/19/01       12.77    Anup Sathy- Overtime Meals - Attorney f/S. Schwartz, 4.19.01

                                             B-2
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 119 of 188




Date        Amount    Description
4/19/01      126.95   Samuel A Schwartz - Telephone, AT&T stmt dtd 4.7.01

4/20/01        0.83   Telephone call to: New York City, NY 212-450-4940

4/20/01        0.83   Telephone call to: New York City, NY 212-806-5767

4/20/01        1.04   Telephone call to: Columbia,MD 410-531-4709

4/20/01        1.25   Telephone call to: Columbia,MD 410-531-4212

4/20/01        2.08   Telephone call to: Columbia,MD 410-531-4212
4/20/01        2.49   Telephone call to: Columbia,MD 410-531-4709

4/20/01        2.91   Telephone call to: Eastern,MD 410-336-0713

4/23/01        0.62   Telephone call to: Detroit,MI 313-496-8439

4/23/01        1.04   Telephone call to: Columbia,MD 410-531-4212

4/23/01        1.45   Telephone call to: Columbia,MD 410-531-4212

4/23/01        1.45   Telephone call to: Columbia,MD 410-531-4213
4/23/01        2.49   Telephone call to: Philadelphia,PA 215-568-3100

4/24/01        1.25   Telephone call to: Wilmington,DE 302-655-4200

4/24/01        1.66   Telephone call to: Columbia,MD 410-531-4191

4/24/01        1.87   Telephone call to: Columbia,MD 410-531-4212

4/24/01        3.95   Telephone call to: Columbia,MD 410-531-4212

4/25/01        1.25   Telephone call to: Philadelphia,PA 215-597-5339
4/25/01        1.45   Telephone call to: State of,DE 302-778-6464

4/25/01        6.03   Telephone call to: Columbia,MD 410-531-4552

4/27/01       25.00   Samuel A Schwartz - Overtime Meals - Attorney, 4.24.01




                                            B-3
 Case 01-01139-AMC       Doc 775-4    Filed 08/02/01   Page 120 of 188




Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Expenses


                 Description                           Amount
    Telephone                                                   $2.70

    TOTAL                                                       $2.70




                                   B-4
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01       Page 121 of 188




       Matter 17 - Automatic Stay Matters/Relief from Stay Proceedings - Expenses


Date        Amount    Description
4/16/01        0.83   Telephone call to: State of, DE 302-778-6464

4/18/01        1.87   Telephone call to: Central, FL 561-362-1532




                                            B-5
Case 01-01139-AMC          Doc 775-4    Filed 08/02/01   Page 122 of 188




                   Matter 18 – Bankruptcy Filing - Expenses


                   Description                           Amount
  Telephone                                                     $16.21

  Facsimile Charges                                             $20.41

  Standard Copies                                               $56.70

  Postage                                                       $17.16

  Trial Exhibits                                              $2,605.00

  Overtime Meals                                                $27.00
  Secretarial Overtime                                         $497.25

  TOTAL                                                       $3,239.73




                                     B-6
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01      Page 123 of 188




                        Matter 18 – Bankruptcy Filing - Expenses


Date        Amount    Description
4/02/01        0.30   Standard Copies

4/03/01        0.62   Telephone call to: Columbia,MD 410-531-4191

4/03/01        0.62   Telephone call to: New York City, NY 212-847-5370

4/03/01        1.87   Telephone call to: Columbia,MD 410-531-4170

4/03/01        2.29   Telephone call to: Columbia,MD 410-531-4552

4/03/01        2.70   Telephone call to: Se Part,FL 954-341-9088
4/03/01       13.20   Standard Copies

4/04/01        0.50   Standard Copies

4/04/01        0.83   Telephone call to: Wilmington,DE 302-652-4100

4/04/01        1.66   Telephone call to: New York City, NY 212-450-4064

4/04/01        2.49   Telephone call to: Columbia,MD 410-531-4212

4/04/01        3.75   Fax page charge to 212-949-6241
4/04/01       21.30   Standard Copies

4/05/01        0.83   Fax phone charge to 302-656-2145

4/05/01        0.83   Fax phone charge to 302-652-4400

4/05/01        1.25   Telephone call to: New York City, NY 212-847-5370

4/05/01        1.50   Fax page charge to 302-652-4400


                                            B-7
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01      Page 124 of 188




Date        Amount    Description
4/05/01        2.25   Fax page charge to 302-652-4400

4/05/01        5.25   Fax page charge to 302-656-2145

4/10/01        1.26   Lena Mandel - Telephone charges, AT&T Stmt, 4/4/01

4/17/01        0.62   Telephone call to: Detroit,MI 313-963-6420

4/18/01        1.50   Fax page charge to 717-390-7309

4/19/01        3.00   Fax page charge to 717-390-7309
4/20/01       17.16   Postage

4/20/01       20.40   Standard Copies

4/24/01        1.00   Standard Copies

4/25/01        0.75   Fax page charge to 303-312-7331

4/25/01        0.75   Fax page charge to 202-353-0296




                                            B-8
Case 01-01139-AMC         Doc 775-4   Filed 08/02/01   Page 125 of 188




               Matter 20 – Case Administration - Expenses


                   Description                         Amount
  Telephone                                                  $432.91

  Facsimile Charges                                          $277.29

  Standard Copies                                            $800.60

  Binding                                                     $17.50

  Tabs/Indexes/Dividers                                         $5.50

  Postage                                                       $0.55
  Outside Messenger                                           $40.65

  Outside Copy                                              $2,645.53

  Overnight Delivery                                         $422.78

  Local Transportation                                          $6.00

  Court Services                                              $10.00

  Information Broker Doc/Svcs                                $370.75
  Library Document Procurement                                $60.00

  Computer Database Research                                 $181.18

  Overtime Meals                                                $9.00

  Secretarial overtime                                       $831.90

  TOTAL                                                     $6,112.14




                                  B-9
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01      Page 126 of 188




                       Matter 20 – Case Administration - Expenses


Date        Amount    Description
4/02/01        0.20   Standard Copies

4/02/01        0.92   Telephone call to: Western,TN 901-820-2065

4/02/01       10.15   Telephone call to: Central,FL 561-558-8814

4/02/01       25.00   University of Chicato Library - Information Broker Doc/Svcs, Interlibrary
                      Loan for D. Smith

4/02/01       25.98   Airborne Express - Overnight Delivery, B. Windley, 3/16/01

4/02/01       66.70   Standard Copies
4/03/01        0.59   Telephone call to: Columbia,MD 410-531-4360

4/03/01        0.62   Telephone call to: Columbia,MD 410-531-4795

4/03/01        0.62   Telephone call to: Wilmington,DE 302-652-4100

4/03/01        0.62   Telephone call to: Columbia,MD 410-531-4718

4/03/01        0.62   Telephone call to: Southern,PA 717-390-7369

4/03/01        0.62   Telephone call to: Newport Beach,CA 949-260-0611
4/03/01        0.62   Telephone call to: Wilmington,DE 302-652-4100

4/03/01        0.83   Telephone call to: Southern,PA 717-390-7369



                                             B-10
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01     Page 127 of 188




Date        Amount    Description
4/03/01        0.83   Telephone call to: Dallas,TX 214-742-5925

4/03/01        0.83   Telephone call to: Wilmington,DE 302-652-4100

4/03/01        1.00   Standard Copies

4/03/01        1.04   Telephone call to: Columbia,MD 410-531-4360

4/03/01        1.04   Telephone call to: Wilmington,DE 302-652-4100

4/03/01        2.77   Telephone call to: Chicago,IL 312-961-2201
4/03/01        5.08   Telephone call to: Columbia,MD 410-531-4203

4/03/01        8.31   Telephone call to: Chicago,IL 312-961-2201

4/03/01       10.40   Standard Copies

4/03/01       12.64   Fed Exp to:Brigette Windley,Chicago,IL from:Brigette Windley

4/03/01       13.00   Fed Exp to: ,Columbia,MD from:Mailroom

4/03/01       17.10   Standard Copies
4/03/01       18.62   Fed Exp to:Brigette Windley,Chicago,IL from:Brigette Windley

4/03/01       18.62   Fed Exp to:Brigette Windley,Chicago,IL from:Brigette Windley

4/03/01       66.93   Crabb,BA. - Secretarial Overtime

4/04/01        0.30   Standard Copies

4/04/01        0.40   Standard Copies

4/04/01        0.50   Standard Copies
4/04/01        0.92   Telephone call to: Western,TN 901-820-2065

4/04/01        1.05   Standard Copies

4/04/01        1.25   Telephone call to: New York City, NY 212-847-5370

4/04/01        1.50   Standard Copies

4/04/01        2.08   Telephone call to: New York City, NY 212-858-1412

4/04/01        3.00   Fax page charge to 212-583-8393

4/04/01        3.50   Binding

                                            B-11
          Case 01-01139-AMC        Doc 775-4     Filed 08/02/01     Page 128 of 188




Date        Amount     Description
4/04/01         7.80   Fed Exp to: New York,NY from: mailroom

4/04/01       10.60    Standard Copies

4/04/01       10.82    Fed Exp to: New York,NY from: mailroom

4/04/01       15.00    Standard Copies

4/04/01       30.45    Telephone call to: Hackensack,NJ 201-368-9026

4/04/01       65.00    Kristi Mclane - Information Broker Doc/Svcs-03/29/01-Purchase Magic
                       Mineral to Killer Dust for T. Hardy
4/04/01       66.93    Crabb,B. - Secretarial Overtime

4/05/01         0.30   Standard Copies

4/05/01         1.00   Standard Copies

4/05/01         1.40   Standard Copies

4/05/01         8.80   Standard Copies

4/05/01       24.90    Standard Copies
4/05/01       44.10    Fed Exp to: New York, NY from: Mailroom

4/05/01       66.93    Crabb,BA. - Secretarial Overtime

4/05/01      162.56    Foster, L- Scan cleanup document;proofreading

4/05/01      181.18    The Dialog Corporation - Computer Database Research, Dialog Database
                       Usage March 2001

4/05/01      191.25    Washington, B - Scan cleanup Order and Debtors' Motion

4/05/01     2,404.24   Aro Business Services - Chicago - Outside Copy/Binding Services,
                       PO-A499 Requested by B. Windley, Black/White copies, 4.5.01
4/06/01         0.15   Standard Copies

4/06/01         0.45   Standard Copies

4/06/01         0.83   Fax phone charge to 302-652-4400

4/06/01         0.83   Fax phone charge to 302-652-4400

4/06/01         2.25   Fax page charge to 302-636-5454

                                             B-12
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01     Page 129 of 188




Date        Amount    Description
4/06/01        3.00   Fax page charge to 973-538-1984

4/06/01        7.44   Fed Exp to: ,Lancaster,PA from:mailroom

4/06/01        8.37   Fed Exp to: ,Los Angeles,CA from:mailroom

4/06/01        9.00   Fax page charge to 302-652-4400

4/06/01        9.00   Fax page charge to 302-652-4400

4/06/01        9.57   Fed Exp to: ,Wilmington,DE from:mailroom
4/08/01      200.89   Ikon Document Services-NYEast - Outside Copy/Binding Services, Copy
                      litigation documents; prepare manila folders

4/09/01        1.04   Fax phone charge to 410-531-4783

4/09/01        1.04   Fax phone charge to 410-531-4445

4/09/01        2.70   Fax phone charge to 410-531-4445

4/09/01        4.50   Fax page charge to 410-531-4445

4/09/01        6.00   Roger J Higgins - Local Trans. to Northwestern Train Station, 3.27.01
4/09/01        8.25   Fax page charge to 410-531-4783

4/09/01       10.50   Fax page charge to 410-531-4445

4/09/01       15.30   Comet Messenger Services to: Latham & Watkins

4/10/01        0.62   Telephone call to: New York City, NY 212-521-4811

4/10/01        1.75   Binding

4/10/01        1.75   Binding
4/10/01        2.10   Standard Copies

4/10/01        7.00   Binding

4/10/01       13.50   Color Copies

4/10/01       31.50   Standard Copies

4/10/01       80.80   Standard Copies




                                            B-13
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01      Page 130 of 188




Date        Amount    Description
4/10/01      280.75   Corporation Service Company - Information Broker Doc/Svcs,
                      Lien/Litigation work, MA

4/11/01        3.75   Fax page charge to 713-371-1057

4/11/01       11.08   Fed Exp to: ,Darlington,MD from:mailroom

4/11/01       40.40   Ikon Document Services-NYEast - Outside Copy/Binding Services, copies
                      of UCC's

4/11/01       56.30   Standard Copies

4/12/01        1.57   Fax phone charge to 303-866-0200
4/12/01        3.50   Binding

4/12/01        7.80   Fed Exp to: Philadelphia,PA from:mailroom

4/12/01       11.10   Standard Copies

4/12/01       21.00   Fax page charge to 303-866-0200

4/12/01      155.20   Standard Copies

4/13/01        0.75   Fax page charge to 713-371-1057
4/13/01        1.50   Fax page charge to 212-806-6006

4/13/01        1.50   Fax page charge to 410-531-4783

4/13/01        4.30   Standard Copies

4/13/01       38.25   Crabb,B. - Secretarial Overtime

4/13/01       44.90   Standard Copies

4/16/01        0.62   Telephone call to: State of,DE 302-778-6464
4/16/01        1.50   Fax page charge to 310-830-5149

4/16/01        2.25   Fax page charge to 480-964-1524

4/16/01        2.25   Fax page charge to 215-979-1020

4/16/01        2.25   Fax page charge to 714-979-1921

4/16/01       26.50   Standard Copies



                                            B-14
          Case 01-01139-AMC      Doc 775-4       Filed 08/02/01    Page 131 of 188




Date        Amount    Description
4/16/01       46.02   Fed Exp to: New York,NY from:Mailroom

4/17/01        1.50   Fax page charge to 214-756-1760

4/17/01        3.75   Fax page charge to 214-756-1760

4/17/01       42.38   Fed Exp to: ,Wilmington,DE from:mailroom

4/17/01       52.78   Fed Exp to: ,Wilmington,DE from:mailroom

4/17/01       57.98   Fed Exp to: ,Dallas,TX from:mailroom
4/18/01        0.75   Fax page charge to 410-531-4783

4/18/01        0.83   Fax phone charge to 302-652-4400

4/18/01        1.50   Fax page charge to 206-623-7022

4/18/01        2.25   Fax page charge to 302-652-4400

4/18/01        2.70   Standard Copies

4/18/01        3.75   Fax page charge to 302-652-4400
4/18/01        5.50   Comet Messenger Services to: R.R.Donnelley

4/18/01        9.00   Fax page charge to 302-652-4400

4/19/01        0.62   Telephone call to: San Mateo,CA 415-344-7000

4/19/01        9.26   Fed Exp to: Columbia,MD from:Mailroom

4/19/01        9.26   Fed Exp to: Columbia,MD from:Mailroom

4/19/01        9.26   Fed Exp to: Columbia,MD from:Mailroom
4/20/01        1.04   Fax phone charge to 212-806-6006

4/20/01       11.25   Fax page charge to 212-806-6006

4/23/01        0.20   Standard Copies

4/23/01        0.50   Standard Copies

4/23/01        1.00   Standard Copies

4/23/01        2.49   Fax phone charge to 212-735-2000

4/23/01        4.80   Tabs/Indexes/Dividers

                                              B-15
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01    Page 132 of 188




Date        Amount    Description
4/23/01        5.89   Fax phone charge to 302-654-2067

4/23/01       10.00   Library Document Procurement - Effects on Health of Exposure to
                      Asbestos (1985).

4/23/01       10.00   Library Document Procurement - Archives of Pathology & Laboratory
                      Medicine.

4/23/01       12.00   Standard Copies

4/23/01       14.50   Standard Copies

4/23/01       19.50   Fax page charge to 212-735-2000
4/23/01       28.70   Standard Copies

4/23/01       45.00   Standard Copies

4/23/01       51.00   Fax page charge to 302-654-2067

4/24/01        0.62   Telephone call to: Broken Arrow,OK 918-254-3777

4/24/01        1.45   Telephone call to: New York City,NY 212-529-5439

4/24/01        1.45   Telephone call to: Boston,MA 617-426-5900
4/24/01        2.25   Fax page charge to 415-989-0932

4/24/01        3.75   Fax page charge to 410-531-4466

4/24/01        3.75   Fax page charge to 410-531-4414

4/24/01        3.75   Fax page charge to 410-531-4783

4/24/01        3.75   Fax page charge to 212-806-6006

4/24/01        4.50   Fax page charge to 410-531-4466
4/24/01        9.00   Overtime Meals Rogers,Debbie S

4/24/01       10.00   Library Document Procurement - Modern Pathology (1993).

4/24/01       15.60   Standard Copies

4/24/01       21.30   Standard Copies

4/24/01       33.45   Standard Copies



                                           B-16
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01      Page 133 of 188




Date        Amount    Description
4/24/01       76.50   Rogers, D.- Secretarial Overtime

4/25/01        0.55   Postage

4/25/01        0.62   Telephone call to: NYC Bronx,NY 212-497-4168

4/25/01        0.75   Fax page charge to 410-531-4783

4/25/01        0.75   Andrew M Kaufman - AT&T Wireless, Stmt dated for 04.19.2001

4/25/01        0.75   Fax page charge to 212-450-3800
4/25/01        0.75   Fax page charge to 410-531-4783

4/25/01        0.75   Fax page charge to 410-531-4414

4/25/01        0.75   Fax page charge to 410-531-4445

4/25/01        0.75   Fax page charge to 302-652-4400

4/25/01        0.75   Fax page charge to 410-531-4783

4/25/01        2.25   Fax page charge to 212-806-6006
4/25/01        3.30   Standard Copies

4/25/01        3.75   Fax page charge to 561-362-1323

4/25/01        4.40   Standard Copies

4/25/01        6.85   Comet Messenger Services to: Galter Library

4/25/01       10.00   Library Document Procurement - Occupational Lung Disorders (1994).

4/25/01       10.00   Library Document Procurement - Pathology of Occupational Lung Disease
                      (1998).
4/25/01       10.00   Library Document Procurement - Pathology of Asbestos - Associated
                      Diseases (1992).

4/25/01       13.00   Comet Messenger Services to: KE-15848-0015

4/25/01       38.25   Crabb,B. - Secretarial Overtime

4/25/01       66.93   Crabb,B. - Secretarial Overtime

4/26/01        2.08   Fax phone charge to 561-362-1323



                                            B-17
          Case 01-01139-AMC         Doc 775-4      Filed 08/02/01   Page 134 of 188




Date        Amount      Description
4/26/01       21.00     Fax page charge to 561-362-1323

4/26/01       57.37     Crabb,B. - Secretarial Overtime

4/27/01        0.70     Tabs/Indexes/Dividers

4/27/01        0.83     Fax phone charge to 410-531-4783

4/27/01        1.00     Standard Copies

4/27/01        1.10     Standard Copies
4/27/01        1.50     Fax page charge to 410-531-4783

4/27/01        1.50     Fax page charge to 410-531-4783

4/27/01        2.25     Fax page charge to 212-883-0388

4/27/01       27.90     Standard Copies

4/30/01        0.83     Fax phone charge to 419-241-8161

4/30/01        1.04     Fax phone charge to 212-728-8111
4/30/01        4.50     Fax page charge to 410-531-4783

4/30/01        5.25     Fax page charge to 419-241-8161

4/30/01        5.50     Comet Messenger Services to: CONT.CASUALTY




              Matter 21 – Claim Estimate/Adversary Proceedings - Expenses


                           Description                              Amount

            Telephone                                                        $1.04

            Facsimile Charges                                            $57.41
            TOTAL                                                        $58.45




                                                B-18
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01    Page 135 of 188




              Matter 21 – Claim Estimate/Adversary Proceedings - Expenses


Date        Amount    Description
4/20/01        4.50   Fax page charge to 410-531-4783

4/20/01        4.50   Fax page charge to 410-531-4783

4/25/01        1.04   Telephone call to: Wilmington,DE 302-652-4100

4/25/01        1.50   Fax page charge to 410-531-4783


                                           B-19
          Case 01-01139-AMC        Doc 775-4    Filed 08/02/01   Page 136 of 188




Date        Amount      Description
4/26/01        2.08     Fax phone charge to 410-531-4783

4/26/01        2.08     Fax phone charge to 410-531-4461

4/26/01        2.25     Fax page charge to 410-531-4783

4/26/01       20.25     Fax page charge to 410-531-4783

4/26/01       20.25     Fax page charge to 410-531-4461




             Matter 22- Contested Matters/Adversary Proceedings- Expenses


                           Description                           Amount
            Telephone                                                $164.79


                                            B-20
Case 01-01139-AMC         Doc 775-4   Filed 08/02/01   Page 137 of 188




  Facsimile Charges                                        $116.10
  Standard Copies                                          $703.70

  Binding                                                   $10.50

  Tabs/Indexes/Dividers                                      $3.20

  Overnight Delivery                                        $95.26

  Outside Messenger                                         $48.42

  Court Services                                            $10.00
  Information Broker Doc/Svcs                              $105.58

  Secretarial Overtime                                      $76.50

  Overtime Transportation                                   $19.00

  TOTAL                                                  $1,353.05




   Matter 22- Contested Matters/Adversary Proceedings- Expenses



                                 B-21
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 138 of 188




Date        Amount    Description
4/02/01        0.62   Telephone call to: State of DE 302-778-6403

4/02/01        0.84   Telephone call to: Toronto, ON 416-340-6015

4/02/01        0.84   Telephone call to: Toronto,ON 416-340-6032

4/02/01        0.84   Telephone call to: Toronto,ON 416-340-6154

4/02/01        1.04   Telephone call to: State of,DE 302-778-6425

4/02/01        1.87   Telephone call to: Phlp Area, PA 267-880-3980
4/02/01        5.48   Telephone call to: Toronto,ON 416-340-6032

4/03/01        0.62   Telephone call to: Minneapolis, MN 612-303-1843

4/03/01        0.62   Telephone call to: Lb Area, CA 310-871-7589

4/03/01        0.84   Telephone call to: Toronto, ON 416-340-6000

4/03/01        0.92   Telephone call to: New York City, NY 212-592-7205

4/03/01        1.04   Telephone call to: State of DE 302-778-6425
4/03/01        1.66   Telephone call to: Beverly Hills, CA 310-788-3220

4/03/01        2.11   Telephone call to: Toronto, ON 416-340-6032

4/03/01        4.16   Telephone call to: Washington, DC 202-204-1000

4/03/01        5.50   Comet Messenger Services to: Depaul

4/03/01        5.61   Telephone call to: E. Central, FL 561-558-8814

4/04/01        0.62   Telephone call to: Philadelphia, PA 215-977-2670
4/04/01        0.84   Telephone call to: Toronto, ON 416-340-6000

4/04/01        1.25   Telephone call to: Eastern, MI 248-851-4411

4/04/01        1.25   Telephone call to: Wilmington, DE 302-652-4100

4/04/01        1.45   Telephone call to: Columbia, MD 410-531-4709

4/04/01        1.50   Standard Copies

4/04/01        2.91   Telephone call to: Beverly Hills, CA 310-788-3220

4/04/01        4.99   Telephone call to: Cambridge, MA 617-234-5678

                                           B-22
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01     Page 139 of 188




Date        Amount    Description
4/04/01       15.50   Standard Copies

4/04/01       76.50   McGrath, K - Internal distribution

4/05/01        0.83   Telephone call to: Nrth of NY 914-640-8228

4/05/01        1.25   Telephone call to: Washington, DC 202-942-4866

4/05/01        1.60   Standard Copies

4/05/01        2.29   Telephone call to: State of,DE 302-778-6404
4/05/01        3.75   Fax page charge to 703-729-8587

4/05/01        4.78   Telephone call to: Denver, CO 303-892-7420

4/05/01        5.00   Standard Copies

4/05/01        6.30   Standard Copies

4/05/01        7.44   Fed Exp to: Lancaster, PA from:MAILROOM

4/05/01       13.30   Telephone call to: Madison, WI 608-250-9281
4/05/01       29.00   Standard Copies

4/06/01        1.66   Telephone call to: Laurel, MS 601-425-0400

4/06/01        2.08   Telephone call to: Springfield, MA 413-785-5100

4/06/01        2.29   Telephone call to: Cambridge, MA 617-498-4322

4/09/01        3.20   Tabs/Indexes/Dividers

4/09/01       14.00   Standard Copies
4/09/01      139.40   Standard Copies

4/10/01        0.62   Telephone call to: Washington, DC 202-204-3720

4/10/01        0.62   Telephone call to: Salt Lake, UT 801-532-2666

4/10/01        0.62   Telephone call to: Washington, DC 202-204-3720

4/10/01        0.83   Telephone call to: State of DE 302-778-6404

4/10/01        1.25   Telephone call to: Denver, CO 303-312-7376

4/10/01        1.66   Fax phone charge to 202-204-1001

                                              B-23
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01      Page 140 of 188




Date        Amount    Description
4/10/01        1.87   Telephone call to: San, CA 650-849-5345

4/10/01        3.95   Telephone call to: Washington, DC 202-204-3720

4/10/01       10.58   Gull Photocopy Service - Information Broker Doc/Svcs 4/10/01 -
                      Interlibrary Loan - Health and Safety of Workers (T. Hardy)

4/10/01       13.10   Standard Copies

4/10/01       15.75   Fax page charge to 202-204-1001

4/10/01       15.82   UPS Dlvry to:Skadden, Arps, Slate, Meagher Shmuel Vasser,New
                      York,NY from:Scott A McMillin
4/10/01       18.60   Standard Copies

4/11/01        0.10   Standard Copies

4/11/01        1.50   Fax page charge to 303-312-7331

4/11/01        1.50   Fax page charge to 303-893-1379

4/11/01       20.00   Cornell University Library - Information Broker Doc/Svcs 4/11/01 -
                      Interlibrary Loan - JAMA article and rush fees

4/12/01        9.30   Standard Copies
4/12/01       17.00   University of Washington - Information Broker Doc/Svcs 4/12/01 -
                      Photocopy of Interlibrary Loan (T. Hardy)

4/12/01       18.46   Fed Exp to: Resource Sharing Service, Seattle, WA from: Kristi Mclane

4/13/01        1.04   Telephone call to: Washington, DC 202-204-3720

4/16/01        0.83   Telephone call to: New York City ,NY 212-350-4434

4/16/01        5.50   Comet Messenger Services to: Mcd/Michael A Pope Esq.

4/16/01        9.13   UPS Dlvry to: Gibson, Dunn & Crutcher LLP, Steven J. Johnson, Palo
                      Alto, CA from: Scott A McMillin
4/16/01       10.25   Comet Messenger Services to: David S. Rosenbloom

4/16/01       10.50   Binding

4/16/01       35.70   Standard Copies



                                            B-24
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01       Page 141 of 188




Date        Amount    Description
4/16/01       43.80   Standard Copies

4/17/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

4/17/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

4/17/01        0.62   Telephone call to: State of DE 302-778-6401

4/17/01        0.62   Telephone call to: New York City, NY 212-735-3000

4/17/01        1.50   Fax page charge to 302-652-4400
4/17/01        1.66   Telephone call to: Southern, PA 717-390-7369

4/17/01        1.87   Telephone call to: Wilmington, DE 302-652-4100

4/17/01        3.12   Telephone call to: Bronx, NY 212-885-4695

4/17/01        3.74   Telephone call to: New York City, Bronx, NY 212-771-1201

4/17/01        4.50   Fax page charge to 703-729-8587

4/17/01        7.69   Telephone call to: San Francisco, CA 415-773-5712
4/17/01       10.04   Fed Exp to: Lancaster, PA from: Mailroom

4/17/01       12.89   Telephone call to: Minneapolis, MN 612-951-8711

4/17/01       19.50   Fax page charge to 703-729-8587

4/18/01        0.62   Telephone call to: Southern, PA 717-390-7369

4/18/01        0.62   Telephone call to: Columbia, MD 410-531-4362

4/18/01        1.04   Telephone call to: New York City, NY 212-735-3533
4/18/01        2.20   Standard Copies

4/18/01        2.29   Telephone call to: Wilmington, DE 302-652-4100

4/18/01        3.33   Telephone call to: Cambridge, MA 617-498-4322

4/19/01        0.10   Standard Copies

4/19/01        0.62   Telephone call to: Southern, PA 717-390-7369

4/19/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

4/19/01        0.83   Telephone call to: Wilmington, DE 302-652-4100

                                           B-25
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01     Page 142 of 188




Date        Amount    Description
4/19/01        0.90   Standard Copies

4/19/01        1.45   Telephone call to: Wilmington, DE 302-652-4100

4/19/01        2.40   Standard Copies

4/19/01       10.82   Fed Exp to: New York, NY from: Mailroom

4/20/01        0.62   Telephone call to: Columbia, MD 410-531-4203

4/20/01        0.83   Telephone call to: Southern, PA 717-390-7369
4/20/01        1.25   Telephone call to: Miami, FL 305-866-9542

4/20/01        2.29   Telephone call to: Denver, CO 303-312-7376

4/20/01        7.07   Telephone call to: North Dade, FL 305-624-2456

4/20/01       16.92   Capital Transit - Outside Messenger Services - 4/10/2001

4/23/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

4/23/01        0.62   Telephone call to: Columbia, MD 410-531-4203
4/23/01        0.62   Telephone call to: New York City. NY 212-351-3827

4/23/01        0.62   Telephone call to: Wilmington, DE 302-652-4100

4/23/01        0.75   Fax page charge to 703-729-8587

4/23/01        0.80   Standard Copies

4/23/01        1.25   Telephone call to: Cambridge, MA 617-498-4322

4/23/01        1.25   Telephone call to: Wilmington, DE 302-888-6258
4/23/01        1.45   Telephone call to: Cleveland, OH 216-622-5503

4/23/01        2.08   Telephone call to: New York City, NY 212-770-7075

4/23/01        2.70   Telephone call to: New York City, NY 212-841-0608

4/23/01       29.00   University of Washington - Information Broker Doc/Svcs 4/23/01 -
                      Photocopy of two articles

4/23/01       29.00   University of Washington - Information Broker Doc/Svcs-4/23/01
                      Interlibrary loan (2 titles) for T. Hardy



                                            B-26
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01    Page 143 of 188




Date        Amount    Description
4/23/01       56.40   Standard Copies

4/24/01        0.83   Telephone call to: New York City, NY 212-735-3533

4/24/01        1.66   Telephone call to: E Central, FL 561-362-1532

4/24/01       11.70   Standard Copies

4/25/01        0.40   Standard Copies

4/25/01        0.62   Telephone call to: Columbia, MD 410-531-4362
4/25/01        0.62   Telephone call to: Los Angeles, CA 213-624-2869

4/25/01        1.25   Telephone call to: New York City, NY 212-351-4000

4/25/01        3.53   Telephone call to: New York City, NY 212-351-4000

4/25/01        5.61   Telephone call to: Miami, FL 305-866-9542

4/26/01        2.20   Standard Copies

4/26/01        2.80   Standard Copies
4/26/01        6.10   Standard Copies

4/26/01       10.25   Comet Messenger Services to: MCD

4/26/01       15.14   UPS Dlvry to:Sarah Marmor,Sanibel,FL from:Scott A McMillin

4/26/01       24.70   Standard Copies

4/27/01        0.90   Standard Copies

4/27/01        8.41   UPS Dlvry to:Gibson, Dunn & Crutcher, LLP ,Mitch Karlan,New
                      York,NY from:Scott A McMillin
4/27/01       14.10   Standard Copies

4/27/01       27.50   Standard Copies

4/30/01        0.80   Standard Copies

4/30/01        0.83   Fax phone charge to 419-241-8161

4/30/01        1.25   Fax phone charge to 419-241-8161

4/30/01        1.25   Fax phone charge to 419-241-8161


                                           B-27
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01   Page 144 of 188




Date        Amount    Description
4/30/01        1.45   Fax phone charge to 843-722-8700

4/30/01        1.50   Fax page charge to 302-658-5614

4/30/01        1.66   Fax phone charge to 410-531-4233

4/30/01        3.00   Fax page charge to 419-241-8161

4/30/01        6.75   Fax page charge to 419-241-8161

4/30/01       10.00   Calendar/Court Services 4/01
4/30/01       10.50   Fax page charge to 843-722-8700

4/30/01       10.50   Fax page charge to 410-531-4233

4/30/01       11.25   Fax page charge to 419-241-8161

4/30/01       15.75   Fax page charge to 419-241-8161

4/30/01       16.50   Standard Copies

4/30/01       19.00   Janet Baer - OT Trans. 4.29.01
4/30/01       28.10   Standard Copies

4/30/01       44.20   Standard Copies

4/30/01       63.50   Standard Copies

4/30/01       64.50   Standard Copies




                                           B-28
Case 01-01139-AMC      Doc 775-4    Filed 08/02/01   Page 145 of 188




       Matter 23 – Corporate and Securities Matters - Expenses


                Description                          Amount
  Facsimile Charge                                        $10.00

  TOTAL                                                   $10.00




                                B-29
          Case 01-01139-AMC      Doc 775-4    Filed 08/02/01   Page 146 of 188




                Matter 23 – Corporate and Securities Matters - Expenses


Date        Amount    Description
4/09/01       10.00   Andrew R Running - Fax Charge, 4.7.01




                                          B-30
Case 01-01139-AMC        Doc 775-4   Filed 08/02/01   Page 147 of 188




              Matter 24 – Creditors Committee - Expenses


                Description                           Amount
  Telephone                                                 $41.55

  Overtime Transportation                                   $13.00

  Overtime Meals - Attorney                                 $13.51

  Secretarial Overtime                                     $344.22

  TOTAL                                                    $412.28




                                B-31
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01      Page 148 of 188




                      Matter 24 – Creditors Committee - Expenses


Date        Amount    Description
4/09/01       13.51   Anup Sathy - Overtime Meals - Attorney f/S. Schwartz, 4.5.01

4/12/01       38.25   Crabb, B. - Secretarial Overtime

4/12/01       66.93   Crabb, B. - Secretarial Overtime

4/13/01        2.08   Telephone call to: Central, FL 561-362-1661

4/13/01       66.93   Crabb,B. - Secretarial Overtime

4/16/01        2.08   Telephone call to: Central, FL 561-362-1532
4/16/01        3.12   Telephone call to: Cambridge, MA 617-497-2669

4/17/01        0.62   Telephone call to: Central, FL 561-362-1532

4/19/01        0.62   Telephone call to: New York City, NY 212-806-5422

4/19/01        0.62   Telephone call to: Columbia, MD 410-531-4284

4/19/01        0.83   Telephone call to: Boston, MA 617-951-7483

4/20/01        0.62   Telephone call to: Columbia, MD 410-531-4170
4/20/01        0.83   Telephone call to: Columbia, MD 410-531-4170

4/20/01        1.04   Telephone call to: Lb Area, CA 310-871-7589

4/20/01        1.04   Telephone call to: Columbia, MD 410-531-4170


                                            B-32
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01   Page 149 of 188




Date        Amount    Description
4/20/01        1.25   Telephone call to: Columbia, MD 410-531-4170

4/20/01        1.66   Telephone call to: Columbia, MD 410-531-4170

4/20/01        1.87   Telephone call to: Columbia,MD 410-531-4212

4/20/01        3.95   Telephone call to: New York City,NY 212-806-5002

4/20/01       66.93   Crabb,B. - Secretarial Overtime

4/23/01        0.62   Telephone call to: San Monica,CA 310-453-5900
4/23/01        2.49   Telephone call to: Wilmington,DE 302-654-1888

4/23/01        4.57   Telephone call to: Columbia,MD 410-531-4170

4/23/01        9.98   Telephone call to: Columbia,MD 410-531-4191

4/23/01       38.25   Crabb,B. - Secretarial Overtime

4/23/01       66.93   Crabb,B. - Secretarial Overtime

4/24/01        0.62   Telephone call to: Columbia,MD 410-531-4362
4/24/01        1.04   Telephone call to: Columbia,MD 410-531-4191

4/30/01       13.00   James W Kapp - Overtime Transportation, 04.24.2001




                                            B-33
Case 01-01139-AMC     Doc 775-4     Filed 08/02/01   Page 150 of 188




       Matter 25 – Creditors/Shareholders Inquiries - Expenses


              Description                            Amount
  Telephone                                                $22.23

  TOTAL                                                    $22.23




                                B-34
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01    Page 151 of 188




                Matter 25 – Creditors/Shareholders Inquiries - Expenses


Date        Amount    Description
4/05/01        1.04   Telephone call to: Beverly Hills, CA 310-277-6910

4/05/01        1.04   Telephone call to: Columbia, MD 410-531-4213

4/06/01        0.83   Telephone call to: Newport Beach, CA 949-260-0611

4/06/01        1.25   Telephone call to: Lb Area, CA 310-871-7589

4/06/01        1.66   Telephone call to: Columbia, MD 410-531-4212

4/09/01        1.66   Telephone call to: Columbia, MD 410-531-4213
4/10/01        1.04   Telephone call to: New York City, NY 212-806-5430

4/10/01        1.25   Telephone call to: Columbia, MD 410-531-4709

4/13/01        1.45   Telephone call to: New York City, NY 212-806-5400

4/13/01        1.87   Telephone call to: Washington, DC 202-663-6379

4/13/01        4.16   Telephone call to: New York City, NY 212-806-5400

                                           B-35
          Case 01-01139-AMC        Doc 775-4     Filed 08/02/01     Page 152 of 188




Date        Amount      Description
4/16/01         0.83    Telephone call to: New York City, NY 212-806-5422

4/16/01         1.45    Telephone call to: New York City, NY 212-806-5430

4/17/01         2.08    Telephone call to: New York City, NY 212-806-5544

4/18/01         0.62    Telephone call to: Miami, FL 305-375-6156




                     Matter 26- DIP Financing/Cash Collateral- Expenses


                           Description                              Amount

            Telephone                                                    $15.92
            Facsimile Charges                                            $78.51

            Standard Copies                                             $183.90

            Overnight Delivery                                           $85.95

            Outside Copy                                                $159.78

            Overtime Transportation                                      $18.00

            TOTAL                                                       $542.06




                                             B-36
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01       Page 153 of 188




                     Matter 26- DIP Financing/Cash Collateral- Expenses


Date        Amount     Description
4/05/01        0.59    Telephone call to: Wilmington, DE 302-652-4100

4/05/01        0.79    Telephone call to: Chicago, IL 312-876-7712

4/06/01        0.45    Standard Copies

4/06/01        0.45    Standard Copies

4/06/01        0.59    Telephone call to: Chicago, IL 312-876-7712

4/06/01        1.18    Telephone call to: Chicago, IL 312-876-7712
4/06/01        4.80    Standard Copies


                                            B-37
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01     Page 154 of 188




Date        Amount    Description
4/06/01       17.80   Fed Exp to:Jeff Moran, Chicago, IL from: Mailroom

4/11/01       22.64   Fed Exp to:Jeff Moran, Chicago, IL from: Dan Baglio

4/12/01        0.45   Standard Copies

4/13/01        0.59   Telephone call to: Chicago, IL 312-876-7629

4/16/01        0.59   Telephone call to: Wilmington, DE 302-652-4100

4/16/01        0.59   Telephone call to: Columbia, MD 410-531-4360
4/16/01        0.60   Standard Copies

4/16/01        2.25   Fax page charge to 410-531-4783

4/16/01      159.78   IKON Document Services-NY East - Outside Copy/Binding Services,
                      Copies of UCC statement

4/17/01        0.45   Standard Copies

4/17/01        0.59   Telephone call to: Columbia, MD 410-531-4552

4/17/01        0.59   Telephone call to: Wilmington, DE 302-652-4100
4/17/01        3.00   Fax page charge to 302-636-5454

4/18/01        0.75   Fax page charge to 312-993-9767

4/18/01        1.18   Telephone call to: Chicago, IL 312-876-7629

4/18/01        3.75   Fax page charge to 302-636-5454

4/18/01        3.75   Fax page charge to 312-993-9767

4/18/01       13.73   Fed Exp to: Elizabeth Burns, Chicago, IL from: Mailroom
4/18/01       69.15   Standard Copies

4/20/01        2.10   Standard Copies

4/20/01       12.64   Fed Exp to: Elizabeth Burns, Paralegal, Chicago, IL from: Mailroom

4/20/01       41.55   Standard Copies

4/24/01        0.30   Standard Copies

4/24/01        0.90   Standard Copies


                                            B-38
          Case 01-01139-AMC       Doc 775-4      Filed 08/02/01     Page 155 of 188




Date        Amount    Description
4/24/01        0.90   Standard Copies

4/24/01        0.98   Fax phone charge to 410-531-4461

4/24/01        2.70   Standard Copies

4/24/01        4.20   Standard Copies

4/24/01        7.49   Fed Exp to: Mr. Ren Lapidario, Columbia, MD from: Mailroom

4/24/01        8.85   Standard Copies
4/24/01       12.45   Standard Copies

4/24/01       19.50   Fax page charge to 410-531-4461

4/25/01        0.45   Standard Copies

4/25/01        1.35   Standard Copies

4/26/01        0.45   Standard Copies

4/26/01        2.25   Fax page charge to 312-993-9767
4/26/01        2.25   Fax page charge to 410-531-4461

4/26/01        5.10   Fax phone charge to 305-374-7593

4/26/01       11.65   Fed Exp to: Elizabeth Burns, Paralegal, Chicago, IL from: Mailroom

4/26/01       13.50   Fax page charge to 305-374-7593

4/26/01       13.50   Fax page charge to 583-5707

4/26/01       31.35   Standard Copies
4/28/01        1.18   Fax phone charge to 847-835-3793

4/28/01        6.75   Fax page charge to 847-835-3793

4/30/01        8.64   Telephone call to: Columbia, MD 410-531-4185

4/30/01       18.00   Lena Mandel - Overtime Transportation, 4/28/01




                                            B-39
Case 01-01139-AMC    Doc 775-4    Filed 08/02/01   Page 156 of 188




              Matter 27 –Employee Matters -Expenses


              Description                          Amount
  Telephone                                             $41.34

  TOTAL                                                 $41.34




                              B-40
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01    Page 157 of 188




                        Matter 27 –Employee Matters -Expenses


Date        Amount    Description
4/20/01        0.62   Telephone call to: Wilmington, DE 302-654-1888



                                           B-41
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01       Page 158 of 188




Date        Amount    Description
4/20/01        0.83   Telephone call to: Columbia, MD 410-531-4236

4/20/01        5.61   Telephone call to: Columbia, MD 410-531-4236

4/24/01        1.04   Telephone call to: Columbia, MD 410-531-4236

4/24/01        1.25   Telephone call to: New York City, NY 212-806-5544

4/24/01        2.49   Telephone call to: Columbia, MD 410-531-4236

4/24/01       12.68   Telephone call to: Columbia, MD 410-531-4236
4/25/01        0.62   Telephone call to: New York City, NY 212-806-5544

4/25/01        0.83   Telephone call to: Central, FL 561-362-1661

4/25/01        1.25   Telephone call to: State of, DE 302-778-6464

4/25/01        1.45   Telephone call to: Columbia, MD 410-531-4236

4/25/01        1.45   Telephone call to: Columbia, MD 410-531-4236

4/25/01        1.66   Telephone call to: Wilmington, DE 302-654-1888
4/25/01        3.74   Telephone call to: Columbia, MD 410-531-4236

4/25/01        4.99   Telephone call to: Columbia, MD 410-531-4236

4/26/01        0.83   Telephone call to: State of, DE 302-778-6464




                                           B-42
Case 01-01139-AMC       Doc 775-4    Filed 08/02/01   Page 159 of 188




              Matter 28 – Environmental Issues - Expenses


                Description                           Amount
  Telephone                                                  $46.60

  Facsimile Charges                                          $59.19

  Standard Copies                                            $36.40

  Postage                                                      $1.81

  Overnight Delivery                                           $6.03

  TOTAL                                                     $150.03




                                 B-43
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01    Page 160 of 188




                      Matter 28 – Environmental Issues - Expenses


Date        Amount    Description
4/03/01        1.81   Postage

4/04/01        1.38   Telephone call to: Columbia, MD 410-531-4210

4/04/01        3.00   Fax page charge to 917-777-3533

4/04/01       30.45   Telephone call to: Hackensack, NJ 201-368-9026

4/05/01        0.75   Fax page charge to 703-729-8587

4/09/01        1.38   Telephone call to: North West, NJ 973-639-7097
4/09/01        1.85   Telephone call to: North West, NJ 973-639-7097

4/10/01        0.10   Standard Copies

4/11/01        0.60   Standard Copies

4/11/01        1.50   Fax page charge to 561-362-1583

4/11/01       11.80   Standard Copies

4/12/01        0.50   Standard Copies
4/17/01        0.40   Standard Copies

4/17/01        1.70   Standard Copies

4/17/01        2.30   Standard Copies

4/18/01        0.10   Standard Copies

4/18/01        1.10   Standard Copies

4/18/01        2.25   Fax page charge to 901-820-2059
4/18/01        6.03   Fed Exp to: Akron, OH from: mailroom

4/24/01        1.60   Standard Copies

4/25/01        1.20   Standard Copies

4/26/01        0.20   Standard Copies


                                           B-44
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01       Page 161 of 188




Date        Amount    Description
4/26/01        5.08   Telephone call to: Chicago, IL 312-961-2201

4/26/01       11.00   Standard Copies

4/27/01        0.60   Standard Copies

4/27/01        0.70   Standard Copies

4/27/01        1.50   Standard Copies

4/27/01        5.54   Telephone call to: Eastern, TN 423-697-8217
4/30/01        0.92   Telephone call to: Ann Arbor, MI 313-665-4879

4/30/01        1.00   Standard Copies

4/30/01        2.94   Fax phone charge to 917-777-3533

4/30/01        3.00   Fax page charge to 917-777-3533

4/30/01       45.75   Fax page charge to 917-777-3533




                                           B-45
Case 01-01139-AMC         Doc 775-4   Filed 08/02/01   Page 162 of 188




     Matter 29 – File, Docket, Calendar Maintenance - Expenses


                   Description                         Amount
  Court Services                                            $10.00

  TOTAL                                                     $10.00




                                 B-46
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01   Page 163 of 188




               Matter 29 – File, Docket, Calendar Maintenance - Expenses


Date        Amount    Description
4/30/01       10.00   Calendar/Court Services 4/01




                                           B-47
Case 01-01139-AMC        Doc 775-4   Filed 08/02/01   Page 164 of 188




                     Matter 30- Hearings- Expenses


                Description                           Amount
  Facsimile Charge                                             $1.50

  Overtime Meals                                           $27.00

  Secretarial Overtime                                  $1,549.11

  TOTAL                                                 $1,577.61




                                 B-48
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01   Page 165 of 188




                              Matter 30- Hearings- Expenses


Date        Amount    Description
4/03/01       47.81   Van Buskirk,La. - Secretarial Overtime

4/12/01        1.50   Fax page charge to 818-461-0196




                                            B-49
Case 01-01139-AMC     Doc 775-4    Filed 08/02/01   Page 166 of 188




      Matter 32- K&E Fee Application, Preparation of- Expenses


               Description                          Amount
  Telephone                                                  $1.66

  TOTAL                                                      $1.66




                               B-50
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01        Page 167 of 188




               Matter 32- K&E Fee Application, Preparation of- Expenses


Date        Amount    Description
4/17/01        0.62   Telephone call to: State Of, DE 302-778-6464

4/18/01        1.04   Telephone call to: Seattle, WA 206-224-7288




                                           B-51
Case 01-01139-AMC      Doc 775-4    Filed 08/02/01   Page 168 of 188




             Matter 33- Lease Rejection Claims- Expenses


                Description                          Amount
  Overnight Delivery                                       $148.99

  TOTAL                                                    $148.99




                                B-52
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01      Page 169 of 188




                      Matter 33- Lease Rejection Claims- Expenses


Date        Amount    Description
4/12/01        7.44   Fed Exp to: Atlanta, GA from: Mailroom

4/12/01        7.44   Fed Exp to: Pittsford, NY from: Mailroom

4/12/01        7.80   Fed Exp to: New York, NY from: MAILROOM

4/12/01        7.80   Fed Exp to: Fort Worth, TX from: Mailroom

4/12/01        7.80   Fed Exp to: Dallas, TX from: Mailroom

4/12/01        7.80   Fed Exp to: Houston, TX from: Mailroom
4/12/01        7.80   Fed Exp to: Richmond, VA from: Mailroom

4/12/01        8.11   Fed Exp to: San Antonio, TX from: Mailroom

4/12/01        8.37   Fed Exp to: Woodland Hills,CA from: Mailroom

4/12/01        8.37   Fed Exp to: Carson, CA from: Mailroom

4/12/01        8.37   Fed Exp to: Los Angeles, CA from: Mailroom

4/12/01        8.37   Fed Exp to: Woodland Hills. CA from: Mailroom
4/12/01        8.37   Fed Exp to: Carson, CA from: Mailroom

4/12/01        8.37   Fed Exp to: Las Vegas, NV from: Mailroom

4/12/01        8.41   UPS Delivery to: Hornberger Bros. Properties, I Houston, TX from:
                      Mailroom

4/12/01       18.37   Fed Exp to: Carson, CA from: Mailroom

4/21/01       10.00   United Parcel Service - Overnight Delivery, Address Correction Fee for
                      Package Sent for G. Farganus 4/19/01.




                                            B-53
Case 01-01139-AMC      Doc 775-4   Filed 08/02/01   Page 170 of 188




              Matter 36- Reclamation Claims - Expenses


                Description                         Amount
  Telephone                                                  $3.12

  Facsimile Charge                                           $4.50

  TOTAL                                                      $7.62




                               B-54
          Case 01-01139-AMC      Doc 775-4     Filed 08/02/01     Page 171 of 188




                       Matter 36- Reclamation Claims - Expenses


Date        Amount    Description
4/16/01        1.25   Telephone call to: Lawrence Ville, NJ 609-895-6735

4/24/01        0.62   Telephone call to: Columbia, MD 410-531-4709

4/24/01        1.25   Telephone call to: New York City, NY 212-806-5422

4/27/01        1.50   Fax page charge to 410-531-4445

4/27/01        1.50   Fax page charge to 410-531-4783

4/27/01        1.50   Fax page charge to 302-428-3180




                                           B-55
Case 01-01139-AMC     Doc 775-4     Filed 08/02/01   Page 172 of 188




        Matter 38- Retention of Professionals/Fees - Expenses


               Description                           Amount
  Telephone                                                   $4.78

  TOTAL                                                       $4.78




                                B-56
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01       Page 173 of 188




                 Matter 38- Retention of Professionals/Fees - Expenses


Date        Amount    Description
4/17/01        1.04   Telephone call to: State of, DE 302-778-6464

4/23/01        2.29   Telephone call to: New York City, NY 212-583-5388

4/24/01        0.83   Telephone call to: State of, DE 302-521-5592

4/25/01        0.62   Telephone call to: New York City , NY 212-806-5422




                                           B-57
Case 01-01139-AMC        Doc 775-4   Filed 08/02/01   Page 174 of 188




    Matter 39- Schedules/Statement of Financial Affairs - Expenses


                Description                           Amount
  Secretarial Overtime                                    $210.36

  TOTAL                                                   $210.36




                                B-58
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01   Page 175 of 188




              Matter 39- Schedules/Statement of Financial Affairs - Expenses


Date        Amount    Description
4/16/01       38.25   Crabb, BA. - Secretarial Overtime

4/16/01       66.93   Crabb, BA. - Secretarial Overtime

4/17/01       38.25   Crabb, BA. - Secretarial Overtime

4/17/01       66.93   Crabb, BA. - Secretarial Overtime




                                           B-59
Case 01-01139-AMC     Doc 775-4    Filed 08/02/01    Page 176 of 188




      Matter 40- Subsidiaries/Non-Debtor Affiliates - Expenses


              Description                            Amount
  Telephone                                                $16.00

  TOTAL                                                    $16.00




                               B-60
          Case 01-01139-AMC      Doc 775-4    Filed 08/02/01    Page 177 of 188




                Matter 40- Subsidiaries/Non-Debtor Affiliates - Expenses


Date        Amount    Description
3/06/01       16.00   Telephone call to: Columbia, MD 410-531-4552




                                          B-61
Case 01-01139-AMC    Doc 775-4    Filed 08/02/01    Page 178 of 188




                Matter 41- Tax Matters - Expenses


              Description                           Amount
  Telephone                                                  $5.61

  TOTAL                                                      $5.61




                              B-62
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01      Page 179 of 188




                            Matter 41-Tax Matters - Expenses


Date        Amount    Description
4/02/01        0.62   Telephone call to: Central, FL 561-362-1320

4/13/01        4.99   Telephone call to: Columbia, MD 410-531-4284




                                           B-63
Case 01-01139-AMC         Doc 775-4   Filed 08/02/01   Page 180 of 188




                      Matter 42-Travel - Expenses


                 Description                           Amount
  Travel Expense                                          $6,460.49

  Airfare                                                $10,290.54

  Travel Meals                                              $183.35

  Other Travel Expenses                                      $23.00

  TOTAL                                                  $16,957.38




                                 B-64
          Case 01-01139-AMC        Doc 775-4     Filed 08/02/01     Page 181 of 188




                                Matter 42-Travel - Expenses


Date        Amount     Description
4/04/01         6.50   David M Bernick, P.C. - Meal Expense, Wilmington,DE, 4.01 to 4.03.01,
                       (First day proceedings)

4/04/01      529.64    David M Bernick, P.C. - Travel Expense, Wilmington,DE, 4.01 to 4.03.01,
                       (First day proceedings)

4/04/01      549.23    David M Bernick, P.C. - Airfare Expense, Wilmington,DE, 4.01 to
                       4.03.01, (First day proceedings)

4/09/01         8.50   Roger J Higgins - Meal Expense, Wilmington,DE, 3.29 to 4.03.01,
                       (Bankruptcy Filing)

4/09/01       43.32    Samuel A Schwartz - Meals Expense, Wilmington, DE 3.29.01 - 4.3.01
                       (Bankruptcy filing)

4/09/01     1,056.46   Roger J Higgins - Airfare Expense, Wilmington,DE, 3.29 to 4.03.01,
                       (Bankruptcy Filing)
4/09/01     1,098.46   Samuel A Schwartz - Airfare Expense, Wilmington, DE 3.29.01 - 4.3.01
                       (Bankruptcy filing)

4/09/01     1,458.60   Roger J Higgins - Travel Expense, Wilmington,DE, 3.29 to 4.03.01,
                       (Bankruptcy Filing)

4/09/01     1,564.90   Samuel A Schwartz- Travel Expense, Wilmington DE 3.29.01 - 4.3.01
                       (Bankruptcy filing)

4/16/01      100.00    Samuel A Schwartz - Airfare Upgrade Certificates, 3.28.01

4/19/01      234.50    David M Bernick, P.C. - Travel Expense, Philadelphia, PA 4.11.01 -
                       4.12.01 (Mtg)

4/19/01     1,298.39   David M Bernick, P.C. - Airfare Expense, Philadelphia, PA 4.11.01 -
                       4.12.01 (Mtg)
4/20/01       29.65    James W Kapp - Meals, Wilmington, DE, 03.29 - 04.03.2001, (Attend
                       hearing)

4/20/01       87.31    Samuel A Schwartz - Meals Expense, Boca Raton, FL 4.16.01 - 4.18.01
                       (Mtg)




                                             B-65
          Case 01-01139-AMC       Doc 775-4     Filed 08/02/01     Page 182 of 188




Date        Amount     Description
4/20/01      432.72    Samuel A Schwartz - Travel Expense, Boca Raton, FL 4.16.01 - 4.18.01
                       (Mtg)

4/20/01     1,098.46   James W Kapp - Airfare, Wilmington, DE, 03.29 - 04.03.2001, (Attend
                       hearing)

4/20/01     1,541.24   James W Kapp - Travel Expense, Wilmington, DE, 03.29 - 04.03.2001,
                       (Attend hearing)

4/20/01     1,586.61   Samuel A Schwartz - Airfare Expense, Boca Raton, FL 4.16.01 - 4.18.01
                       (Mtg)

4/23/01         3.18   James W Kapp - Meal, Boca Raton, FL, 04.16 - 04.17.2001, (Attend
                       Company Mtg)

4/23/01       23.00    James W Kapp - Mileage/parking & tolls, Wilmington, DE, 04.12.2001,
                       (Creditor's Committee Formation)
4/23/01      118.79    James W Kapp - Travel Expense, Boca Raton, FL, 04.16 - 04.17.2001,
                       (Attend Company Mtg)

4/23/01      333.72    James W Kapp - Hotel Expense, Wilmington, DE, 04.17 - 04.18.2001,
                       (Attend Status Hearing)

4/23/01      868.62    James W Kapp - Airfare, Wilmington, DE, 04.17 - 04.18.2001, (Attend
                       Status Hearing)

4/23/01     1,023.50   James W Kapp - Airfare, Wilmington, DE, 04.12.2001, (Creditor's
                       Committee Formation)

4/23/01     1,049.48   James W Kapp - Airfare, Boca Raton, FL, 04.16 - 04.17.2001, (Attend
                       Company Mtg)




                                            B-66
Case 01-01139-AMC        Doc 775-4     Filed 08/02/01     Page 183 of 188




                    Matter 44 - U.S. Trustee - Expenses


               Description                                Amount
  Standard Copies                                               $46.40

  TOTAL                                                         $46.40




                                   B-67
          Case 01-01139-AMC      Doc 775-4    Filed 08/02/01     Page 184 of 188




                           Matter 44 - U.S. Trustee - Expenses


Date        Amount    Description
4/30/01       46.40   Standard Copies




                                          B-68
Case 01-01139-AMC    Doc 775-4     Filed 08/02/01    Page 185 of 188




                  Matter 45 - Utilities - Expenses


              Description                            Amount
  Telephone                                                   $0.62

  TOTAL                                                       $0.62




                               B-69
          Case 01-01139-AMC      Doc 775-4      Filed 08/02/01       Page 186 of 188




                             Matter 45 - Utilities - Expenses


Date        Amount    Description
4/20/01        0.62   Telephone call to: State of, DE 302-778-6464




                                           B-70
          Case 01-01139-AMC       Doc 775-4    Filed 08/02/01   Page 187 of 188




                               Expenses- Summary (April 2001)



Description                                                                       Amount
Telephone                                                                    $1,013.21

Facsimile Charges                                                                 $624.91

Standard Copies                                                              $1,898.00

Binding                                                                            $28.00

Outside Copy/binding Service                                                 $3,923.31

Tabs/Indexes/Dividers                                                               $8.70
Postage                                                                            $19.52

Local Transportation                                                                $6.00

Other Travel Expenses                                                              $23.00

Travel Meals                                                                      $183.35

Overnight Delivery                                                                $819.75

Travel Expense                                                               $6,460.49
Airfare                                                                     $10,290.54

Computer Database Research                                                        $207.04

Library Document Procurement                                                       $60.00

Information Broker Services                                                       $476.33

Calendar/Court Services                                                            $30.00

Overtime Meals                                                                     $63.00
Overtime Meals- Attorney                                                           $51.28

Overtime Transportation                                                            $50.00

Secretarial Overtime                                                         $3,509.34

Outside Messenger Service                                                          $89.07

Trial Exhibits                                                               $2,605.00
        Case 01-01139-AMC   Doc 775-4   Filed 08/02/01   Page 188 of 188




Total                                                                $32,439.84
